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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ELIZABETH CHAN, et al.,                                               12/23/2024

                        Plaintiffs,

            -v-                                               23-cv-10365 (LJL)
                                                              24-cv-01644 (LJL)
UNITED STATES DEPARTMENT OF                                   24-cv-00367 (LJL)
TRANSPORTATION, et al.,                                       24-cv-04111 (LJL)

                        Defendants.                     OPINION AND ORDER

MICHAEL MULGREW, et al.,

                        Plaintiffs,

            -v-

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                        Defendants.

NEW YORKERS AGAINST CONGESTION
PRICING TAX, et al.,

                        Plaintiffs,

            -v-

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                        Defendants.

TRUCKING ASSOCIATION OF NEW YORK,

                        Plaintiff,

            -v-

METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,
                   Defendants.
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LEWIS J. LIMAN, United States District Judge:

         Before the Court are four related cases, each seeking a preliminary injunction pursuant to

Federal Rule of Civil Procedure 65(a) that would enjoin implementation of the Central Business

District Tolling Program (“Tolling Program”). The cases are Chan et al. v. U.S. Department of

Transportation et al. (“Chan”), 23-cv-10365; Mulgrew et al. v. U.S. Department of Transportation

et al. (“Mulgrew”), 24-cv-1644; New Yorkers Against Congestion Pricing Tax et al. v. U.S.

Department of Transportation et al. (“New Yorkers”), 24-cv-367; and Trucking Association of

New York v. Metropolitan Transportation Authority et al. (“Trucking”), 24-cv-4111.

         This opinion and order sets forth the Court’s findings of fact and conclusions of law for

purposes of Federal Rule of Civil Procedure 52(a)(1). To the extent any statement labeled as a

finding of fact is a conclusion of law, it shall be deemed a conclusion of law, and vice versa.

         For the reasons that follow, Plaintiffs’ motions for a preliminary injunction are denied.

I.       PROCEDURAL HISTORY

         A.      Chan, 23-cv-10365

         On November 22, 2023, the Chan Plaintiffs commenced suit by filing a pro se complaint

in the United States District Court for the Southern District of New York. Chan, Dkt. No. 1. 1 The

case was assigned to the undersigned on January 24, 2024, as related to New Yorkers. On February

23, 2024, Plaintiffs in Chan filed an amended complaint naming as defendants the Federal

Highway Administration (“FHWA”), Shailen Bhatt in his official capacity as administrator of the

FHWA, Richard J. Marquis in his official capacity as Division Administrator of the New York

Division of the FHWA, Nicholas A. Choubah, P.E. in his official capacity as Chief Engineer for

the New York State Department of Transportation (“NYSDOT”), the Metropolitan Transportation



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    The Chan Plaintiffs are now represented by counsel and are no longer proceeding pro se.


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Authority (“MTA”), the Triborough Bridge and Tunnel Authority (“TBTA”), the United States

Department of Transportation (“USDOT”), and William J. Carry in his official capacity as

Assistant Commissioner for Policy for the New York City Department of Transportation

(“NYCDOT”). Chan, Dkt. No. 39. The amended complaint noted that Chief Engineer Choubah

has been replaced by Stephanie Winkelhake, who currently acts as Chief Engineer for the

NYSDOT. Id. ¶ 44 n.4. The parties’ motions to dismiss the amended complaint and for summary

judgment were filed on April 1, 2024. Chan, Dkt. Nos. 61, 64, 67. On June 20, 2024, the Court

issued an opinion and order on the motions to dismiss and for summary judgment. See Mulgrew

v. United States Dep’t of Transportation, 2024 WL 3251732 (S.D.N.Y. June 20, 2024).

        On July 26, 2024, the Chan Plaintiffs moved to amend the complaint. Chan, Dkt. No. 106.

The motion was granted and the second amended complaint was filed on November 7, 2024.

Chan, Dkt. No. 124. The second amended complaint asserts claims for: (1) violation of the

National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321 et seq., and the Administrative

Procedure Act (“APA”), 5 U.S.C. §§ 701–706; (2) violation of the Commerce Clause, U.S. Const.

art. I, § 8, cl. 3; (3) violation of the right to travel; and (4) violation of the Green Amendment, N.Y.

Const. art. I, § 19. Id. Winkelhake moved to dismiss the federal constitutional claims on

September 30, 2024, and filed a memorandum of law in support of the motion. Chan, Dkt.

Nos. 115–116. On September 30, 2024, the MTA, TBTA, Traffic Mobility Review Board

(“TMRB”), New York City Department of Transportation (“NYCDOT”), and Carry (the

“Municipal Defendants”) filed an omnibus motion to dismiss the constitutional claims and filed a

memorandum of law in support of the motion. Chan, Dkt. Nos. 117–118. 2 The Chan Plaintiffs



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 The Amended Complaint names William J. Carry in his official capacity as Assistant
Commissioner for Policy for the NYCDOT as a defendant rather than the NYCDOT itself. The



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filed a memorandum of law in opposition to the omnibus motion to dismiss on November 25,

2024. Chan, Dkt. No. 130.

       On November 29, 2024, the Chan Plaintiffs filed a motion for a preliminary injunction on

the basis of the constitutional claims “preliminarily enjoining Defendants from implementing the

Central Business Tolling Program, and for such other and further relief as this Court deems

proper.” Chan, Dkt. No. 133. Plaintiffs’ memorandum of law in support of the motion for a

preliminary injunction adopted arguments made in opposition to the Chan motions to dismiss and

in support of the Trucking Plaintiffs’ motion for a preliminary injunction. Chan, Dkt. No. 134.

Winkelhake filed a reply memorandum of law in support of her motion to dismiss and in opposition

to the motion for a preliminary injunction on December 2, 2024. Chan, Dkt. No. 135. Also on

December 2, 2024, the Municipal Defendants filed a reply memorandum of law and two

declarations in support of the omnibus motion to dismiss and in opposition to the motion for a

preliminary injunction. Chan, Dkt. Nos. 137–139. Plaintiffs filed a reply memorandum of law in

support of their motion for a preliminary injunction on December 6, 2024. Chan, Dkt. No. 142.

       B.     Mulgrew, 24-cv-1644

       On January 4, 2024, the Mulgrew Plaintiffs commenced suit by filing a complaint in the

United States District Court for the Eastern District of New York. Mulgrew, Dkt. No. 1. The

Mulgrew Plaintiffs filed an amended complaint naming as defendants the USDOT, Bhatt in his

official capacity, the FHWA, Marquis in his official capacity, the MTA, the TBTA, the NYSDOT,

and the NYCDOT. Mulgrew, Dkt. No. 19. Motions to dismiss were filed on March 18, 2024.




Court will refer to Carry as part of the Municipal Defendants for convenience. See Mulgrew, 2024
WL 3251732, at *8 n.11 (citing Reynolds v. Giuliani, 506 F.3d 183, 191 (2d Cir. 2007)). The
TMRB is not named as a defendant in Chan but joined the omnibus motion to dismiss in its
capacity as a defendant in New Yorkers and Trucking.


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Mulgrew, Dkt. Nos. 47, 49, 52. On June 20, 2024, the Court issued an opinion and order on the

motions to dismiss. See Mulgrew, 2024 WL 3251732.

       On July 26, 2024, the Mulgrew Plaintiffs moved to amend the complaint. Mulgrew, Dkt.

No. 93. The motion was granted and the second amended complaint was filed on November 8,

2024. Mulgrew, Dkt. No. 112. The second amended complaint asserts claims for: (1) violation of

NEPA; (2) violation of the Commerce Clause; (3) violation of the right to travel; and (4) violation

of the Green Amendment. Id. The second amended complaint also added Winkelhake as a

defendant. Id. ¶ 78. Winkelhake moved to dismiss the federal constitutional claims on September

30, 2024, and filed a memorandum of law in support of the motion. Mulgrew, Dkt. Nos. 102–103.

On September 30, 2024, the Municipal Defendants filed an omnibus motion to dismiss the

constitutional claims and filed a memorandum of law in support of the motion. Mulgrew, Dkt.

Nos. 104–105. The Mulgrew Plaintiffs filed a memorandum of law in opposition to the omnibus

motion to dismiss on November 25, 2024. Mulgrew, Dkt. No. 118.

       On November 29, 2024, the Mulgrew Plaintiffs filed a motion for a preliminary injunction

on the basis of the constitutional claims “preliminarily enjoining Defendants from implementing

the Central Business Tolling Program, and for such other and further relief as this Court deems

proper.” Mulgrew, Dkt. No. 121. The Mulgrew Plaintiffs’ memorandum of law in support of the

motion for a preliminary injunction adopted arguments made in opposition to the Mulgrew motions

to dismiss and in support of the Trucking motion for a preliminary injunction. Mulgrew, Dkt.

No. 122. Winkelhake filed a reply memorandum of law in support of her motion to dismiss and

in opposition to the motion for a preliminary injunction on December 2, 2024. Mulgrew, Dkt.

No. 123. Also on December 2, 2024, the Municipal Defendants filed a reply memorandum of law

and two declarations in support of the omnibus motion to dismiss and in opposition to the motion




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for a preliminary injunction. Mulgrew, Dkt. Nos. 125–127. Plaintiffs filed a reply memorandum

of law in support of their motion for a preliminary injunction on December 6, 2024. Dkt. No. 130.

       C.     New Yorkers, 24-cv-367

       On January 18, 2024, the New Yorkers Plaintiffs commenced suit by filing a complaint in

the United States District Court for the Southern District of New York. New Yorkers, Dkt. No. 1.

On February 27, 2024, the New Yorkers Plaintiffs filed an amended complaint naming as

defendants the USDOT, the FHWA, Bhatt in his official capacity, Marquis in his official capacity,

the MTA, the TBTA, the NYSDOT, the NYCDOT, and the TMRB. New Yorkers, Dkt. No. 54.

The amended complaint asserts claims for: (1) violation of NEPA; (2) violation of the State

Administrative Procedure Act (“SAPA”), N.Y. A.P.A. Law §§ 100 et seq.; and (3) violation of the

Green Amendment. Id. Motions to dismiss were filed on March 18, 2024. New Yorkers, Dkt.

Nos. 57, 59, 62. On June 20, 2024, the Court issued an opinion and order on the motions to

dismiss. See Mulgrew, 2024 WL 3251732.

       On September 30, 2024, the Municipal Defendants filed an omnibus motion to dismiss the

constitutional claims along with a memorandum of law in support of the motion. New Yorkers,

Dkt. Nos. 105–106. The New Yorkers Plaintiffs filed a memorandum of law in opposition to the

omnibus motion to dismiss on November 14, 2024. New Yorkers, Dkt. No. 112. On December 2

and 3, 2024, the Municipal Defendants filed a reply memorandum of law and two declarations in

support of the omnibus motion to dismiss. New Yorkers , Dkt. Nos. 123–125.

       On December 2, 2024, the New Yorkers Plaintiffs moved for a preliminary injunction that

would “preliminarily enjoin the MTA/TBTA from commencing the Congestion Pricing Program

without first following the dictates of [the State Administrative Procedure Act].” New Yorkers,

Dkt. No. 120. The New Yorkers Plaintiffs submitted a memorandum of law and declaration in

support of that motion. New Yorkers, Dkt. Nos. 121–122. The Municipal Defendants submitted


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a memorandum of law and a declaration in opposition to that motion on December 9, 2024. Dkt.

Nos. 130–131. On December 12, 2024, Plaintiffs submitted a reply memorandum of law and a

declaration in further support of the motion. Dkt. Nos. 133–134.

       D.      Trucking, 24-cv-4111

       On May 30, 2024, Plaintiff Trucking Association of New York (“TANY”) commenced

suit by filing a complaint in the United States District Court for the Southern District of New York.

Trucking, Dkt. No. 1. 3 The complaint names as defendants the MTA, the TBTA, and Letitia James

in her official capacity as New York State Attorney General (“NYAG”). Id. On September 20,

2024, the parties in Trucking submitted a stipulation dismissing the NYAG as a defendant and

joining her as an intervenor pursuant to 28 U.S.C. § 2403(b). Trucking, Dkt. No. 57. The Court

so ordered the stipulation on September 27, 2024. Trucking, Dkt. No. 58. The complaint asserts

claims for: (1) violation of the Commerce Clause; (2) violation of the right to travel; and (3)

violation of the Supremacy Clause, U.S. Const. art. VI, cl. 2.

       On May 30, 2024, TANY moved for a preliminary injunction with a memorandum of law

and four declarations in support of the motion. Trucking, Dkt. Nos. 4–8. On June 4, 2024, the

United Parcel Service, Inc. (“UPS”) filed an amicus brief in support of TANY’s motion for a

preliminary injunction. Trucking, Dkt. Nos. 26–27, 29. On September 30, 2024, the NYAG

moved to dismiss the complaint and filed a memorandum of law in support of the motion.

Trucking, Dkt. Nos. 60–61. On September 30, 2024, the Municipal Defendants also filed an

omnibus motion to dismiss the constitutional claims and filed a memorandum of law in support of

the motion. Trucking, Dkt. Nos. 62–63. TANY filed a memorandum of law in opposition to the

motions to dismiss on November 25, 2024. Trucking, Dkt. No. 76. On December 2, 2024, the


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 The May 30, 2024 complaint was rejected due to a filing error and the document was refiled on
May 31, 2024. Trucking, Dkt. No. 14.


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NYAG filed a reply memorandum of law in support of her motion to dismiss and in opposition to

the motion for a preliminary injunction. Trucking, Dkt. No. 79. On December 2 and 3, 2024, the

Municipal Defendants filed a reply memorandum of law and two declarations in support of the

omnibus motion to dismiss and in opposition to the motion for a preliminary injunction. Trucking,

Dkt. Nos. 80–82. On December 5, 2024, the Association of Contracting Plumbers of the City of

New York, Inc. filed an amicus brief in opposition to the motions to dismiss and in support of

TANY’s motion for a preliminary injunction. Trucking, Dkt. Nos. 87–88, 97. The Municipal

Defendants filed a letter of supplemental authority on December 9, 2024. Trucking, Dkt. No. 90.

TANY filed a letter brief addressing the supplemental authority on December 12, 2024. Trucking,

Dkt. No. 94. The Municipal Defendants filed a reply letter brief regarding the supplemental

authority on December 16, 2024. Trucking, Dkt. No. 96.

                                             *       *      *

       The Court held a hearing on Plaintiffs’ preliminary injunction motions on December 20,

2024. Plaintiffs eschewed the opportunity to present evidence at the hearing.

II.    FINDINGS OF FACT

       A.      The Traffic Mobility Act

       The Court’s prior opinion and order dated June 20, 2024, set forth a brief history of the

Tolling Program and its antecedents. See Mulgrew, 2024 WL 3251732, at *2–4 (tracing the history

of the Tolling Program to Mayor John Lindsay’s endorsement of William S. Vickrey’s congestion

pricing proposals and Mayor Michael Bloomberg’s revival of the plan). Familiarity with that

opinion is presumed. In short, the New York State Legislature enacted the Traffic Mobility Act

(“Act”) on April 1, 2019. N.Y. Veh. & Traf. Law §§ 1701 et seq. The Act’s legislative findings

noted the ongoing failures of transportation infrastructure throughout the New York City subway

system and stated that those failures “continue to have a deleterious impact on the health, safety,


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and livelihood of commuters, tourists, resident New Yorkers, as well as . . . the economy of the

state of New York,” such that “a long-term and sustainable solution is necessary in order to ensure

stable and reliable funding to repair and revitalize this significantly important mass transit asset.”

N.Y. Veh. & Traf. Law § 1701. The Legislature further found that “traffic congestion in the city

of New York ranks second worst among cities in the United States and third worst among cities in

the world, and results in significant cost to the New York metropolitan area economy and in turn

the state’s economy at estimates exceeding one hundred billion dollars over the next five years.”

Id. The Legislature noted that traffic speeds in the Manhattan Central Business District (“CBD”)

had continued to drop and that the extreme congestion impacted “the everyday lives of residents,

commuters, taxi and for-hire vehicle traffic, bus transit and emergency services, and is a significant

contributor to decreased air quality.” Id.

       The Act directed the TBTA to enter into a memorandum of understanding with the

NYCDOT “for purposes of coordinating the planning, design, installation, construction and

maintenance” of a program to establish tolls for vehicles entering or remaining in the CBD. N.Y.

Veh. & Traf. Law § 1704(2). The Act defines the CBD as “the geographic area in the borough of

Manhattan south of and inclusive of sixtieth street to the extent practicable” excluding the Franklin

D. Roosevelt (“FDR”) Drive, and New York state route 9A (the “West Side Highway”) including

the Battery Park underpass and any surface roadway portion of the Hugh L. Carey Tunnel

connecting to West Street. Id. The Act also requires the TBTA to ensure that the tolling program

generates at least $15 billion dollars of net revenue to be used for MTA capital projects. N.Y.

Veh. & Traf. Law § 1704-a(1).

       The Legislature also created the TMRB to assist the TBTA in the development of an

appropriate variable tolling structure. N.Y. Pub. Auth. Law § 553-k. The Act sets forth certain




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restrictions for the variable tolling structure. For example, passenger vehicles registered pursuant

to N.Y. Veh. & Traf. Law § 401(6) may only be charged once per day for purposes of entering the

CBD, and there can be no charge on qualifying authorized emergency vehicles or qualifying

vehicles transporting a person with disabilities. N.Y. Veh. & Traf. Law § 1704-a(2). The Act

further directed the TBTA to “implement a plan for credits, discounts and/or exemptions for tolls

paid on bridges and crossings” and for tolls paid by for-hire vehicles based on the

recommendations of the TMRB. N.Y. Veh. & Traf. Law § 1704-a(3)–(4). It additionally

authorized the TBTA to provide further credits, discounts, and exemptions to be informed by both

the recommendations of the TMRB and a traffic study that considers impact. N.Y. Veh. & Traf.

Law § 1704-a(3)(b). The Legislature created a tax credit for low-income New Yorkers residing

within the CBD. See N.Y. Tax Law § 606(jjj). The Legislature required that the ultimate tolling

schedule undergo a public hearing and take effect only if approved by a majority vote of the TBTA.

N.Y. Pub. Auth. Law § 553(12-a).

       B.      Environmental Assessments

       In 2019, the NYSDOT, NYCDOT, and TBTA (together, the “Project Sponsors” or

“Sponsors”) submitted an Expression of Interest to the FHWA under the Value Pricing Pilot

Program (“VPPP”). Chan, Dkt. No. 139 ¶ 3; Mulgrew, Dkt. No. 127 ¶ 3; New Yorkers, Dkt.

No. 125 ¶ 3; Trucking, Dkt. No. 82 ¶ 3. The Sponsors required federal approval because the

Tolling Program sought to impose tolls on federal-aid highways in Manhattan. See 23 U.S.C.

§ 301. The FHWA collaborated with the Sponsors in conducting an environmental review process

in accordance with NEPA over the course of several years. See Mulgrew, 2024 WL 3251732, at

*4–7. The FHWA and Sponsors invited public engagement, and more than 1,000 people attended




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webinars hosted for that purpose, with nearly 400 of those attendees speaking. DOT 37960–62. 4

The FHWA and Sponsors received 7,338 comments. DOT 37960. The Sponsors additionally held

meetings with stakeholder groups including Connecticut, New Jersey, and New York Trucking

Associations. DOT 37048–49. In connection with this feedback, the FHWA published a draft

environmental assessment (“draft EA”) on July 29, 2022, that accounted for several different

tolling scenarios (collectively referred to as the “CBD Tolling Alternative”). DOT 37262–63. In

most of the assessed tolling scenarios, “the toll rates for different types of vehicles, like delivery

trucks, [were] different than the toll rates for noncommercial passenger vehicles.” DOT 37191.

The draft EA found that “[a]ll tolling scenarios within the CBD Tolling Alternative would result

in travel pattern changes that would support congestion relief: reduced automobile and truck trips

to the Manhattan CBD, reduced [vehicle miles traveled] to and within the Manhattan CBD and

regionally, and a shift from auto trips to transit.” DOT 37331.

         The draft EA found that multiple state and city studies conducted over the previous forty-

five years “overwhelmingly pointed to congestion pricing, or introduction of tolls based on traffic

levels, as the most effective tool” to address congestion in the CBD. DOT 37185. By the time of

release, New York City’s traffic congestion ranked worst among all cities in the United States, and

the draft EA stated that “[l]ow travel speeds and unreliable travel times to, from, and within the

Manhattan CBD increase commute and travel times for vehicles using the roadways, erode worker

productivity, reduce bus and paratransit service quality, raise the cost of deliveries and the overall

cost of doing business, and delay emergency vehicles.” DOT 37186, 37214, 37229. The FHWA

and Sponsors invited public comment on the draft EA and ultimately received approximately




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    Citations to “DOT” refer to the administrative record lodged by the FHWA.


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70,000 submissions in the form of hearing testimony, letters, emails, voicemails, and online

comments from residents, advocacy groups, businesses, and government agencies. DOT 37063.

       The FHWA and Project Sponsors published the final environmental assessment (“final

EA” or “EA”) on May 5, 2023. DOT 506153. The final EA affirmed that “there is a need to

reduce vehicle congestion in the Manhattan CBD to improve the reliability and efficiency of the

transportation system” and noted that “[t]ransit is critical to New York City’s overall economy,

and to the region’s residents, workers, and visitors, and continued investment in transit is necessary

to ensure ongoing mobility and accessibility.” DOT 36197. All considered tolling scenarios were

again predicted to “result in travel pattern changes that would support congestion relief: reduced

automobile and truck trips to the Manhattan CBD, reduced [vehicle miles traveled] to and within

the Manhattan CBD and regionally, and a shift from auto trips to transit.” DOT 36363. The

assessment analyzed how the CBD Tolling Alternatives would impact the environment (including

with regard to air pollution, noise pollution, and natural resources) and additionally considered

potential economic and social ramifications. Some of the final EA’s findings are summarized

briefly below.

                 1.    Environmental Effects

       The final EA analyzed the potential effects of the CBD Tolling Alternative on the New

York City metropolitan region, using a regional study area consisting of 28 counties. DOT 36917.

The assessment found that the Tolling Program “would decrease volumes on area highways and

roadways to, from, and within the Manhattan CBD, resulting in less congestion and improved

travel speeds and travel times for motorists who continue to use these roads, except for a limited

number of locations where traffic volumes would increase as drivers adjust their routes to avoid

the Manhattan CBD.” DOT 36917–19. Overall, the number of vehicle miles traveled would

decrease in the CBD and in the region overall, with some motorists choosing to utilize transit


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options instead of auto travel and some declining to make the trip altogether. Id. Traffic in the

CBD would decrease 7–9%, and traffic in other parts of the city and parts of the state north of the

city would decrease 0–1%. DOT 36918. Traffic in Long Island, New Jersey, and Connecticut

would increase less than 0.2%. Id.

       Vehicle emissions would increase or decrease corresponding with vehicle miles traveled.

Accordingly, the final EA predicted that air pollution would decrease across the region overall but

that there would some small increases in localized areas. DOT 36838. Traffic in the CBD is

expected to decrease by at least 7% with corresponding improvements to air quality. DOT 36839–

41, 36853–85. In the short term, pollution would decrease in Manhattan, Queens, Brooklyn,

Rockland County and Hudson County. DOT 36838–51. Pollution would increase in the Bronx,

Staten Island, Nassau County, and Bergen County in the short term. Id. Suffolk, Westchester, and

Putnam Counties would see mixed results in the short term with some pollutants increasing and

others decreasing. In the longer term, the assessment predicted that pollution would decrease in

Manhattan, Queens, Brooklyn, Suffolk County, and Hudson County. Id. Pollution would increase

in Staten Island and Bergen County; and there would be mixed results in the Bronx, Nassau,

Westchester, Rockland, and Putnam Counties. Id. Similar results were expected for mobile source

air toxics. DOT 36852–58. A screening analysis was conducted to determine whether detailed

microscale analyses of the impacts of carbon monoxide emissions and particulate matter would be

required, or if the traffic would be below the screening thresholds and thus require no further

analysis.   DOT 36859.      All 102 screened locations passed, indicating minimal impacts.

DOT 36860–63. The Project Sponsors committed to continued carbon monoxide monitoring.

DOT 36865. Overall, the assessment concluded that “[f]or all tolling scenarios, the changes in

traffic volumes, including changes in truck trips, would not result in regional or localized




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exceedances of National Ambient Air Quality Standards, and there would be no adverse effects on

air quality from implementation of the CBD Tolling Alternative.” DOT 36942.

         Noise pollution would decrease in most areas and the maximum noise level increases

would be less than three decibels—nearly imperceptible by the human ear. DOT 36882–87,

36926.

         Constructing and maintaining the infrastructure and equipment used to implement the

Tolling Program would have a negligible impact on the environment, as the equipment would

replace or be similar in form to pre-existing streetlight poles and signs. DOT 36916–17. Some of

the equipment and systems would require additional energy input, but total energy use would

decrease across the region due to fewer vehicle miles traveled. DOT 36874. The final EA found

that the CBD Tolling Alternative would not affect surface waters and wetlands, flood plans, ground

water, protected species, or other natural resources. DOT 36900–02.

         The final EA also responded to the input received from the public, including by appending

a technical memorandum examining “how environmental justice communities with preexisting air

pollution and health burdens could be affected by Project-generated increases or decreases in

highway traffic adjacent to these areas.”      DOT 36156.      The memorandum explained that

“regardless of the tolling structure eventually adopted,” the Project Sponsors committed

$155 million over five years to mitigate the potential effects. DOT 36211, 36213. Those efforts

included further reductions to overnight tolls and expanding the NYCDOT Off-Hours Delivery

Program 5 to decrease auto and truck diversions to environmental justice communities, renovating




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  NYCDOT’s Off-Hours Delivery Program is a pilot program that provides support for businesses
that shift their deliveries to off-peak periods. DOT 36753 (citing New York City Department of
Transportation, Off-Hour Deliveries (2010), https://www.nyc.gov/html/dot/downloads/pdf/ssi10-
offhour.pdf).


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parks and greenspace in environmental justice communities, and developing electronic truck

charging infrastructure. DOT 36213, 36372. In light of the Sponsors’ mitigation commitments,

the FHWA found that the project “would not result in a disproportionately high and adverse effect

on environmental justice communities.” DOT 36211.

               2.      Economic Effects

       The final EA considered three primary measures of economic impact: (1) direct

displacement, “which occurs when residents or businesses must move from a site or sites as a

direct result of a project;” (2) indirect, or secondary, displacement, “which occurs when a project

alters one or more of the underlying forces that shape real estate market conditions in an area,

resulting in conditions that cause the displacement of residents, businesses, or employees;” and

(3) “[c]hange in the economic and operational conditions of an industry, within or outside a

directly affected area, that results in a loss or substantial diminishment of a particularly important

product or service.” Id. The final EA relied on the Best Practice Model, which is “the New York

City region’s primary long-range travel forecasting model,” DOT 36304, as well as data from the

U.S. Census Bureau, the U.S. Department of Labor, Esri Business Analyst (a private data provider

for retail sales estimates by geography), the New York City Department of City Planning

Neighborhood Tabulation Areas, the New York City Department of Consumer Affairs, and various

industry literature. DOT 36685–86. The Project Sponsors also committed to establishing a Small

Business Working Group to share information about implementation of the Tolling Program and

findings from evaluating the effects of the Tolling Program, and to solicit ongoing input on how

businesses are being affected. DOT 36752.

       Ultimately, the final EA concluded that the CBD Tolling Alternative “would provide an

economic benefit to the Manhattan CBD, and thus to the region and nation.” DOT 36763

(emphasis added). Because the CBD Tolling Alternative would reduce congestion, motorists


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transporting goods or commuting by car, truck, or bus would experience reduced travel time and

increased travel-time reliability. DOT 36626–27, 36763. 6 They would be able to increase

productive hours because drivers and their passengers would spend less time sitting in traffic and

would not have to depart earlier than necessary to account for the uncertain arrival times. Id.

Motorists, cyclists, and pedestrians alike would enjoy a reduction in auto collisions and the

attendant costs. DOT 36763. The Tolling Program would also “improve accessibility for disabled

individuals throughout the region by providing benefits to improve paratransit services, such as

reduced roadway congestion and travel-time improvements.” Id.

       As far as negative economic impacts, the final EA found that “[a]t a regional level, the

CBD Tolling Alternative would not substantively alter one or more of the underlying forces that

shape real estate market conditions, and therefore would not be likely to result in the involuntary

displacement of residents, businesses, or employees.” DOT 36732. It therefore focused on

potential changes in workforce and the operations of certain industries. DOT 36733.

       The final EA found that “[t]he disincentive to drive created by the Project would not

adversely affect economic conditions within or outside of the Manhattan CBD” because “[m]ost

of the potentially affected workforce who presently work inside the Manhattan CBD live and/or

work near transit.”    DOT 36739.      Approximately 99% of workers who commute into the

Manhattan CBD by car have jobs that are close to transit. Id. One third of those commuters drive

from residences that are close to transit. Id. And the 12,535 Manhattan CBD residents who




6
  A Travel-Time Reliability ratio of 1.0 demonstrates little variability in travel time resulting from
congestion (and thus less wasted time spent in traffic). The assessment noted that “[i]n Manhattan,
the daily level of travel-time reliability for all vehicle modes is 1.65 and for trucks it is 2.67.”
DOT 36256 (citing New York Metropolitan Transportation Council, Congestion Management
Process Status Report (2021)). “[T]o arrive at a destination on time, drivers regularly need to
assume that their trip could take more than four times what it would during free-flow periods.” Id.


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commute by car to work at jobs outside the Manhattan CBD represent approximately 0.01% of the

regional labor force. The assessment thus concluded that “the increased cost for those who

commute by car would not disproportionately affect the operations of a specific industry, although

it may incentivize workers currently incentivized to drive by the availability of free parking to

switch to a transit mode.” DOT 36738. The assessment similarly noted that “[w]ith respect to

Manhattan CBD reverse commuters, the BPM projections indicate that in the aggregate, there

would be minimal overall change in the number of workers who commute from the Manhattan

CBD to other regional locations because of the CBD Tolling Alternative.” DOT 36739.

       With regard to discretionary car travel, such as shopping or entertainment expeditions, the

assessment found that the total number of journeys “would remain essentially the same” though

the destinations might minimally vary. DOT 36740–41. Although members of the public and

stakeholders expressed concern that the toll would impact New York City’s tourism industry, the

final assessment noted that “[t]he tourism industry in the Manhattan CBD is not dependent on

travel by personal vehicles or taxis/[for-hire vehicles] because the Manhattan CBD and tourist

destinations within it are very well-served by public transit.” DOT 36743. Tourists often travel

by transit and the EA cited studies that “have identified investments in mass transit as important

to supporting the health and growth of New York City’s tourism industry, both before and after

the COVID-19 pandemic.”          Id. (citing Vanderbilt Corridor and One Vanderbilt Final

Environmental Impact Statement (2015); Office of the New York State Comptroller, The Tourism

Industry in New York City: Reigniting the Return (2021)); see also id. (noting that “traffic

congestion within the Manhattan CBD, which leads to low travel speeds and unreliable travel

times, can contribute to a poor-quality experience for tourists”). Indeed, “[t]ourist visitation data

from London, England, and Stockholm, Sweden, indicates that the number of tourists visiting these




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cities continued to grow following the implementation of congestion-based pricing programs” and

the hotel and restaurant industries located within the London charge zone “registered stronger

business performance since the introduction of charging, with consistent growth in employment

and the numbers of businesses.” Id. (quoting Transport for London, Central London Congestion

Charging: Impacts Monitoring (Fifth Annual Report) (2007)).

       The EA noted that an increase in taxi and for-hire vehicle (“FHV”) fares “could reduce

demand and industry revenues for taxis and/or FHV.”           DOT 36744–47, 36975, 37003–09.

However, the EA concluded that “[w]ith the CBD Tolling Alternative, reductions in vehicle

volumes and [vehicle miles traveled] in the Manhattan CBD and other locations within the regional

study area would benefit taxi and FHV drivers.” DOT 37004–05. Reduced congestion and

improved speeds would permit drivers to reach their customers more quickly and transport them

to their destinations more quickly, thus allowing the drivers to complete more paid trips. Id.

       Truck drivers are also expected to enjoy net benefits. The final EA stated that the CBD

Tolling Alternative “would reduce costs for truck deliveries related to the time spent making the

delivery” by reducing congestion. DOT 36751. Additionally, because the demand for parking in

the Manhattan CBD would be reduced, trucks would have improved access to legal curbside

parking and avoid tickets—fines for which frequently exceed $1,000 per truck per month. Id.

(citing Jose Holguin-Veras, et al., Integrative Freight Demand Management in the New York City

Metropolitan (2010)); see also Trucking, Dkt. No. 6 ¶¶ 12–13, 20 (The president of Lightning

Express Delivery Service, Inc., a member of TANY, averred that “[e]ntering New York City is

extremely expensive due to already existing bridge and tunnel tolls, not to mention parking meters

and unavoidable fines.”). The final EA noted that when Stockholm truck distribution companies

were surveyed about the congestion pricing program trial in that city, their “feedback showed that




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companies felt positively about the program regarding reduced congestion and more efficient

deliveries.” DOT 26271–72 (citing Congestion Charge Secretariat for the City of Stockholm,

Facts and Results from the Stockholm Trials (2006)). In addition to benefiting the trucking

companies, reduced delivery times would also reduce costs for businesses “such as the cost of

remaining open for longer hours to process late deliveries; penalties for lost business revenue

associated with missed schedules; [the] cost of spoilage for time-sensitive, perishable deliveries;

[the] cost of maintaining greater inventory to cover the undependability of deliveries; [the] costs

of reverting to less efficient production scheduling processes; and the additional cost incurred

because of access to reduced markets for labor, customer, and delivery areas.” DOT 36751.

“Additionally, when deliveries cannot be relied on to arrive on time, businesses must keep extra

‘buffer stock’ inventory on hand,” whereas “[p]ricing of the nation’s major thoroughfares to

guarantee free flow of traffic will ensure that reliability is restored to the transportation system,

keeping business and transportation costs low.” DOT 36732. The final EA noted that “[r]eview

of research on congestion-based pricing programs in Singapore; London, England; and Stockholm,

Sweden found that these programs had not adversely affected retail markets.” DOT 36751–52.

       The EA also reviewed possible neighborhood-level economic impacts and concluded that

there was “no anticipated change to the overall operation or character of local streets and no effect

on economic conditions.” DOT 36755. The areas expected to experience increased traffic already

experience high levels of vehicle traffic that influence market conditions, “and in any case, local

market conditions are more heavily influenced by existing pedestrian traffic.” Id. Car journeys to

commercial businesses represent less than 10% of all consumer journeys in and immediately

surrounding the Manhattan CBD, and thus the loss of consumer base from congestion pricing is

expected to be less than 1.3%. Id. The main industry that the assessment noted would be




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economically impacted were parking garages in certain parts of the city. DOT 36762–63, 36765.

However, the assessment noted that “given property values and consumer volumes” for the

relevant area, “if one or more parking facilities were to close, these facilities could be redeveloped

or repurposed with other uses; the sites would not remain vacant; therefore, their potential

displacement would not create a climate of disinvestment that could lead to adverse effects on

neighborhood character.” DOT 36763.

       Ultimately, the final EA found that, in light of the CBD Tolling Alternative’s beneficial

effects and lack of adverse effects, no mitigation was required. DOT 36766–67. Plaintiffs do not

offer any studies or industry literature contradicting the final EA’s findings with regard to the

predicted impact of the Tolling Program on congestion, the environment, or the economy. 7

       C.      Finding of No Significant Impact

       Alongside the final EA, the FHWA published a draft finding of no significant impact

stating that the “FHWA has determined that the Proposed Action described in the Final

Environmental Assessment . . . will have no significant impact on the human or natural

environment.” DOT 40591.

       The FHWA considered additional public comments before issuing the final finding of no

significant impact on June 23, 2023. DOT 363, 393. It reaffirmed that the CBD tolling project

described in the final EA “will have no significant impact on the human or natural environment”

and that “[t]he Final EA provides sufficient evidence and analysis for determining that an

environmental impact statement is not required.” DOT 363. The FHWA took “full responsibility

for the accuracy, scope, and content of the Final EA.” Id.


7
  Although Plaintiffs in New Yorkers submit as an exhibit a New York City Planning Survey noting
that storefront vacancies are trending down since the height of the Covid-19 Pandemic, New
Yorkers, Dkt. No. 134-1, nothing in that survey mentions the Tolling Program or otherwise
disputes the final EA’s findings.


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       D.      TMRB Recommendations and Initial Adoption

       The final EA stated that as the next steps, “the TMRB will recommend to the TBTA Board

the toll amounts and toll structure, such as crossing credits, discounts, and/or exemptions for

existing tolls paid on bridges and tunnels,” noting that “[t]he variable pricing structure could vary

by time of day, day of week, and day of year and could be different for different types of vehicles.”

DOT 393. “The Traffic Mobility Review Board’s recommendation will be informed by the results

of the Final EA, which includes a Traffic Study, and will consider such factors as traffic patterns,

operating costs, public impact, and environmental impacts, including, but not limited to, air quality

and emissions trends.” DOT 394.

       In November 2023, the TMRB released its recommendation. See Traffic Mobility Review

Board, Congestion Pricing in New York (2023) (“TMRB Report”). The TMRB Report stated that

“we have been guided by the groundbreaking legislation that mandated Congestion Pricing in New

York City, as well as by the comprehensive National Environmental Policy Act [] process

culminating in the Final Environmental Assessment [] and Finding of No Significant Impact.”

TMRB Report at 4. It also stated that the TMRB’s work was “informed by thousands of comments

and feedback received from the public at hearings and outreach sessions and through online

portals” and that “[w]e have paid particular attention to the impact of the program on

environmental justice communities, people with disabilities, and other vulnerable groups.” Id. at

5.

       The TMRB found that in 2018, for-hire vehicles and taxis made up 52% of vehicle traffic

in the CBD, other automobiles and motorcycles made up 35%, commercial vans represented 5%,

and trucks and buses each made up 4%. Id. at 11. It found that the “vast majority of those who

drive to the CBD have access to transit” including commuter rail, urban rail, and express bus

options. Id. The TMRB Report stated that the present traffic conditions cost “businesses,


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commuters, and residents a staggering $20 billion a year” and threaten public health by “increasing

air and noise pollution and increasing emergency vehicle response times.” Id. at 6. To ameliorate

those effects, the TMRB recommended the following tolling structure:

       •   Passenger vehicles and passenger-type vehicles with commercial license plates
           should be charged a $15 toll for entering the CBD, no more than once per day.

       •   Trucks should be charged a $24 or $36 toll for entering the CBD, depending on
           their size, as defined below.

       •   Buses providing transit or commuter services should be exempted from the toll.
           Other buses should be charged a $24 or $36 toll for entering the CBD,
           depending on their type, as defined below.

       •   Motorcycles should be charged half the passenger vehicle toll, no more than
           once per day.

       •   Tolls should be charged to vehicles only as they enter the CBD—not if they
           remain in or leave the zone.

       •   Congestion toll rates should apply during the most congested times of the day—
           from 5am to 9pm on weekdays, and from 9am to 9pm on weekends. Toll rates
           should be 75% lower in the nighttime.

       •   A credit against the daytime CBD toll rate should be provided to vehicles
           entering through the four tolled entries that lead directly into the CBD: the
           Queens-Midtown, Hugh L. Carey, Holland, and Lincoln Tunnels. The credit
           should be $5 for passenger vehicles, $2.50 for motorcycles, $12 for small trucks
           and intercity/charter buses, and $20 for large trucks and tour buses. No crossing
           credits should be in effect in the nighttime period when toll rates are 75% lower.

       •   NYC Taxi and Limousine Commission[]-licensed taxis and For-Hire Vehicles
           [] should be exempted from the daily system toll on vehicles. Instead, a per-ride
           CBD toll should be added to each paid passenger trip fare for rides made to,
           from, or within the CBD at the toll rate of $1.25 per-ride for taxis and $2.50
           per-ride for app-based FHVs.

       •   Specialized government vehicles should be exempted from the CBD toll (in
           addition to emergency vehicles and vehicles transporting people with
           disabilities, as required by law).

       •   Low-income vehicle owners who qualify and register with TBTA should
           receive a 50% discount on the daytime auto toll after the first 10 trips made by
           that vehicle in a calendar month.



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Id. at 8. The TMRB stated that the proposed toll structure “prioritizes keeping the base toll as low

as possible, avoiding unnecessary traffic diversions, supporting equity goals and environmental

justice, and keeping the Program simple, easy to understand, and easy to administer.” Id. at 7.

Preliminary traffic models showed that the toll structure would result in an estimated 17% fewer

vehicles entering the CBD and 9% fewer vehicle miles being driven in the CBD. Id. at 16.

       The TMRB noted that London, Stockholm, Singapore, and Milan all saw 20% to 30%

reductions in traffic after implementing congestion pricing. Id. at 10 (citing Center for Transport

Studies, The Stockholm Congestion Charges: An Overview (July 2014); Federal Highway

Administration, Lessons Learned from International Experience in Congestion Pricing (2021);

Agency for Mobility Environment and Land Use, Eco-Zone in Milan: Policy design, Enforcement

and Impacts on Traffic and the Environment (2014)).

       The TMRB recommended a rate of $24 for small trucks (approximately 1.6 times the auto

rate) and $36 for large trucks (approximately 2.4 times the auto rate). Id. at 20. It explained that

“[a]lthough trucks make up only 4% of vehicles in the CBD, they have an outsized impact on

congestion, because of their large size and large turning radii, their parking patterns, and the noise

and air pollution they cause.” Id. (citing New York City Department of Transportation, Miovision

Vehicle Classification Data (2018)). 8 The TMRB explained that those “recommended truck tolls

balance the need to encourage the optimization of deliveries, thereby reducing trucks’ contribution

to congestion in the zone, with the equal need to minimize unnecessary diversions through




8
  In the context of measuring noise pollution, vehicles are assigned a Passenger Car Equivalent
(“PCE”) value reflective of the noise output compared to a standard passenger automobile. The
PCE for an automobile is 1 unit, for one medium truck is 16 units, for one bus is 18 units, and for
one heavy truck is 47 units. DOT 36879.


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communities that may already be burdened with comparatively high levels of air pollution and

associated adverse health outcomes.” TMRB Report at 20. 9

       In March 2024, the TBTA adopted the proposed toll rate schedule with an implementation

date in or about June 2024. Chan, Dkt. No. 139 ¶ 4; Mulgrew, Dkt. No. 127 ¶ 4; New Yorkers,

Dkt. No. 125 ¶ 4; Trucking, Dkt. No. 82 ¶ 4. On June 14, 2024, the FHWA “issued a re-evaluation

finding that the conclusions in the Final EA remain valid in light of the final tolling schedule

adopted by the MTA and thus that no further environmental review [wa]s warranted.” Mulgrew,

2024 WL 3251732, at *9.

       E.      The Pause and Reinitiation of the Tolling Program

       On June 5, 2024, Governor Hochul directed the MTA to pause implementation of the

Tolling Program. Chan, Dkt. No. 91; Mulgrew, Dkt. No. 78; New Yorkers, Dkt. No. 85; Trucking,

Dkt. No. 30.

       A few months later, the Governor announced a proposal to proceed with the Tolling

Program subject to a phase-in period for the first six years of the program. Chan, Dkt. No. 139

¶ 6; Mulgrew, Dkt. No. 127 ¶ 6; New Yorkers, Dkt. No. 125 ¶ 6; Trucking, Dkt. No. 82 ¶ 6. On

November 18, 2024, the TBTA Board adopted the Governor’s proposed phase-in approach. See

Triborough Bridge and Tunnel Authority Central Business District (CBD) Charges,

https://new.mta.info/document/138931 (“Phase-In Tolling Structure”).          The Phase-In Tolling

Structure calls for tolls to be levied at 60% of the TMRB’s recommended rates for the years 2025–

2027, 80% for the years 2028–2030, and 100% for 2031 onward. Id.




9
  The final EA similarly stated that “[a]lthough all motor vehicles produce air pollutants, emissions
from trucks are of particular concern to near-road air quality, in part because of the pollutants they
emit, but also because they disproportionately contribute more emissions than other types of
vehicles.” DOT 36209.


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        The Project Sponsors prepared a second reevaluation of the Tolling Program to assess the

effects of the phase-in approach. Chan, Dkt. No. 139 ¶ 9; Mulgrew, Dkt. No. 127 ¶ 9; New

Yorkers, Dkt. No. 125 ¶ 9; Trucking, Dkt. No. 82 ¶ 9. The reevaluation concluded that the effects

of the Phase-In Tolling Structure were consistent with the effects disclosed in the FHWA’s final

EA and finding of no significant impact. Chan, Dkt. No. 139 ¶ 9; Mulgrew, Dkt. No. 127 ¶ 9; New

Yorkers, Dkt. No. 125 ¶ 9; Trucking, Dkt. No. 82 ¶ 9. On November 21, 2024, the FHWA

confirmed that the prior finding of no significant impact remained valid and signed an agreement

under the VPPP authorizing the Phase-In Tolling Structure. See Federal Highway Administration,

Central Business District (CBD) Tolling Program Reevaluation 2, at 10 (2024),

https://new.mta.info/document/158191 (“In conclusion, all NEPA requirements have been met and

the mitigation measures identified in the [environmental assessment] and the [finding of no

significant impact] are still applicable and will ensure that the Phase-In Approach, like the March

2024 adopted toll structure, does not result in significant effects.”); Chan, Dkt. No. 139 ¶ 10, Dkt.

No. 138–2; Mulgrew, Dkt. No. 127 ¶ 10, Dkt. No. 126-2; New Yorkers, Dkt. No. 125 ¶ 10, Dkt.

No. 124-2; Trucking, Dkt. No. 82 ¶ 10, Dkt. No. 81-2.

III.    LEGAL STANDARD

        A preliminary injunction is an “extraordinary remedy.” Weinberger v. Romero-Barcelo,

456 U.S. 305, 312 (1982). “Any party seeking a preliminary injunction ‘must demonstrate that it

will suffer irreparable harm in the absence of the requested relief.’” Sussman v. Crawford, 488

F.3d 136, 140 (2d Cir. 2007) (quoting Latino Officers Ass’n v. Safir, 170 F.3d 167, 171 (2d Cir.

1999). In order to justify a preliminary injunction, a movant must demonstrate: (1) irreparable

harm absent injunctive relief; (2) either a likelihood of success on the merits, or a serious question

going to the merits to make them a fair ground for trial, with a balance of hardships tipping

decidedly in the plaintiff's favor; and (3) that the public’s interest weighs in favor of granting an


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injunction. See Metro. Taxicab Bd. of Trade v. City of New York, 615 F.3d 152, 156 (2d Cir. 2010)

(citing Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). “When, as here, the

moving party seeks a preliminary injunction that will affect government action taken in the public

interest pursuant to a statutory or regulatory scheme, the injunction should be granted only if the

moving party meets the more rigorous likelihood-of-success standard.” Id.; see Sussman v.

Crawford, 488 F.3d 136, 140 (2d Cir. 2007); Friends of the E. Hampton Airport, Inc. v. Town of

E. Hampton, 841 F.3d 133, 143 (2d Cir. 2016).

IV.    CONCLUSIONS OF LAW

       A.      Likelihood of Success on the Merits

       Plaintiffs assert that they are likely to succeed on the merits of several of their underlying

causes of action. TANY argues that it is likely to succeed on the merits because (1) the Tolling

Program violates the Dormant Commerce Clause; (2) the tolling program violates TANY

members’ constitutional right to travel; and (3) the Federal Aviation Administration Authorization

Act of 1994 (the “FAAAA”) preempts the Tolling Program. Trucking, Dkt. No. 4 at 14–25.

Plaintiffs in Chan and Mulgrew join in those arguments and additionally argue that they are likely

to succeed on the merits of their Green Amendment claims. Chan, Dkt. No. 134; Mulgrew, Dkt.

No. 122. Plaintiffs in New Yorkers argue that they are likely to success on the merits of their SAPA

claim. New Yorkers, Dkt. No. 121 at 7–9.

       In sum, Plaintiffs claim a likelihood of success on the merits of their claims that the Tolling

Program violates: (1) the Dormant Commerce Clause, (2) the constitutional right to travel, (3) the

Supremacy Clause, (4) the New York State Green Amendment, and (5) SAPA.

               1.      Commerce Clause

       The Commerce Clause contains a dormant aspect that denies the states “the power

unjustifiably to discriminate against or burden the interstate flow of articles of commerce.” E.


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Profit Corp. Ltd. v. Strategic Vision US LLC, 2021 WL 2554631, at *22 (S.D.N.Y. June 22, 2021)

(quoting Or. Waste Sys., Inc. v. Dep’t of Env’t Quality, 511 U.S. 93, 98 (1994)). A user fee is

reasonable and will not run afoul of the Dormant Commerce Clause “if it (1) is based on some fair

approximation of the facilities’ use, (2) is not excessive in relation to the benefits conferred, and

(3) does not discriminate against interstate commerce.” Nw. Airlines, Inc. v. Cnty. of Kent, Mich.,

510 U.S. 355, 369 (1994) (citing Evansville-Vanderburgh Airport Auth. Dist. v. Delta Airlines,

Inc., 405 U.S. 707, 716–17 (1972)); accord Selevan v. N.Y. Thruway Auth. (“Selevan I”), 584 F.3d

82, 96 (2d Cir. 2009).

       Plaintiffs in Mulgrew and Chan argue that the Tolling Program runs afoul of all three

components of the Evansville/Northwest Airlines test. Mulgrew, Dkt. No. 118 at 6–20; Chan, Dkt.

No. 130 at 6–20. TANY does not contend that the Tolling Program discriminates against interstate

commerce and instead argues that (1) the Tolling Program’s charges to TANY trucks are not based

on a fair approximation of their use; and (2) the Tolling Program’s charges to TANY trucks are

excessive in relation to the benefits conferred upon them. Trucking, Dkt. No. 4 at 14–21. The

Municipal Defendants and Winkelhake argue that the Tolling Program satisfies all three prongs.

Mulgrew, Dkt. No. 103 at 7–15, Dkt. No. 105 at 7–18, Dkt. No. 123 at 5–13, Dkt. No. 125 at 8–

16; Chan, Dkt. No. 116 at 7–15, Dkt. No. 118 at 7–18, Dkt. No. 135 at 5–13, Dkt. No. 137 at 8–

16.

       Defendant Winkelhake additionally argues that the Tolling Program is constitutional

because (1) the Tolling Program is not a user fee subject to the three-pronged test derived from

Evansville and articulated in Northwest Airlines “because congestion tolls are not fees to defray

the costs of using the roads in the Central Business District but are instead designed to reduce

congestion and air pollution in that district and to raise funds for public transit in New York City,”




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and (2) the Tolling Program is a state action within the scope of congressional authorization and

is therefore invulnerable to Commerce Clause challenge. Mulgrew, Dkt. No. 103 at 5, Dkt.

No. 123 at 5; Chan, Dkt. No. 116 at 5, Dkt. No. 135 at 5. Winkelhake argues that because the

Tolling Program is not a user fee, it passes constitutional muster under the more general test

articulated by the Supreme Court in Pike v. Bruce Church, Inc., 397 U.S. 137 (1970). Mulgrew,

Dkt. No. 103 at 6–8, Dkt. No. 123 at 5; Chan, Dkt. No. 116 at 6–8, Dkt. No. 135 at 5. The New

York State Attorney General joins those arguments in her capacity as Intervenor in Trucking.

Trucking, Dkt. No. 61 at 5–8.

                       a.       User Fee

       A threshold question is what analysis is to be applied to Plaintiffs’ challenge to the Tolling

Program. That question depends on whether the Tolling Program should be considered to impose

a “user” fee and, if so, whether that user fee is for use of an integrated, interdependent

transportation system, including both roadways and the transit system.

       A “user fee” is “a charge designed as compensation for Government-supplied services,

facilities, or benefits.” United States v. U.S. Shoe Corp., 523 U.S. 360, 363 (1998). User fees are

“imposed by the State for the use of state-owned or state-provided transportation or other facilities

and services.” VIZIO, Inc. v. Klee, 886 F.3d 249, 258 (2d Cir. 2018) (quoting Or. Waste Sys., 511

U.S. at 103 n.6)); see Pace v. Burgess, 92 U.S. 372, 375 (1875) (“They are simply the

compensation given for services properly rendered.”).

       Defendant Winkelhake argues that the Tolling Program imposes a general tax rather than

a user fee because “the Central Business District is not a facility built or maintained by New York,

MTA/Triborough, or New York City” and the revenue collected through the Tolling Program will

be used to support capital improvements to New York City’s public transit rather than the roads in

the CBD. Mulgrew, Dkt. No. 103 at 9–10; Chan, Dkt. No. 116 at 9–10. Where a government


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charge is not connected to the payer’s use of governmental facilities or services and the charge is

a general revenue tax “imposed for the general support of the government,” courts do not apply

the Evansville/Northwest Airlines test. Commonwealth Edison Co. v. Montana, 453 U.S. 609,

621–22 (1981) (citing Evansville, 405 U.S. 707; Clark v. Paul Gray, Inc., 306 U.S. 583 (1939);

Ingels v. Morf, 300 U.S. 290 (1937)).

        Winkelhake’s argument (and the argument of the Plaintiffs that follow on it) is based on a

faulty premise. The definition of the relevant “facility” is not limited to the public transit system

that will receive a large portion of the revenues generated by the Tolling Program. The Second

Circuit has held that a user fee “may reasonably support the budget of a governmental unit that

operates facilities that bear at least a ‘functional relationship’ to facilities used by the fee payers.”

Bridgeport & Port Jefferson Steamboat Co. v. Bridgeport Port Auth., 567 F.3d 79, 87 (2d Cir.

2009); see Angus Partners LLC v. Walder, 52 F. Supp. 3d 546, 567 (S.D.N.Y. 2014). Courts in

this Circuit have long held that certain bridges, tunnels, roadways, public transit systems and

commuter railways may “form an ‘integrated, interdependent transportation system’” such that

components of the integrated system bear a functional relationship to tolls charged in connection

with other components. Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. & N.J., 887 F.2d 417, 418

(2d Cir. 1989) (quoting and affirming Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. & N.J., 706 F.

Supp. 264, 280 (S.D.N.Y. 1989)); see, e.g., Janes v. Triborough Bridge & Tunnel Auth. (“Janes

II”), 774 F.3d 1052, 1055 & n.6 (2d Cir. 2014) (per curiam); Angus Partners, 52 F. Supp. 3d at

567; Molinari v. N.Y. Triborough Bridge & Tunnel Auth., 838 F.Supp. 718, 725 (E.D.N.Y. 1993);

see also Am. Trucking Ass’ns, Inc. v. R.I. Turnpike and Bridge Auth., 2024 WL 5001908, at *12

(1st Cir. Dec. 6, 2024) (sustaining tolling program where “[t]he amount of the tolls was to be




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determined based on the costs of replacement, reconstruction, maintenance, and operation of

Rhode Island’s system of bridges” (citation omitted)).

       A transportation system may be integrated where its components contribute to the efficient

provision of transportation between points. See Auto. Club, 887 F.2d at 422–23. Considerations

include the cost-effectiveness of operating interrelated transportation facilities, traffic spillover,

and substitution effects. Id.; accord Angus Partners, 52 F. Supp. 3d at 567. Although Defendant

Winkelhake notes that the CBD is not built or maintained by defendants, operatorship need not be

common for modes of transportation to bear a functional relationship with one another. See Angus

Partners, 52 F. Supp. 3d at 566 (holding that it is not essential for “all means of transportation in

a region to be exclusively operated by a single entity in order to establish the existence of an

integrated transportation system” (collecting cases)); contra Chan, Dkt. No. 142 at 3–4; Mulgrew,

Dkt. No. 130 at 3–4. The fact that a state may subdivide its transportation apparatus among

multiple agencies is of no constitutional importance where smooth operation of the whole system

is dependent upon its constituent parts operating in tandem. Nor is it necessary that the supposedly

integrated mass transportation systems provide point-to-point alternatives to the tolled roads at

issue. See Molinari, 838 F. Supp. at 726 (noting that “even though the Verrazano–Narrows Bridge

is not normally used interchangeably with many of the other component parts of the MTA, the

Bridge is part of a single integrated transportation system” and the commuter rail facilities

“effectively reduce traffic on the same arteries, river crossings and streets that are used by

commuters from Staten Island who use the Verrazano–Narrows Bridge”); Auto. Club, 887 F.2d at

422 (rejecting argument that only “origin and destination” analysis can establish a functional

relationship and holding that “[t]he Port Authority is entitled to prove that PATH is related to the

bridges and tunnels with evidence that a ‘spillover’ effect links even those river crossings that




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travelers do not normally use interchangeably”); R.I. Turnpike, 2024 WL 5001908 (holding that

tolls charged for use of any of Rhode Island’s bridges could be used to replace, reconstruct,

operate, and maintain the states’ thirteen bridges).

       In light of these guidelines, numerous courts have held that New York roadways and river

crossings are functionally connected to New York’s public transit and commuter rail systems. See

Janes II, 774 F.3d at 1055 & n.6; Auto. Club, 887 F.2d at 423; Wallach v. Brezenoff, 930 F.2d

1070, 1071 (3d Cir. 1991); Angus Partners, 52 F. Supp. 3d at 566; Janes v. Triborough Bridge &

Tunnel Auth. (“Janes I”), 977 F. Supp. 2d 320, 341 (S.D.N.Y. 2013), aff’d, 774 F.3d 1052;

Molinari, 838 F. Supp. at 726.

       The Municipal Defendants argue that the same finding is warranted here, as the integrated

transportation system at issue consists of “the means of transportation in [the] region,” Mulgrew,

Dkt. No. 125 at 10–11 (citing Angus Partners, 52 F. Supp. 3d at 566); Chan, Dkt. No. 137 at 10–

11 (citing same), and improvements to the “MTA’s transportation network . . . will substantially

reduce congestion within the CBD and on roadways leading into the CBD.” Mulgrew, Dkt.

No. 105 at 12–13 (citing N.Y. Pub. Auth. Law § 553-j; Mulgrew, 2024 WL 3251732, at *25);

Chan, Dkt. No. 118 at 12–13 (citing same). The final EA noted the spillover effect, finding that

“[i]nvestments in MTA’s integrated transportation network would improve system reliability and

accessibility, which would in turn attract new riders and further reduce vehicle demand for road

capacity in and connecting to the Manhattan CBD.” DOT 36272. The subway “connects with

regional transit hubs in the Manhattan CBD, allowing for connections from other modes” of transit

including commuter rail, buses, ferries, trams, bicycles, and trams, in addition to automobiles.

DOT 36333–39. The Tolling Program would cause individuals presently driving within the CBD

to utilize other transit options, directly reducing congestion experienced by motorists still driving




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within the CBD while increasing use of the transit facilities. DOT 36355, 36361. All this supports

a finding that the MTA’s transit systems and the CBD roadways form a single integrated system.

Neither Plaintiffs nor Winkelhake nor the NYAG offer evidence compelling a contrary conclusion.

       The Tolling Program operates as a user fee levied on users of New York City’s integrated

transportation system and is therefore subject to the Evansville/Northwest Airlines test as applied

to the integrated transportation system. 10

                       b.      Congressional Authorization

       The Dormant Commerce Clause limits the states’ authority to regulate interstate commerce

to preserve Congress’ dominion. See W. & S. Life Ins. Co. v. State Bd. of Equalization of Cal.,

451 U.S. 648, 652 (1981). Accordingly, “[i]f Congress ordains that the States may freely regulate

an aspect of interstate commerce, any action taken by a State within the scope of the congressional

authorization is rendered invulnerable to Commerce Clause challenge.” Id. at 652–53; accord Ne.

Bancorp, Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 472 U.S. 159, 174 (1985) (“When Congress

so chooses, state actions which it plainly authorizes are invulnerable to constitutional attack under

the Commerce Clause.”); Mid-Atl. Bldg. Sys. Council, a Div. of Penn. Builders Ass’n, Inc. v.

Frankel, 17 F.3d 50, 52 (2d Cir. 1994) (“When Congress has plainly and specifically delegated


10
    If the Tolling Program did not operate as a user fee, Plaintiffs’ Commerce Clause challenges
would be evaluated under the more general Pike test. The analysis would not lead to a different
result. The Pike test states that “[w]here the statute regulates even-handedly to effectuate a
legitimate local public interest, and its effects on interstate commerce are only incidental, it will
be upheld unless the burden imposed on such commerce is clearly excessive in relation to the
putative local benefits.” Pike, 397 U.S. at 142; see also Minnesota v. Clover Leaf Creamery Co.,
449 U.S. 456, 471 (1981); Nat’l Pork Producers Council v. Ross, 598 U.S. 356, 377–78 (2023).
Accordingly, the Court finds that because Plaintiffs do not show facial discrimination or an
impermissible burden on interstate commerce, they have not shown a likelihood of success on the
merits even if the Tolling Program is not evaluated under the Evansville/Northwest Airlines test
for user fees but rather under Pike. See infra § IV.A.1.d. (finding that Plaintiffs fail to show that
the Tolling Program has an economically protectionist effect); see also Clover Leaf Creamery, 449
U.S. at 473 (finding statute constitutional under the Pike test where “there is no reason to suspect
that the gainers will be [in-state] firms, or the losers out-of-state firms”).


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[the authority to regulate a field of commerce] to the states, state regulations within the scope of

that delegation are invulnerable to constitutional challenge.”).      “The only limitation is that

Congress must be clear about its intentions.” Am. Trucking Ass’ns, Inc. v. N.Y. State Thruway

Auth. (“N.Y. State Thruway I”), 238 F. Supp. 3d 527, 533 (S.D.N.Y. 2017), aff’d, Am. Trucking

Ass’ns, Inc. v. N.Y. State Thruway Auth. (“N.Y. State Thruway II”), 886 F.3d 238 (2d Cir. 2018).

“[F]or a state regulation to be removed from the reach of the dormant Commerce Clause,

congressional intent must be unmistakably clear.” S.-Cent. Timber Dev., Inc. v. Wunnicke, 467

U.S. 82, 91 (1984).

       The Supreme Court has explained that “[t]he requirement that Congress affirmatively

contemplate otherwise invalid state legislation is mandated by the policies underlying dormant

Commerce Clause doctrine” and is not “merely a wooden formalism.” Id. at 91–92. “The

Commerce Clause was designed ‘to avoid the tendencies toward economic Balkanization that had

plagued relations among the Colonies and later among the States under the Articles of

Confederation.’” Id. at 92 (quoting Hughes v. Oklahoma, 441 U.S. 322, 325 (1979)); see also

Baldwin v. G.A.F. Seelig, Inc., 294 U.S. 511, 523 (1935) (invalidating protectionist New York law

as unconstitutional because the Constitution “was framed upon the theory that the peoples of the

several states must sink or swim together, and that in the long run prosperity and salvation are in

union and not division”). Given the states’ self-interested motivation to enact economically

protectionist policies, state legislative processes are unlikely to provide the “political restraints

normally exerted when interests within the state are affected.” S. Pac. Co. v. State of Ariz. ex rel.

Sullivan, 325 U.S. 761, 768 n.2 (1945). However, when Congress acts—either in its own right or

to authorize certain state action—“all segments of the country are represented, and there is

significantly less danger that one State will be in a position to exploit others.” S.-Cent. Timber,




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467 U.S. at 92. “Furthermore, if a State is in such a position, the decision to allow it is a collective

one . . . and reduces significantly the risk that unrepresented interests will be adversely affected by

restraints on commerce.” Id.

        Defendant Winkelhake and the NYAG argue that the Tolling Program was undertaken

within Congress’ delegation of authority because the Tolling Program “may proceed only if the

New York State and New York City Departments of Transportation and Triborough enter into a

cooperative agreement with the Federal Highway Administration pursuant to the Value Pricing

Pilot Program established by Congress, 23 U.S.C. § 149.” Mulgrew, Dkt. No. 103 at 5–6, Dkt.

No. 123 at 5; Chan, Dkt. No. 116 at 5–6, Dkt. No. 135 at 5; Trucking, Dkt. No. 61 at 5–6; see also

Trucking, Dkt. No. 81-2 (signed cooperative agreement pursuant to the VPPP).

        The VPPP directs the Secretary of Transportation to “establish and implement a congestion

mitigation and air quality improvement program” as outlined by the statute. 23 U.S.C. § 149(a).

The VPPP further permits states to obligate certain federal funds to the congestion mitigation and

air quality improvement program in accordance with certain requirements. 23 U.S.C. § 149(b)–

(d). It uses general language that neither authorizes the structure of the Tolling Program at issue

here nor unmistakably authorizes states to pursue any action intended to mitigate congestion or

improve air quality without regard for interstate commerce. To be certain, Congress contemplated

that some projects funded through the VPPP would involve tolls. In 2005, Congress passed the

Safe, Accountable, Flexible, Efficient Transportation Equity Act: A Legacy for Users

(“SAFETEA-LU”) which provided funds for the VPPP and set aside one quarter of those funds

for congestion pricing pilot projects that do not involve highway tolls—thus affirming that the

remaining portion could support toll-based projects. See Pub. L. No. 109–59 § 1604, 119 Stat.

1144 (2005).




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       The statute does not indicate that Congress unmistakably intended to authorize every toll-

based project funded by the VPPP notwithstanding the Dormant Commerce Clause. The fact that

a state policy “appears to be consistent with federal policy—or even that state policy furthers the

goals . . . that Congress had in mind—is an insufficient indicium of congressional intent.” S.-Cent.

Timber, 467 U.S. at 92; see Piazza’s Seafood World, LLC v. Odom, 448 F.3d 744, 751 (5th Cir.

2006). Congress must “affirmatively contemplate otherwise invalid state legislation.” S.-Cent.

Timber, 467 U.S. at 91; accord Tri-M Grp., LLC v. Sharp, 638 F.3d 406, 430 (3d Cir. 2011)

(citation omitted); see, e.g., Ne. Bancorp, Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 740 F.2d

203, 207 (2d Cir. 1984) (federal law provided that “no application by a bank holding company to

acquire a bank located in another state could be approved by the [Federal Reserve] Board unless

the state in which such bank was located had specifically authorized such acquisition by statute”),

aff’d, 472 U.S. 159; N.Y. State Thruway I, 238 F. Supp. 3d at 533 (federal law “specifically

provides that the New York State Thruway Authority (identified by name) is authorized to use toll

revenues for ‘any transportation project eligible for assistance under title 23’ or for the ‘costs

associated with transportation facilities’ under its jurisdiction”); Tarrant Reg’l Water Dist. v.

Herrmann, 656 F.3d 1222, 1237 (10th Cir. 2011) (Congressionally-ratified compact regarding

interstate waterway included broad language that “[e]ach state may freely administer water rights

and uses in accordance with the laws of that state”), aff’d, 569 U.S. 614 (2013). Congress’

approval of tolling programs for the reduction of congestion does not rise to the level of affirmative

authorization for discriminatory economic policy and neither Winkelhake nor the NYAG point to

any language in the VPPP that expressly authorizes any state act that would otherwise violate the

Dormant Commerce Clause.




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       The fact that the FHWA has approved the Phase-In Tolling Structure, Trucking, Dkt.

No. 81-2, does not render the Tolling Program invulnerable to all Dormant Commerce Clause

challenges. “Only ‘Congress may authorize the States to engage in regulation that the Commerce

Clause would otherwise forbid.’” Tri-M Grp., 638 F.3d at 432 (quoting Maine v. Taylor, 477 U.S.

131, 138 (1986)). The VPPP “did not explicitly endow the [Federal Highway Administration]

with authority to permit discrimination against interstate commerce.” Id. The Tolling Program in

its entirety is therefore not insulated from challenge pursuant to the Dormant Commerce Clause.

       Congress did, however, expressly authorize states to allocate toll revenue toward other

government services. The Intermodal Surface Transportation Efficiency Act (“ISTEA”) provides

that “[a] public authority with jurisdiction over a toll facility shall ensure that all toll revenues

received from operation of the toll facility are used only for” five potential allocations: (1) debt

servicing, (2) repayment of any private person’s financing of the project including a reasonable

return on investment, (3) improvement, operation, and maintenance of the toll facility,

(4) payments owed under a public-private partnership agreement, and (5) “if the public authority

certifies annually that the tolled facility is being adequately maintained, any other purpose for

which Federal funds may be obligated by a State under this title.” 23 U.S.C. § 129(a)(3)(A). As

other courts have observed, pursuant to the fifth permissible allocation, “ISTEA contemplated that

tolls exceeding the amount needed to fund a toll road would be collected and spent on non-toll

road projects.” Owner Operator Indep. Drivers Ass’n, Inc. v. Penn. Tpk. Comm’n, 934 F.3d 283,

292 (3d Cir. 2019); N.Y. State Thruway II, 886 F.3d at 246 (“Congress plainly authorized the

Thruway Authority to use at least some excess highway toll revenues for [other] purposes.”). 11



11
  Although ISTEA requires that the public authority “certif[y] annually that the toll facility is
being adequately maintained” before any toll revenues may be used for non-toll road purposes,



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        Because ISTEA provides for the use of excess tolling revenues, it is Congress’

unmistakably clear intent that a public authority be permitted to collect funds that exceed a toll

road’s costs and spend those funds on non-toll road projects. See Owner Operator, 934 F.3d at

293 (citing S.-Cent. Timber, 467 U.S. at 91); N.Y. State Thruway II, 886 F.3d at 246–47. Congress

thus statutorily displaced the second prong of the Evansville/Northwest Airlines test (i.e., excessive

charges) for toll facilities such as the Tolling Program. The excessiveness prong is aimed at “the

invalidation of state policies that impose an undue burden on interstate commerce—inasmuch as

[it] require[s] the court to consider whether the fee supplies a benefit to users of a facility that is at

least roughly commensurate with the burden it imposes on them.” Selevan I, 584 F.3d at 97. By

permitting tolling revenues to exceed costs, Congress has indicated that the burden on interstate

commerce imposed by a toll may exceed the precise benefit the toll conveys to the facility’s users.

See R.I. Turnpike, 2024 WL 5001908, at *3 (“[N]o toll for an ISTEA-authorized [project] can be

stricken merely because it exceeds the benefits conferred on the users, because Congress

‘contemplated that tolls exceeding the amount needed to fund a toll road would be collected and

spent on non-toll road projects.’” (quoting Owner Operator, 934 F.3d at 293)).

        The Court therefore need not analyze for Dormant Commerce Clause purposes whether the

Tolling Program represents an excessive charge in relation with the benefits conferred. 12 The two



23 U.S.C. § 129(a)(3)(A)(v), at this time the Court need not inquire whether the Municipal
Defendants have submitted the annual certifications. “[T]he presence or absence of the annual
certification does not otherwise affect Congress’s ‘unambiguous intent to authorize [a state
authority] to allocate excess toll funds’ to non-toll road projects.” Owner Operator, 934 F.3d at
294 (quoting N.Y. State Thruway II, 886 F.3d at 247); see also id. (holding that the defendants’
“failure to comply with this condition, however, does not diminish the fact that Congress has
legislated in the area of interstate commerce at issue and blessed the use of tolls for non-toll road
purposes”).
12
   Even if Congress had not authorized excessive tolls, Plaintiffs fail to show that the Tolling
Program violates the Dormant Commerce Clause’s prohibition on excessive charges for reasons



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remaining inquiries relevant to Plaintiffs’ Dormant Commerce Clause claims are: (1) whether the

toll represents a fair approximation of use and (2) whether the Tolling Program discriminates

against interstate commerce. The Court reviews each in turn.

                       c.      Fair Approximation

       The fair approximation test inquires whether the toll at issue is based on some fair

approximation of the toll payers’ use of the facilities. See Nw. Airlines, 510 U.S at 369. It is tied

to the concept that “[w]hen the measure of a tax bears no relationship to the taxpayers’ presence

or activities in a State, a court may properly conclude . . . that the State is imposing an undue

burden on interstate commerce.” Am. Trucking Ass’ns., Inc. v. Scheiner, 483 U.S. 266, 291 (1987)

(quoting Commonwealth Edison, 453 U.S. at 629); see also Massachusetts v. United States, 435

U.S. 444, 467 (1978) (The “requirement that the measure be reasonable and nondiscriminatory

precludes the adoption of a charge that will unduly burden state activities.”). The standard is a

lenient one, and public facility fees will be found to be fairly approximated so long as they are not

“wholly unreasonable.” Evansville, 405 U.S. at 718; see R.I. Turnpike, 2024 WL 5001908, at *11–

12.

       The Second Circuit has instructed district courts considering fair approximation of use to

assess whether the “policy at issue reflects rational distinctions among different classes of’

motorists using the [roadway].” Selevan I, 584 F.3d at 98 (citation omitted); see Selevan v. N.Y.

Thruway Auth. (“Selevan II”), 711 F.3d 253, 259 (2d Cir. 2013) (“To determine whether the Grand

Island Bridge toll policy is based on some fair approximation of use of the facilities we directed

the District Court to consider whether the . . . policy at issue reflects rational distinctions among


discussed elsewhere in this Opinion. See infra § IV.2. (holding that Plaintiffs have not shown a
likelihood of success on the merits of their claim that the Tolling Program violates the right to
travel on the ground that it represents an excessive charge under the Evansville/Northwest Airlines
test).


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different classes of motorists using the Bridge, so that each user, on the whole, pays some

approximation of his or her fair share of the state’s cost for maintaining the Bridge.” (citations

omitted)). The fair approximation test “does not require a ‘perfect fit’; ‘it simply requires

reasonableness.’” Janes I, 977 F. Supp. 2d at 339 (quoting Selevan I, 584 F.3d at 98); see also

United States v. Sperry Corp., 493 U.S. 52, 60 (1989) (noting that the Supreme Court “has never

held that the amount of a user fee must be precisely calibrated to the use that a party makes of

Government services . . . [a]ll that we have required is that the user fee be a ‘fair approximation of

the cost of benefits supplied.’” (quoting Massachusetts, 435 U.S. at 463 & n.19)); Selevan I., 711

F.3d at 259 (“Even assuming arguendo that some degree of inequity exists in the very small

difference between the [toll rates], no evidence in the record suggests that the District Court erred

in finding that plaintiffs are paying ‘some approximation’ of their fair share of the costs of using

the Grand Island Bridge.”).

       The Supreme Court has sustained tolls that rationally distinguish between different classes

of motorists “based on a variety of measures of actual use, including: horsepower, number and

capacity of vehicles, mileage within the State, gross-ton mileage, carrying capacity, and

manufacturer’s rated capacity and weight of trailers.” Evansville, 405 U.S. at 715 (collecting

cases). However, it has “invalidated as wholly unrelated to road use a toll based on the carrier’s

seating capacity, and the amount of gasoline over 20 gallons in the carrier’s gas tank.” Id. The

Supreme Court has also invalidated as unconstitutional a Pennsylvanian vehicle tax where “the

amount of . . . taxes owed by a trucker does not vary directly with miles traveled or with some

other proxy for value obtained from the State.” Scheiner, 483 U.S. at 291.

       TANY contends that the Tolling Program’s charges for different classes of vehicles are not

rational distinctions because the Tolling Program charges trucks a high toll per entry into the




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Manhattan CBD whereas certain other vehicle classes are charged lower amounts and only once

per day. Trucking, Dkt. No. 4 at 16–19, Dkt. No. 89 at 6–9.

       The Tolling Program readily passes the fair approximation test. There are rational reasons

for the distinctions it draws. The “use” at issue here is not simply wear and tear upon the roads,

but the physical space the vehicle takes up as well as the noise and air pollution it puts out during

transit, parking, and onloading or offloading. The TMRB has found that “[a]lthough trucks make

up only 4% of vehicles in the CBD, they have an outsized impact on congestion, because of their

large size and large turning radii, their parking patterns, and the noise and air pollution they cause.”

TMRB Report at 20. TANY does not offer any evidence disputing that finding. The higher toll

on trucks thus rationally reflects this greater use of New York’s transportation infrastructure and

contribution to deleterious environmental outcomes. See id.; DOT 36209, 36879 (discussing

trucks’ disproportionate contribution to noise and air pollution). See Doran v. Mass. Tpk. Auth.,

348 F.3d 315, 320 (1st Cir. 2003) (“‘[S]o long as a State bases its tax on a relevant measure of

actual road use, obviously both interstate and intrastate [drivers] pay according to the facilities in

fact provided by the State,’ and the program places no undue burden on interstate commerce.”

(quoting Scheiner, 483 U.S. at 291)). Where the state chooses to set differential tolls, there need

not be a “disproportionate, or outsized, benefit received by those who pay the higher fee.” Janes

I, 977 F. Supp. 2d at 342.

       The frequency of the truck toll is also rational and permissible. TANY argues that the

“Tolling Program penalizes trucks for needing to make multiple trips in to the [CBD].” Trucking,

Dkt. No 4 at 16–17. But that is a distinction without a difference. Just as a higher fee may be

levied where is it not based on a wholly unreasonable division between classes of vehicle, a more

frequent fee may be imposed pursuant to the same standard. See Angus Partners, 52 F. Supp. 3d




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at 568 (“Nor does the fact that tolls are assessed on a per-trip basis render the toll burden unfair.”);

accord Janes I, 977 F.Supp.2d at 339–40; Doran, 348 F.3d at 319–21. Defendants could have

imposed a “per day” toll on all trucks entering the CBD, assessing the same fee on a truck that

entered once as was assessed on a truck that entered multiple times. But that blunt instrument

arguably would have been unfair to those trucks that entered only once and Defendants could have

rationally concluded that it would not be designed to optimally achieve the statute’s purpose.

Under the Phase-In Tolling Structure, trucks pay an amount tagged to their use of the city’s

transportation system; a truck that enters the CBD multiple times per day contributes to congestion

more than one that does not. And because trucks represent an oversized contribution to congestion,

TMRB Report at 20, charging trucks more for those multiple entries is not a wholly unreasonable

distinction between vehicle classes. The frequency of the toll does not have any impact on

interstate commerce beyond the higher aggregate cost it requires a re-entering truck to pay. There

is no constitutional significance between a toll charged multiple times per day and a higher toll

charged once a day with a rebate for those who enter only once. The impact to interstate commerce

would be the same under both tolls.

        TANY compares the tolling frequency to the tolling structure at issue in Rhode Island

Turnpike and Bridge Authority, in which the First Circuit held that “a usage-based toll that is

capped after a certain number of gantries are passed, and then reset daily” was unconstitutional

because the caps were “only sometimes reachable, more likely by in-state tractor-trailers than by

out-of-state tractor-trailers.” R.I. Turnpike, 2024 WL 5001908, at *8; see Trucking, Dkt. No. 94

at 3. However, the First Circuit based its holding of unconstitutionality on the fact that “39.9% of

the reductions in what the tolls would have been but for the caps went to Rhode Island vehicles

even though they accounted for only 18.6% of the transactions” meaning that “the privilege of toll




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capping is considerably more valuable for intrastate carriers than it is for interstate carriers.” R.I.

Turnpike, 2024 WL 5001908, at *9. Here, by contrast, TANY submits no evidence that per-entry

tolls disproportionately benefit intrastate carriers compared to interstate carriers and there is no

reason to believe that they would. Indeed, it is quite possible that out-of-state trucking businesses

will benefit relative to in-state trucking businesses by paying a lower effective rate per visit than

their in-state peers because the former’s trucks will pass through the CBD only once or twice per

day en route to an out-of-state destination while the trucks doing primarily an in-state business will

enter the CBD multiple times a day.

        Multiple vehicle classes other than trucks are to be charged per entry or per trip. Buses are

to be charged per entry, while taxis and FHVs are to be charged per trip (for example, a taxi

dropping off a rider in the CBD, picking up and dropping off a second rider within the CBD, and

then transporting a third rider out of the CBD will incur three charges despite only entering the

CBD once). Only passenger vehicles and motorcycles are to be charged once per day. In total,

65% of current vehicles in the CBD are subject to per-entry or per-trip charges. TMRB Report at

11. However, even if trucks alone were subject to per-entry charges, that would not render the

Phase-In Tolling Structure unconstitutional. See Am. Trucking Ass’ns, Inc. v. Mich. Pub. Serv.

Comm’n, 545 U.S. 429, 437 (2005) (sustaining tax as constitutional where the court “lack[ed]

convincing evidence showing that the tax deters, or for that matter discriminates against, interstate

activities”).

        TANY’s argument comes down to the claim that the Tolling Program does not satisfy the

fair approximation test because “trucks make up a mere 4% of all traffic in the [CBD]” and have

no choice but to enter and reenter during peak hours. Trucking, Dkt. No. 4 at 18–19. Contrary to

TANY’s argument, however, the Second Circuit has already held that percentage use is not the




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lynchpin when determining whether differing rates represent a fair approximation of use for

different classes of motorists. See Selevan I, 584 F.3d at 97. Vehicles of different classes each

using the tolled system the identical number of times can impose disproportionate costs and derive

disparate benefits from that system. A municipality can rationally take those differences into

account.

       A municipality may also offer policy-based exemptions or discounts. In Selevan II, the

Second Circuit affirmed the district court’s holding that a bridge toll that levied a lower fare on

residents of the connected island, a higher fare on commuters, and an even higher fare on general

passengers was constitutional. See Selevan II, 711 F.3d at 259. Although residents crossing the

bridge use the facilities just as much as commuters and general passengers do, the Second Circuit

held that legislators are permitted to adopt exceptions or impose lower tolls on certain users for

policy reasons. See id. (“[T]he Northwest Airlines test permits the state to make reasonable

exceptions to its fee schedule, so long as the fee schedule, on the whole, reflects at least a fair, if

imperfect, approximation of the use of facilities for whose benefit they are imposed.” (citation

omitted)); see also R.I. Turnpike, 2024 WL 5001908, at *14–15. The district court in Selevan held

that even if the preferential rate afforded to residents “may not be a precise quantification of the

toll bridge-imposed isolation that confronts beneficiaries of the resident rate each time they desire

to leave Grand Island, or the residuary effects of nearly 25 million non-resident travelers bisecting

their island annually, it reflects a ‘rational distinction[] among different classes of’ motorists.’”

Selevan v. N.Y. Thruway Auth., 2011 WL 5974988, at *5 (N.D.N.Y. Nov. 28, 2011) (quoting

Selevan I, 584 F.3d at 97). The Second Circuit affirmed, noting that “[w]hile the usage of the

Grand Island Bridge might be one rational basis upon which to draw ‘distinctions among different

classes of motorists,’ it need not be the only one.” Selevan II, 711 F.3d at 259 n.5. It thus found




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the considerations taken into account by the lower court “to be ‘not [a] wholly unreasonable’ basis

upon which to draw a distinction between Grand Island residents, who, because of the small size

and isolation of Grand Island, may need to use the bridge and pay the toll several times a day, and

other motorists using the bridge.” Id. at 259 (quoting Evansville, 405 U.S. at 718)).

       Similarly, in Janes I, a court in this District held that toll discounts given to “people living

in locations with limited transportation options other than the facility in question” do not render

the toll unconstitutional because “under the Dormant Commerce Clause, it is reasonable, and

consistent with the requirement of a fair approximation of usage, to enact a differential toll policy

where doing so creates incentives for individuals and families to live in areas that are underserved

by mass transit and are in locations that are at the edge of the rest of the city, and alleviates the

burdens on frequent users.” 977 F. Supp. 2d at 340 (citation omitted).

       In their arguments in support of a preliminary injunction, Plaintiffs cited the holding in Am.

Trucking Associations, Inc. v. Alviti that a trucks-only bridge toll was not a fair approximation of

use and was thus unconstitutional. 630 F. Supp. 3d 357 (D.R.I. 2022). In Alviti, the district court

found after a trial that the consumption-based methodology the state used to calculate how large

trucks degrade the structural integrity of bridges was heavily flawed. See id. at 384. Furthermore,

even if the state’s methodology was accurate, the district court concluded that it would not have

justified making heavy trucks responsible for 100% of the toll because other vehicles were

responsible for non-negligible degradation of the bridge and yet irrationally exempted from the

toll. Id. However, after the briefing on Plaintiffs’ motions for a preliminary injunction here

concluded, the First Circuit reversed the district court’s holding. See R.I. Turnpike, 2024 WL

5001908.    Plaintiffs’ reliance on the district court decision thus is not persuasive and, to the

contrary, the Circuit’s decision is instructive. The First Circuit stated that “[a]t the most basic




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level, it does not strike us as wholly unreasonable to presume that bigger trucks will cause more

damage to bridges, and smaller trucks, less.” Id. at *12–14. The First Circuit also found no

constitutional issue with the fact that only trucks were charged while other vehicles that

contributed to bridge degradation were permitted to use the bridge without payment. See id. at

*14–15 & nn. 15–16. The Circuit pointed to Evansville, in which the Supreme Court sustained a

flat fee charged to commercial airline passengers to fund airport maintenance even though no fee

was charged to the majority of the airport’s users. See id. (explaining that the fee at issue in

Evansville “did not apply to noncommercial passengers, even though those passengers also used

the airport’s runways, navigational facilities, and aviation-related services” and “[t]he fee also did

not apply to commercial passengers on nonscheduled flights, commercial passengers on light

aircraft, military passengers, or nonpassenger airport users (e.g., people dining at airport

restaurants)”); Evansville, 405 U.S. at 717–18 & nn. 7–11 (“We recognize that in imposing a fee

on the boarding of commercial flights, both the Indiana and New Hampshire measures exempt in

whole or part a majority of the actual number of persons who use facilities of the airports

involved.”). Accordingly, the First Circuit held that Evansville made clear “that a public authority

may assess a fee on only the most significant group of facility users, even if other nonnegligible

users of the facility are exempt, at least as long as its justification for doing so is not wholly

unreasonable” and further suggested that “the state may exempt nonnegligible users for

administrability reasons.” R.I. Turnpike, 2024 WL 5001908, at *15. Not every facility user need

pay their fair share—or anything at all—so long as the distinctions made between the users are

rational. See id.; Selevan I, 584 F.3d at 98; Selevan II, 711 F.3d at 259.

       Here too, Plaintiffs have “not demonstrated that, as a matter of logic or fact, adopting a

differential toll policy for these purposes is unreasonable.” Janes I, 977 F. Supp. 2d at 340.




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Plaintiffs do not provide any evidence that the TMRB’s findings are so inaccurate as to provide a

wholly unreasonable basis for the differential toll rates or for the exemptions for certain vehicles

such as public buses, emergency vehicles and paratransit vehicles. See generally TMRB Report.

Indeed, Plaintiffs do not provide any evidence at all. As stated, the Phase-In Tolling Structure

subjects 65% of current vehicles in the CBD to per-entry or per-trip charges. Id. at 11. Although

TANY argues that taxis and FHVS, which make up a combined 52% of all traffic in the CBD, are

fully exempt from the Tolling Program, Trucking, Dkt. No. 4 at 4, 17, that is not so. The incidence

of the toll will not fall directly on drivers of those vehicle, but it will be assessed on passengers,

who will be charged a fee per trip such that they still are paying for their use of the facility. Id. at

4 n.3. The TMRB based this pass-through model on the fact that “[u]ltimately, it is passengers—

not drivers—who make the choice to add to vehicle congestion in the CBD . . . [a]nd it is

passengers whose travel patterns must be influenced to fight congestion in the CBD.” TMRB

Report at 23. That is a rational distinction. The TMRB additionally based the pass-through model

on administrative concerns. See id. at 22–23. That too is a reasonable basis for the distinction.

See Massachusetts, 435 U.S. at 466 (holding that agencies may take into account the administrative

burden of implementing a more precisely calibrated user fee). While legislators may assign lower

fares or exemptions for rational policy-based reasons, TANY cites no case indicating that the New

York Legislature was obligated to give trucks an exemption or discounted rate either because they

make multiple trips per day or because they have fewer alternative routes available.

        Plaintiffs in Mulgrew and Chan argue that the Tolling Program’s fee schedule is not a fair

approximation of actual use because Defendants “worked backwards from the revenue number

they hoped to hit”—$15 billion—and constructed the fee schedule accordingly. Mulgrew, Dkt.

No. 118 at 10; Chan, Dkt. No. 130 at 10. However, even if those Plaintiffs object to the method




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by which Defendants derived the hoped-for total revenue, they do not argue that the formula used

to apportion the tolls is unrelated to their use of the CBD. See Jorling v. U.S. Dep’t of Energy,

218 F.3d 96, 102 (2d Cir. 2000) (noting that the fair approximation test “tilt[s] toward use, rather

than cost”). Nor do they offer any evidence that that the $15 billion figure is an incorrect estimate

of costs.

        Plaintiffs in Mulgrew and Chan also argue that the cost of New York City’s public transit

network cannot inform whether the toll is a fair approximation of plaintiffs’ use of the roads in the

CBD which are not operated by the MTA. Mulgrew, Dkt. No. 118 at 10–11; Chan, Dkt. No. 130

at 10–11. That argument, however, is based on the flawed assumption that the appropriate measure

of fairness relates to the use of the transit system. As discussed above, the public transit facilities

and roads comprise a single integrated transportation system. Use of one part of the system taxes

or can benefit other parts of the system. Accordingly, tolls levied on one part of the integrated

transportation system may be used to support other components of the system. See Molinari, 838

F. Supp. at 725 (“[I]f a bridge toll generates more revenue than necessary to provide a fair profit

or rate of return, the toll may not be challenged successfully if it is used to support a single

integrated transportation system in which the successful operation of the bridge is dependent in

whole or part on the operation of the other related facilities.”); accord Auto. Club., 887 F.2d at

421–22; Angus Partners, 52 F. Supp. 3d at 567–68. The premise of the Tolling Program and the

evidence that supports it demonstrates that the improvements to the transit system from the toll

will provide benefits to motorists who use the roadways. “Simply stated, it is just and reasonable

for those who use a bridge to pay a toll that may be used to subsidize the system-wide operation

of other transit facilities from which they benefit.” Molinari, 838 F.Supp. at 725.




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                       d.      Discrimination Against Interstate Commerce

       The Supreme Court has explained that the “central rationale” for the Dormant Commerce

Clause “is to prohibit state or municipal laws whose object is local economic protectionism, laws

that would excite those jealousies and retaliatory measures the Constitution was designed to

prevent.” C & A Carbone, Inc. v. Town of Clarkstown, N.Y., 511 U.S. 383, 390 (1994); see also

Nat’l Pork Producers, 598 U.S. at 369 (stating that the “antidiscrimination principles lies at the

‘very core’ of [the Court’s] dormant Commerce Clause jurisprudence”). “[S]tate laws offend the

Commerce Clause when they seek to ‘build up . . . domestic commerce’ through ‘burdens upon

the industry and business of other States.’” Nat’l Pork Producers, 598 U.S. at 369 (quoting Guy

v. Baltimore, 100 U.S. 434, 443 (1880)). The Dormant Commerce Clause does not, however,

displace a state’s ability to tax “purely local activity.” Mich. Pub. Serv., 545 U.S. at 437.

       “Accordingly, a state regulation ‘discriminates’ against interstate commerce only if it

‘impose[s] commercial barriers or discriminate[s] against an article of commerce by reason of its

origin or destination out of State.’” Selevan I, 584 F.3d at 95 (quoting C & A Carbone, 511 U.S.

at 390). The Second Circuit has instructed that a plaintiff bringing a claim for discrimination in

violation of the Commerce Clause, must “identify an[ ] in-state commercial interest that is favored,

directly or indirectly, by the challenged statutes at the expense of out-of-state competitors.” Id.

(quoting Grand River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 169 (2d Cir. 2005)). “Both

an in-state interest and an out-of-state competitor are necessary because ‘laws that draw

distinctions between entities that are not competitors do not “discriminate” for purposes of the

dormant Commerce Clause.’” Id. (quoting Town of Southold v. Town of E. Hampton, 477 F.3d

38, 49 (2d Cir. 2007)); see also Nat’l Pork Producers, 598 U.S. at 371–76 (rejecting argument that

the Dormant Commerce Clause forbids enforcement of state laws that have the “practical effect of

controlling commerce outside the State, even when those laws do not purposely discriminate


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against out-of-state economic interests” (punctuation omitted)). “Preventing state officials from

enforcing a democratically adopted state law in the name of the dormant Commerce Clause is a

matter of ‘extreme delicacy,’ something courts should do only ‘where the infraction is clear.’”

Nat’l Pork Producers, 598 U.S. at 390 (quoting Conway v. Taylor’s Executor, 66 U.S. 603 (1862)).

        Plaintiffs in Mulgrew and Chan argue that the Tolling Program discriminates against

interstate commerce because it fails the “internal consistency” test and because it unevenly

distributes the burden to out-of-state payers. Mulgrew, Dkt. No. 118 at 17–20; Chan, Dkt. No. 130

at 17–20. 13

        “To pass the ‘internal consistency’ test, a state tax must be of a kind that, ‘if applied by

every jurisdiction, there would be no impermissible interference with free trade.’” Scheiner, 483




13
   At the preliminary injunction hearing, Plaintiffs also argued that the tax credits given to low-
income New Yorkers are facially discriminatory. Tr. at 21–22. Plaintiffs did not make that
argument in their memoranda of law prior to the hearing. See Chan, Dkt. No. 130 at 18 (noting
that the Municipal Defendants contend that the tax credit is insufficient to show discrimination,
but not addressing that argument); Mulgrew, Dkt. No. 118 at 18 (same); see also Chan Dkt.
No. 142 at 4 (noting that the Municipal Defendants “argue only that the toll applies equally to all
and that there are tax credits” but not addressing the impact of the tax credits on their Commerce
Clause claims); Mulgrew, Dkt. No. 130 at 4 (same). “It is well established that ‘[i]ssues mentioned
in a perfunctory manner, unaccompanied by some effort at developed argumentation, are deemed
waived.’” Lima v. Hatsuhana of USA, Inc., 2014 WL 177412, at *1 (S.D.N.Y. Jan. 16, 2014)
(quoting Lyn v. Inc. Vill. of Hempstead, 2007 WL 1876502, at *16 n.13 (E.D.N.Y. June 28, 2007)).
Even if the argument was not waived, the tax credits do not show facial discrimination against out-
of-state residents. The tax credit extends only to a small subset of New York residents: low-income
CBD residents. See N.Y. Tax Law § 606(jjj) (the credit is available to “a resident individual whose
primary residence is located in the central business district . . . and whose New York adjusted gross
income for the taxable year is less than sixty thousand dollars”). In Selevan II, the Second Circuit
affirmed the constitutionality of a residency-based discount designed to alleviate the toll’s
economic burden on motorists forced to pay the toll to drive out of their residential area. See
Selevan II, 711 F.3d at 259; see also Janes II, 774 F.3d at 1054 (affirming residency-based toll
discount because “plaintiffs have presented no persuasive evidence showing that the discounts at
issue here are materially different from those in Selevan”).


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U.S. at 284 (quoting Armco Inc. v. Hardesty, 467 U.S. 638, 644 (1984)). 14 Plaintiffs liken the

instant case to Scheiner, in which the Supreme Court held that two Pennsylvanian flat taxes

violated the internal consistency test. Mulgrew, Dkt. No. 118 at 19–20 (citing Scheiner, 483 U.S.

at 282–87); Chan, Dkt. No. 130 at 19–20 (citing same). The taxes at issue in Scheiner were: (1) a

fee charged to trucks over a certain weight that exempted trucks registered in Pennsylvania (on the

basis that the fee was included in the registration fee required of local truckers); and (2) a per-axle

charge on trucks that corresponded with a reduction in the registration fee for local trucks. See

Scheiner, 483 U.S. at 273–75. The Supreme Court held that both taxes, if replicated by other

states, “can obviously divide and disrupt the market for interstate transportation services” and that

they “favor[] in-state business over out-of-state business for no other reason than the location of

its business.” Id. at 286. However, the Court also stated that “even if more than one jurisdiction

applies a charge to participants in interstate commerce, the Commerce Clause may be satisfied if

the revenue measures maintain state boundaries as a neutral factor in economic decisionmaking.”

Id. at 283. Thus, the Scheiner Court sustained Pennsylvania’s fuel consumption taxes which it

found were “simply payments for traveling a certain distance that happens to be within

Pennsylvania.” Id.

       The Municipal Defendants argue persuasively that the Tolling Program is more akin to an

acceptable state-neutral user fee than a discriminatory flat tax. Mulgrew, Dkt. No. 123 at 8–9, Dkt.

No. 125 at 16 n.16; Chan, Dkt. No. 135 at 8–9, Dkt. No. 137 at 16 n.16. The tax is not dependent

on the motorist’s residence or the vehicle’s registration or starting point. It is irrelevant whether



14
  As Justice Scalia has noted, the internal consistency test “bears some resemblance to Kant’s first
formulation of the categorical imperative: ‘Act only according to that maxim whereby you can at
the same time will that it should become a universal law’ without contradiction.” Comptroller of
Treasury of Md. v. Wynne, 575 U.S. 542, 574–75 (2015) (Scalia, J., dissenting) (quoting Immanuel
Kant, Grounding for the Metaphysics of Morals 30 (J. Ellington transl. 3d ed. 1993)).


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the motorist starts in Westchester or Long Island or, to the contrary, in Connecticut or New Jersey.

In-state and out-of-state drivers are charged the same toll. Plaintiffs introduce no evidence of an

in-state commercial interest that is favored over an out-of-state one. See Janes I, 977 F. Supp. 2d

at 337; Janes II, 774 F.3d at 1055. It is true that if the Tolling Program was replicated by every

state, “an interstate truck would have to pay fees totaling several hundred dollars, or even several

thousand dollars,” but that high expense is not necessarily synonymous with discrimination. Mich.

Pub. Serv., 545 U.S. at 438. But that is of no constitutional moment. An interstate truck would

be exposed to those fees “only because it engages in local business in all those States.” Id.; see

also Colonial Pipeline Co. v. Traigle, 421 U.S. 100, 108 (1975) (“It [i]s not the purpose of the

commerce clause to relieve those engaged in interstate commerce from their just share of state tax

burden even though it increases the cost of doing the business.” (citation omitted)); Okla. Tax

Comm’n v. Jefferson Lines, Inc., 514 U.S. 175, 187–88 (1995) (“[T]he Commerce Clause does not

forbid the actual assessment of a succession of taxes by different States on distinct events as the

same tangible object flows along.”). That some individuals who live out of state may have to drive

into the CBD while some New York residents may have other transportation options is insufficient

to show discrimination absent a showing that the toll will actually burden the out-of-state drivers’

ability to conduct interstate commerce. 15 See Selevan II, 711 F.3d at 258 (holding that generally

applied toll is a “minor restriction on travel” and does not discriminate against interstate commerce



15
   Plaintiffs acknowledge that not all New York residents can avoid driving into, out of, or through
the CBD. See Chan, Dkt. No. 130 at 15 (stating that Plaintiff Chan lives in Battery Park City in
New York and has a child with disabilities and related serious health issues that make
transportation outside the neighborhood “implausible without a car”). Nor is it necessarily true
that non-residents lack transit access. DOT 36512–21 (reviewing transit options that offer entry
into the CBD including from New Jersey and Connecticut). Furthermore, the final EA noted that
“[t]he ease of transit access within the Manhattan CBD allows the subset of car commuters to the
Manhattan CBD who would be discouraged by toll costs and do not have transit access near their
homes, to instead drive to a transit station and complete their commute by transit.” DOT 336739.


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even where certain plaintiff had to use the tolled facilities in the course of commuting to work);

Janes I, 977 F. Supp. 2d at 337 (“To be sure, some plaintiffs here require use of the bridges to

commute to work from out-of-state, and pay the non-discounted rate. But, as Selevan teaches, that

fact is insufficient to show disadvantage to an out-of-state interest.” (citing Selevan II, 71 F.3d at

258, 261 n.8)). The levy itself is on purely local conduct and the fact that it may impact conduct

outside the state (i.e. the mode of travel out-of-state commuters choose to utilize) does not render

the toll unconstitutional. See Nat’l Pork Producers, 598 U.S. at 371–76. Plaintiffs advance no

evidence showing that the tolls will actually deter or burden interstate commerce.

        Plaintiffs in Mulgrew and Chan argue that “differential allocation of the burden and benefit

of a tolling scheme, even one that is facially neutral, can be discriminatory if out-of-state payers

are burdened more than in-state payers.” Mulgrew, Dkt. No. 118 at 19; Chan, Dkt. No. 130 at 19.

The proposition is indisputably correct but is inapplicable on the record here. Plaintiffs again cite

to Scheiner, in which the Supreme Court held that the flat tax structure was discriminatory because

“the cost per mile of each of the flat taxes is approximately five times as high for out-of-state

vehicles as for local vehicles.” 483 U.S. at 276. Plaintiffs falsely argue that “even if in-state and

out-of-state commuters pay the same toll at the entrances to the CBD, out-of-state commuters

receive none of the tolls’ benefit, sums where are to be spent entirely on in-state infrastructure . . .

while diverting pollution into their communities.” Mulgrew, Dkt. No. 118 at 20; Chan, Dkt.

No. 130 at 20. However, it simply is not true either that out-of-state motorists receive no benefit

from the toll or that the benefit conveyed to in-state motorists is different from that enjoyed by

out-of-state motorists. All drivers, regardless of their state-of-residence or trip origin, will benefit

equally from the reduced congestion, saving time otherwise spent in traffic, improving travel-time

reliability, and reducing the potential for auto collisions. DOT 36626–27, 36763. And they will




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benefit precisely because of the funding provided to the public transportation system. Moreover,

although some locations both inside and outside of New York state will see increased traffic, other

locations both inside and outside New York will see reduced traffic. See Tr. at 93 (Plaintiffs stated

that “it is undisputed there will be diversion of traffic to Bergen County and that pollution will

take place there and that is a disproportionate effect to folks who live there.”). Bergen County in

New Jersey is expected to experience the state’s largest increase in vehicle miles traveled with a

1.1% increase in the short term, falling to 0.84% in the longer term. DOT 36828, 36830. But

eleven out of the fourteen New Jersey counties studied are predicted to experience either a decrease

or no change in vehicle miles traveled, with Hudson County experiencing the greatest decrease at

-2.45% in the short term and -1.79 in the long term. Id. And motorists hailing from New York do

not disproportionately benefit from the transit infrastructure spending. See Am. Trucking Ass’ns,

Inc. v. N.Y. State Thruway Auth., 199 F. Supp. 3d 855, 879 (S.D.N.Y. 2016) (spending on Thruway

Authority’s recreational and educational facilities did not benefit toll payers in their capacity as

toll payers because “while they are [driving], Plaintiffs are not engaged in recreational activities”)

(subsequent history omitted). The only benefits New York toll payers enjoy in their capacity as

toll payers are the same ones that toll payers from other states enjoy.

        The facts before the Court indicate that residents and non-residents alike will receive a

variety of benefits that differ in kind, if not necessarily in degree. In-state and out-of-state travelers

who opt to utilize transit options will benefit from the improved capital projects. DOT 36257–59,

37015, 37027 (discussing the need to create a new local, recurring funding source for MTA’s

capital projects). In-state and out-of-state motorists will benefit from reduced congestion because

fewer people will travel to the CBD, and those who do will be incented to take public transportation

because of the improvements to that system. DOT 36917–19. Plaintiffs show no evidence that




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these benefits are more valuable to residents than to non-residents. “The benefits that flow to non-

customers do not diminish the benefits received by those who pay the TBTA tolls.” Angus

Partners, 52 F. Supp. 3d at 570.

       The Plaintiffs repeatedly argue that the Tolling Program is novel. But it is the genius of

our federal system that the New York Legislature is free to enact experimental policies that offer

an assortment of benefits and costs so long as the object of the law is not “local economic

protectionism.” C & A Carbone, 511 U.S. at 390. As the Supreme Court wrote in National Pork

Producers, “[i]n a functioning democracy, policy choices like these usually belong to the people

and their elected representatives.” Nat’l Pork Producers, 598 U.S. at 382 (plurality op.). “They

are entitled to weigh the relevant ‘political and economic’ costs and benefits for themselves, and

‘try novel social and economic experiments’ if they wish.” Id. (quoting Moorman Mfg. Co. v.

Bair, 437 U.S. 267, 279 (1978); New State Ice Co. v. Liebmann, 285 U.S. 262, 311 (1932)

(Brandeis, J., dissenting)); see also Mulgrew, 2024 WL 3251732, at *23 n.21 (“To stay

experimentation in things social and economic is a grave responsibility. . . . It is one of the happy

incidents of the federal system that a single courageous state may, if its citizens choose, serve as a

laboratory; and try novel social and economic experiments without risk to the rest of the country.”

(quoting New State Ice, 285 U.S. at 311 (Brandeis, J., dissenting))). It was upon that theory that

the VPPP was founded. See 23 U.S.C. § 149 (providing support for states’ pilot programs to

explore mechanisms for congestion mitigation and air quality improvement ). Where a state law

impacts out-of-state interests in a deleterious manner, Congress may step in to preempt the

legislation “[u]nder the (wakeful) Commerce Clause.” Nat’l Pork Producers, 598 U.S. at 382–83.

And, where a law violates the Dormant Commerce Clause, it is incumbent upon the courts to step




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in. But Congress has not preempted the Tolling Program and the program does not violate the

Dormant Commerce Clause.

       Plaintiffs have not shown a likelihood of success on the merits as to their Dormant

Commerce Clause claims.

               2.      Right to Travel

       The Supreme Court has recognized that “[t]he constitutional right to travel from one State

to another, and necessarily to use the highways and other instrumentalities of interstate commerce

in doing so, occupies a position fundamental to the concept of our Federal Union.” United States

v. Guest, 383 U.S. 745, 757 (1966). “The textual source of the constitutional right to travel, or,

more precisely, the right of free interstate migration, though, has proved elusive.” Att’y Gen. of

N.Y. v. Soto-Lopez, 476 U.S. 898, 902 (1986). Justices have variously traced the right to the

Privileges and Immunities Clause of Article IV, the Commerce Clause, the Privileges and

Immunities Clause of the Fourteenth Amendment, and the Constitution’s general creation of a

federal structure of government. Id. at 902 & n.2 (collecting cases). Despite the lack of clear

origin, the right “is firmly established and has been repeatedly recognized.” Id. at 903. The right

to travel encompasses (1) “the right of a citizen of one State to enter and to leave another State,”

(2) “the right to be treated as a welcome visitor rather than an unfriendly alien when temporarily

present in the second State,” and (3) “for those travelers who elect to become permanent residents,

the right to be treated like other citizens of that State.” Saenz v. Roe, 526 U.S. 489, 500 (1999).

Although the Supreme Court has not expressly recognized a right to travel intrastate, the Second

Circuit has. See Jeffery v. City of New York, 113 F.4th 176, 191 (2d Cir. 2024) (citing Selevan I,

584 F.3d at 100; Spencer v. Casavilla, 903 F.2d 171, 174 (2d Cir. 1990)).

       “A state law implicates the right to travel when it actually deters such travel, when

impeding travel is its primary objective, or when it uses any classification which serves to penalize


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the exercise of that right.” Soto-Lopez, 476 U.S. at 903 (citations omitted). However, “[a] law

does not ‘actually deter’ travel merely because it makes it somewhat less attractive for a person to

travel interstate.” Abadi v. Am. Airlines, Inc., 2024 WL 1346437, at *55 (S.D.N.Y. Mar. 29, 2024)

(quoting Pollack v. Duff, 793 F.3d 34, 46 (D.C. Cir. 2015)). A requirement at a time of national

crisis that a mask be worn when boarding a plane for the safety of other passengers may impose a

cost (or a tax) on those who cannot wear masks and may require those individuals to travel by

other means, but that does not mean that Congress would be disabled by the right to travel from

passing a mask mandate or any other measure to protect passenger safety. See id. “If every

infringement on interstate travel violates the traveler’s fundamental constitutional rights, any

governmental act that limits the ability to travel interstate, such as placing a traffic light before an

interstate bridge, would raise a constitutional issue.” Southold, 477 F.3d at 54 (quoting Cramer v.

Skinner, 931 F.2d 1020, 1031 (5th Cir. 1991)). The Second Circuit has held that “travelers do not

have a constitutional right to the most convenient form of travel, and minor restrictions on travel

simply do not amount to the denial of a fundamental right.” Southold, 477 F.3d at 54 (citation and

alterations omitted); accord Weisshaus v. Port Auth. of N.Y. & N.J., 497 F. App’x 102, 104 (2d

Cir. 2012) (summary order); Torraco v. Port Auth. of N.Y. & N.J, 615 F.3d 129, 141 (2d Cir. 2010).

The Second Circuit has repeatedly found that tolls placed on one mode of travel are only minor

restrictions that do not violate the right to travel. See, e.g., Selevan I, 584 F.3d at 101 (“[M]inor

burdens impacting interstate travel, such as toll roads, do not constitute a violation [of the right to

travel] . . .” (quoting Miller v. Reed, 176 F.3d 1202, 1205 (9th Cir. 1999) (alterations in original)));

Janes II, 774 F.3d at 1055; Weisshaus, 497 F. App’x at 104.

        To assess whether a user fee imposes more than a minor restriction and violates the right

to travel, courts apply the three-part Evansville/Northwest Airlines test. See Selevan I, 584 F.3d at




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102 (“A user fee . . . violates the right to travel unless ‘it (1) is based on some fair approximation

of use of the facilities, (2) is not excessive in relation to the benefits conferred, and (3) does not

discriminate against interstate commerce.’” (quoting Nw. Airlines, 510 U.S. at 369)). Because

Plaintiffs in Chan, Mulgrew, and Trucking argue that the Tolling Program violates the right to

travel for the same reasons they claim the Tolling Program violates the Commerce Clause,

Mulrgrew, Dkt. No. 118 at 7 n.5; Chan, Dkt. No. 130 at 7 n.5; Trucking, Dkt. No. 4 at 22, Plaintiffs

fail to show a likelihood of success on the merits as to the fair approximation and discrimination

prongs of their right-to-travel claims for the same reasons stated above with regard to Plaintiffs’

Dormant Commerce Clause claims.

       However, the right to travel is a restriction applicable to Congress and Congress thus does

not have the same authority that it has under the Commerce Clause to permit a state to charge an

excessive toll impermissibly burdening travel. See Bray v. Alexandria Women’s Health Clinic,

506 U.S. 263, 277 n.7 (1993) (noting that the right to travel “does not derive from the negative

Commerce Clause, or else it could be eliminated by Congress”). The Court therefore analyzes

whether the tolls at issue here are “excessive in comparison with the governmental benefit

conferred,” Evansville, 405 U.S. at 717, for the purposes of Plaintiffs’ right-to-travel claims.

       The Second Circuit has stated “there need not be a perfect fit between the use of the

[facilities] and the support of the [facilities] by the toll.” Selevan I, 584 F.3d at 98. The standard

“simply requires reasonableness.” Id. “A fee is permissible if it supports a project with at least a

functional relationship to facilities used by the fee payers.” Weisshaus v. Port Auth. of N.Y. &

N.J., 814 F. App’x 643, 647 (2d Cir. 2020) (summary order) (citation omitted). The benefit must

be enjoyed in toll payers’ capacity as toll payers. See N.Y. State Thruway Auth., 199 F. Supp. 3d

at 879. TANY argues that the Tolling Program runs afoul of this dictate because the Tolling




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Program’s profits will go to New York City subways and buses (80%) and the railroads (20%) and

“delivery trucks have no way to benefit from improvements to subways, buses, and railroads.”

Trucking, Dkt. No. 4 at 19. Plaintiffs in Mulgrew and Chan similarly argue that many drivers who

live outside New York City, live in “transit deserts,” or have medical needs that make car travel

the only option, will not benefit from improvements to the public transit system. Mulgrew, Dkt.

No. 118 at 10–17; Chan, Dkt. No. 130 at 10–17.

       Plaintiffs’ argument is based on the same impermissible move of dissecting the integrated

transportation system and claiming that because they do not benefit from one part of that system,

the fee is excessive with respect to the benefits Plaintiffs receive from the system as a whole.

However, courts in this Circuit have consistently held that when a state funnels toll revenue from

roadways to public transit options forming an integrated transportation system, those

improvements to the public transit systems convey a benefit even on nonriders in the form of

“reductions in traffic congestion . . ., along with associated reductions in fuel costs, stress, auto

emissions, and wait times, as well as the benefits of agglomeration and improved access to the

diverse economic markets and cultural attractions of New York City.” Angus Partners, 52 F.

Supp. 3d at 570 see, e.g., Janes I, 977 F. Supp. 2d at 341–42 (noting that the “benefit is enjoyed

especially by commuters to and from locations where mass transit options also exist, providing an

alternative option to those particular arteries for commuters and thus decreasing the traffic thereon”

but the benefit is further enjoyed by “all commuters, including because those commuters

eventually reach portions of the city that are served, and benefited by, a smoothly functioning mass

transit system”); Molinari, 838 F. Supp. at 726–27.         Investments in the MTA’s integrated

transportation network are predicted to reduce congestion by incentivizing would-be drivers to

utilize transit options instead. DOT 36272, DOT 36355, 36361. This is the very basis for the




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integrated system theory. See Auto. Club, 887 F.2d at 422–23 (it is appropriate to consider benefits

afforded to and by the integrated system because the “existence and smooth functioning” of transit

options benefits vehicle facilities, and vehicles “would suffer serious congestion if [the transit

options] ceased to exist”).

       The argument of the Mulgrew and Chan Plaintiffs is based on a false premise. It may be

that some persons entering into the CBD may be unable to use the public transit system. 16 But

that does not mean that they will not benefit from improvements to the public transit system

generated by the toll. Those drivers will benefit from the fact that would-be drivers for whom

transit become more attractive (including because of the revenues generated by the Tolling

Program) will forgo driving, freeing the streets within the CBD and reducing the congestion-

related ills of high travel time, low travel-time reliability, and auto collisions. DOT 36272, 36626–

27, 36763; see also DOT 36355, 36361 (noting that auto journeys to, from, and within the CBD

are expected to decrease, while journeys by transit, foot, or bicycle, and expected to increase).

And trucks in particular would enjoy the increased availability of legal parking spots and the labor

and product savings associated with faster travel times.        DOT 36751.      These specific and

associated benefits to New York’s integrated transportation system thus benefit motorists and

trucks in their capacities as such and are functionally related to the toll-payers’ use of the CBD.

See Weisshaus, 814 F. App’x at 647.

       Plaintiffs invoke Bridgeport, in which the Second Circuit invalidated as unconstitutional a

passenger wharfage fee imposed solely on ferry passengers but “used to accomplish a variety of

tasks, only some of which afford actual or potential benefits to ferry passengers.” Trucking, Dkt.



16
  “Most of the potentially affected workforce who presently work inside the Manhattan CBD live
and/or work near transit,” with one third living near transit and 99% working near transit.
DOT 36739.


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No. 4 at 20 (citing Bridgeport, 567 F.3d at 82–83, 87); Mulgrew, Dkt. No. 118 at 14 (citing same);

Chan, Dkt. No. 130 at 14 (citing same). In Bridgeport, the Second Circuit rejected the notion that

general “quality-of-life improvements” such as reduced traffic and air pollution on an unassociated

interstate could be considered benefits conferred in connection with a toll imposed on ferry

passengers. Bridgeport, 567 F.3d at 87; see also id. at 84 (noting that Bridgeport Port Authority

also attempted to use fee revenue to fund other miscellaneous activities with no benefit to ferry

passengers including “register[ing] a new trademark” and “purchasing season tickets to local

minor league teams”). However, the port authority at issue in Bridgeport operated as a discrete

governmental service and not an integrated transportation system such that improvements to one

aspect of the system alleviated stress on the others. See Angus Partners, 52 F. Supp. 3d at 570

(distinguishing Bridgeport). Whereas the Bridgeport toll did not improve ferry passengers’

experience on the ferry, the traffic reduction, environmental benefits, safety benefits, and

vitalization associated with the Tolling Program are functionally related to the toll payers’ use of

the CBD. See Weisshaus, 814 F. App’x at 647. The evidence before the Court is that investments

in transit will “reduce vehicle demand for road capacity in and connecting to the Manhattan CBD,”

DOT 36272, in turn leading to travel-time savings improvements, travel-time reliability

improvements, and safety benefits for drivers (among others), DOT 36626–27. The evidence

before the Court is also that environmental effects, including an approximately 11% reduction in

certain pollutants in the CBD, will accrue to drivers in the area no longer forced to breathe those

pollutants—particularly if the drivers remain in the area to work, recreate, or reside. DOT 36839–

41, 36853–85.

       TANY argues that any argument that the trucking industry will indirectly benefit from

reduced congestion “is a complete fallacy” because the Tolling Program will not actually reduce




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congestion. Trucking, Dkt. No. 4 at 20. TANY contends that because certain vehicles are charged

only once per day and other vehicles are charged a lower amount payable by the passenger instead

of the driver, the Tolling Program will disproportionately charge trucks and “do[] nothing to

advance the Tolling Program’s other mandate to reduce congestion.” Id. However, TANY

submits no evidence to support those propositions and the final EA expressly contradicts that

claim. DOT 36363. It does not follow that because other vehicles will be charged a lower toll and

less frequently than trucks, that there will be no downward impact on congestion. Plaintiffs offer

no evidence that lower and less frequent fares would not deter other drivers or would-be taxi/FHV

passengers. And improved public transportation facilities may also provide a more attractive

option than they had in the past. Traffic modeling predicts exactly those outcomes. For example,

absent the Tolling Program, auto trips are expected to comprise approximately 16.2% of journeys

into, out of, or within the Manhattan CBD in the short term and transit trips approximately 61.7%

(with the remaining trips to be completed by foot or bicycle). DOT 36355. Under the CBD Tolling

Alternative, auto trips are expected to fall to 14.5–15.5% with transit growing to 62.4–63.3% Id.

In the long term, absent the Tolling Program, auto trips are expected to comprise approximately

15.3% of journeys into, out of, or within the Manhattan CBD and transit trips approximately

62.9%. DOT 36361. Under the CBD Tolling Alternative, auto trips are expected to fall to 13.7–

14.7% with transit trips increasing to 63.5–64.4%. Id.

       Plaintiffs do not adduce any evidence that they will be unable to travel and instead show

that the Tolling Program represents, at most, a minor burden on the right to travel. Plaintiffs

therefore have not shown a likelihood of success on the merits with respect to their claims that the

Tolling Program runs afoul of the right to travel.




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               3.      Preemption

       TANY argues that the Tolling Program is preempted by the FAAAA. Trucking, Dkt. No. 4

at 23–25. The FAAAA contains an express preemption clause which states that:

       [A] State, political subdivision of a State, or political authority of 2 or more States
       may not enact or enforce a law, regulation, or other provision having the force and
       effect of law related to a price, route, or service of any motor carrier . . . or any
       motor private carrier, broker, or freight forwarder with respect to the transportation
       of property.

49 U.S.C. § 14501(c)(1). Defendants argue that the FAAA “does not[] apply to (let alone preempt)

tolling programs” like the Tolling Program at issue, and “even if the [FAAAA] could theoretically

apply to some form of tolling, the [Tolling] Program would not be preempted because it is

permissible under the [FAAAA’s] express statutory exceptions.” Trucking, Dkt. No. 63 at 18–22.

                       a.     Preemption Under the FAAAA

       “Under the Supremacy Clause of the Constitution, state and local laws that conflict with

federal law are ‘without effect.’” N.Y. SMSA Ltd. P’ship v. Town of Clarkstown, 612 F.3d 97, 103

(2d Cir. 2010) (quoting Altria Grp., Inc. v. Good, 555 U.S. 70, 76 (2008)). “Where, as in this case,

Congress has superseded state legislation by statute, [the Court’s] task is to ‘identify the domain

expressly pre-empted.’” Dan’s City Used Cars, Inc. v. Pelkey, 569 U.S. 251, 260 (2013) (quoting

Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 541 (2001)). “The key to the preemption inquiry

is the intent of Congress.” Clarkstown, 612 F.3d at 104. Generally, where the statute contains an

express pre-emption clause, the plain wording of the clause constitutes the best evidence of

Congress’ preemptive intent. See CSX Transp., Inc. v. Easterwood, 507 U.S. 658, 664 (1993).

However, a court’s reading of an express preemption clause “does not occur in a contextual

vacuum” and instead “is informed by two presumptions about the nature of pre-emption.”

Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996). “First, because the States are independent

sovereigns in our federal system,” courts presume that Congress does not “cavalierly” preempt


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state law, “particularly in those in which Congress has ‘legislated . . . in a field which the States

have traditionally occupied.’” Id. (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230

(1947)). Second, “[t]he purpose of Congress is the ultimate touchstone in every pre-emption case.”

Id. (citation omitted); see Wyeth v. Levine, 555 U.S. 555, 565 (2009). The Court begins by

reviewing the history of the FAAAA, and then discusses the concerns courts have identified as

relevant to whether Congress intended certain state acts be preempted by the FAAAA.

        In 1978, Congress enacted the Airline Deregulation Act (the “ADA”)—the basis for the

FAAAA—on the premise that “maximum reliance on competitive market forces” would best

further “efficiency, innovation, and low prices” as well as “variety [and] quality . . . of air

transportation services.” See Morales v. Trans World Airlines, Inc., 504 U.S. 374, 378 (1992)

(citing 49 U.S.C.App. §§ 1302(a)(4), 1302(a)(9)). “To ensure that the States would not undo

federal deregulation with regulation of their own, the ADA included a pre-emption provision,

prohibiting the States from enforcing any law ‘relating to rates, routes, or services’ of any air

carrier.” Id. at 378–79 (citing 49 U.S.C.App. § 1305(a)(1)). In the years that followed, the

Supreme Court held that the ADA preempted such state regulations as general consumer protection

statutes to the extent they applied to allegedly deceptive airline conduct. See, e.g., id.; Am. Airlines,

Inc. v. Wolens, 513 U.S. 219 (1995). The deregulation of the airline industry created a temporary

imbalance in the trucking industry, as carriers organized as airlines were no longer bound by

regulations with which certain of their competitors—organized as motor carriers—were still

obliged to comply. See Cal. Trucking Ass’n v. Bonta, 996 F.3d 644, 655 (9th Cir. 2021)

(explaining that prior to the FAAAA, “although the ADA preempted state regulation of FedEx’s

trucking operations because FedEx was organized as an air carrier, many of FedEx’s competitors,

which were organized as motor carriers, did not receive similar protection from state regulation”).




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The FAAAA was enacted in 1994 to ‘“to create a completely level playing field’ between air

carriers and motor carriers.” N.Y. State Motor Truck Ass’n v. Pataki, 2004 WL 2937803, at *5

(S.D.N.Y. Dec. 17, 2004) (quoting H.R. Rep. No. 103-677 at 83 (1994)).

       The FAAAA’s preemption clause copied the language of the ADA’s preemption clause,

and thus precedential ADA case law may be used to inform FAAAA preemption. See Rowe v.

N.H. Motor Transp. Ass’n, 552 U.S. 364, 370 (2008); Merrill Lynch, Pierce, Fenner & Smith Inc.

v. Dabit, 547 U.S. 71, 85 (2006). However, “[a]though § 14501(c)(1) otherwise tracks the ADA’s

air-carrier preemption provision, the FAAAA formulation contains one conspicuous alteration—

the addition of the words ‘with respect to the transportation of property.’” Dan’s City, 569 U.S.

at 260 (citing Rowe, 552 U.S. at 368); compare 49 U.S.C. §§ 14501(c)(1), 41713(b)(4)(A) with

49 U.S.C.App. § 1305(a)(1). “That phrase ‘massively limits the scope of preemption’ ordered by

the FAAAA.” Dan’s City, 569 U.S. at 260 (citing City of Columbus v. Ours Garage & Wrecker

Serv., Inc., 536 U.S. 424, 449 (2002) (Scalia, J., dissenting)); accord Cal. Trucking, 996 F.3d at

655. Although the United States Supreme Court has read the FAAAA’s preemption clause to

embrace state laws “having a connection with or reference to carrier rates, routes, or services,

whether directly or indirectly[,] . . . the breadth of the words ‘related to’ does not mean the sky is

the limit” and where the state laws are “related to” neither the “transportation of property” nor the

“service” of a motor carrier, they will not be preempted by the FAAAA. Dan’s City, 569 U.S. at

260 (citing Rowe, 552 U.S. at 370). The FAAAA also “does not pre-empt state laws that affect

rates, routes, or services in ‘too tenuous, remote, or peripheral a manner.’” Rowe, 552 U.S. at 375

(quoting Morales, 504 U.S. at 390). And the Supreme Court has stated that “the state laws whose

‘effect’ is ‘forbidden’ under federal law are those with a ‘significant impact’ on carrier rates,

routes, or services.” Id. (quoting Morales, 504 U.S. at 388, 390).




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        The FAAAA’s preemption provision also contains certain express exceptions. The statute

leaves intact:

        the safety regulatory authority of a State with respect to motor vehicles, the
        authority of a State to impose highway route controls or limitations based on the
        size or weight of the motor vehicle or the hazardous nature of the cargo, or the
        authority of a State to regulate motor carriers with regard to minimum amounts of
        financial responsibility relating to insurance requirements and self-insurance
        authorization.

49 U.S.C. § 14501(c)(2)(A). The FAAAA’s preemption provision further does not apply to the

“intrastate transportation of household goods” or to the “regulation of tow truck operations

performed without the prior consent or authorization of the owner or operator of the motor

vehicle.”    49 U.S.C. § 14501(c)(2)(B)–(C); see also Pataki, 2004 WL 2937803, at *4

(summarizing express exceptions to FAAAA preemption). The FAAA’s explicit exceptions,

however, are not exclusive and “do not in themselves delineate the scope of the rule.” Dan’s City,

569 U.S. at 264.

        The Second Circuit has held that “[t]he House Conference Report that accompanied the

statute” is indicative of the preemptive scope that Congress intended the FAAAA to have. Ace

Auto Body & Towing, Ltd. v. City of New York, 171 F.3d 765, 772 (2d Cir. 1999); accord Bonta,

996 F.3d at 664; Boyz Sanitation Serv., Inc. v. City of Rawlins, Wyo., 889 F.3d 1189, 1199 (10th

Cir. 2018); Mass. Delivery Ass’n v. Coakley, 671 F.3d 33, 38 (1st Cir. 2012). In the House

Conference Report, Congress identified forty-one jurisdictions that in 1994 regulated, “in varying

degrees, intrastate prices, routes and services of motor carriers” with the “[t]ypical forms of

regulation includ[ing] entry controls, tariff filing and price regulation, and types of commodities

carried.” H.R. Conf. Rep. 103-677, 86 (1994). Entry controls included restrictions preventing

new applicants from competing with existing trucking businesses for “any given route and type of

trucking business.” Id. Tariff filing and price regulation included rules not designed to keep prices



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low but instead to ensure “that they are kept high enough to cover all costs and are not so low as

to be ‘predatory’” and to require companies wishing to change their prices to “go through a costly

and lengthy hearing proceeding in each State in which it operates.” Id. Congress stated that the

need for the FAAAA “has arisen from this patchwork of regulation” and that “[l]ifting of these

antiquated controls will permit our transportation companies to freely compete more efficiently

and provide quality service to their customers” because “[s]ervice options will be dictated by the

marketplace; and not by artificial regulatory structure.” Id. at 86, 88.

       Tolls are the quintessential patchwork policy facing motorists transversing the country.

Every toll a driver encounters forces the driver to choose between routes— a more direct or

convenient route for which the driver will have to pay or a potentially more circuitous route that

would be cost-free. As of January 1, 2023, there were 6,546.74 miles of toll roads, bridges, and

tunnels in the United States. See Federal Highway Administration, Toll Facilities in the United

States, Pub. No. FHWA-PL-18-018 (July 2023). A significant number of those toll facilities

charge trucks a higher fare than other vehicles. See id. In 2020, tolls represented approximately

3% of motor carriers’ average marginal cost per mile in the northeast United States ($0.055 per

mile, with a total average marginal cost of $1.835 per mile). DOT 36722. And tolls on vehicles

including motor carriers are no recent innovation. See Cont’l Baking Co. v. Woodring, 286 U.S.

352, 360 & n.7 (1932) (sustaining as constitutional a Kansas tax on motor carriers calculated based

on gross ton mileage, i.e., the weight of goods and passengers transported per mile). 17




17
  The history of toll roads in the United States stretches back practically to the country’s founding.
The first toll road in the United States, the Philadelphia and Lancaster Turnpike in Pennsylvania,
was constructed in 1792 and was quickly joined by many more roadways funded by user fees. See
Toll Facilities in the United States, Pub. No. FHWA-PL-18-018. Indeed, just a few decades later,
the landmark Commerce Clause case, Gibbons v. Ogden, detailed some of the numerous toll
bridges that dotted the country. Gibbons v. Ogden, 22 U.S. 1, 97 n.26 (1824).


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        The FAAAA does not preempt all state toll roads. In the House Conference Report that

accompanied the FAAAA, Congress noted that there were ten jurisdictions that “d[id] not

regulate” intrastate prices, routes and services of motor carriers: Alaska, Arizona, Delaware,

District of Columbia, Florida, Maine, Maryland, New Jersey, Vermont and Wisconsin. Id at 86.

Courts have construed this as “indirect evidence that Congress did not intend to preempt” laws

that were on the books in those ten states at the time. Californians For Safe & Competitive Dump

Truck Transp. v. Mendonca, 152 F.3d 1184, 1188 (9th Cir. 1998); accord Bedoya v. Am. Eagle

Express Inc., 914 F.3d 812, 819 (3d Cir. 2019) (“By implication, Congress determined that the

laws then in existence in those jurisdictions did not contravene its deregulatory goals and thus were

not preempted.”); Cal. Trucking Ass’n v. Su, 903 F.3d 953, 967 (9th Cir. 2018); People ex rel.

Harris v. Pac Anchor Transportation, Inc., 59 Cal. 4th 772, 783 (Cal. 2014). At least seven of

those ten “regulation-free” jurisdictions notably levied a toll on highway users at the time of

implementation.      See Federal Highway Administration Office of Highway Information

Management, 1994 Highway Statistics (1994) (recording the 1993 state and local tolling revenues

for states including Alaska, Delaware, Florida, Maine, Maryland, New Jersey and Vermont); see

also Federal Highway Administration, Toll Facilities in the United States, Pub. No. FHWA-PL-

93-009 (Feb. 1993) (identifying specific toll facilities). 18

        The Supreme Court has decided two particularly instructive cases concerning the

preemptive scope of the FAAAA.




18
  Although the national statistics do not record the tolling revenues derived from motor carriers
as opposed to other vehicles, case law from that time indicates that at least some of those seven
“regulation-free” states did impose tolls on trucks. See, e.g., Wallach v. Brezenoff, 930 F.2d 1070,
1071 (3d Cir. 1991) (noting that the Port Authority of New York and New Jersey charged truck
tolls in the amount of $3.00 per axle).


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       In Rowe, the Supreme Court held that the FAAAA preempted a Maine law that forbade

licensed tobacco retailers to employ a “delivery service” unless that service implemented particular

recipient-verification procedures to ensure that the purchaser was of legal age to purchase tobacco.

See generally 552 U.S. 364. The law “directly regulate[d]” a “service” of a motor carrier with

respect to its transportation of property. Id. at 373. In particular, the Maine law “focuse[d] on

trucking and other motor carrier services (which ma[d]e up a substantial portion of all ‘delivery

services),’” and “require[d] carriers to offer a system of services that the market does not now

provide (and which the carriers would prefer not to offer).” Id. at 371–72 (citation omitted). If it

were upheld, the result “could easily lead to a patchwork of state service-determining laws, rules,

and regulations.” Id. at 373. The Court observed, “the state law is not general, it does not affect

truckers solely in their capacity as members of the general public, the impact is significant, and

the connection with trucking is not tenuous, remote, or peripheral.” Id. at 375. The law

“produc[ed] the very effect that the federal law sought to avoid, namely, a State’s direct

substitution of its own governmental commands for ‘competitive market forces’ in determining

(to a significant degree) the services that motor carriers will provide.” Id. at 371–72 (quoting

Morales, 504 U.S. at 378).

       Conversely, in Dan’s City, the Supreme Court held that the FAAAA did not preempt a

New Hampshire law governing the sale of stored vehicles following a tow because “[t]he New

Hampshire law in point regulates no towing services, no carriage of property,” and instead

concerns the treatment of property only after it has been towed. 569 U.S. at 255. It was not

sufficient that the law would have an effect on the price, route, or service of a motor carrier. The

Court noted that the target at which the FAAAA aimed was “a State’s direct substitution of its own

governmental commands for competitive market forces in determining (to a significant degree)




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the services that motor carriers will provide.” Id. at 263 (quoting Rowe, 552 U.S. at 372). The

Court observed that “[t]he state laws in question hardly constrain participation in interstate

commerce by requiring a motor carrier to offer services not available in the market.” Id. “Nor do

the state laws . . . ‘freez[e] into place services that carriers might prefer to discontinue in the

future.’” Id. at 263–64 (quoting Rowe, 552 U.S. at 373). Zoning regulations might have an impact

on the price, route or service of a motor carrier. But the Court concluded, “[i]t is hardly doubtful

that state or local regulation of the physical location of motor-carrier operations falls outside the

preemptive sweep of the [FAAAA].” Id. at 264.

       Zoning ordinances such as those approved in Dan’s City may impact the routes motor

carriers take (by altering the start and end points) and the rates they charge (by contributing to

potentially different fuel and premises costs than the motor carriers would otherwise bear). But

those upstream impacts are insufficient to give rise to FAAAA preemption. Id. Zoning ordinances

are not unique in that capacity. “Nearly every form of state regulation carries some cost” which

carriers may elect either to internalize or to pass on to their customers. Dilts v. Penske Logistics,

LLC, 769 F.3d 637, 646 (9th Cir. 2014); accord Costello v. BeavEx, Inc., 810 F.3d 1045, 1053 (7th

Cir. 2016) (recognizing that “virtually any state law, at some level, has an effect on the market

price”). 19 By imposing a cost on accidents, the state common law of torts—just like its regulations

on traffic speed or of traffic lights—may encourage or discourage particular forms or routes of

travel. See generally Guido Calabresi, The Costs of Accidents (1970). The fact that a local law

may “shift[] incentives and make[] it more costly for motor carriers to choose some routes or

services relative to others, leading the carriers to reallocate resources or make different business



19
   Notably, Congress exempted from the FAAAA’s preemptive scope state and local safety
regulations which undoubtedly raise the operating costs of motor carriers. 49 U.S.C.
§ 14501(c)(2)(A).


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decisions,” does not mean that the local law is preempted. Dilts, 769 F.3d at 647 (citing Air

Transp. Ass’n, 266 F.3d at 1074. The important distinction is thus between laws that impact

resource inputs—which are unlikely to be preempted—and product outputs—which are likely to

be preempted. As the Seventh Circuit observed:

       For example, labor inputs are affected by a network of labor laws, including
       minimum wage laws, worker-safety laws, anti-discrimination laws, and pension
       regulations. Capital is regulated by banking laws, securities rules, and tax laws,
       among others. Technology is heavily influenced by intellectual property laws.
       Changes to these background laws will ultimately affect the costs of these inputs,
       and thus, in turn, the ‘price . . . or service’ of the outputs. Yet no one thinks that
       the ADA or the FAAAA preempts these and the many comparable state laws
       because their effect on price is too ‘remote.’ Instead, laws that regulate these inputs
       operate one or more steps away from the moment at which the firm offers its
       customer a service for a particular price.

S.C. Johnson & Son, Inc. v. Transp. Corp. of Am., 697 F.3d 544, 558 (7th Cir. 2012) (citing

Mendonca, 152 F.3d at 1189; Morales, 504 U.S. at 390); accord Bedoya, 914 F.3d at 822; Costello,

810 F.3d at 1053; Amerijet Int’l, Inc. v. Miami-Dade Cnty., Fla., 627 F. App’x 744, 751 (11th Cir.

2015) (“If, on the other hand, Amerijet is suggesting that an increase in an air carrier’s costs will

in turn raise the prices of that carrier’s services . . ., such ‘indirect economic influences’ are

insufficient to trigger preemption” under the ADA.).

       Based on these cases and concerns, circuit courts have held that the relevant inquiry as to

whether a law has a significant effect on carrier prices, routes, or services is whether the state law

at issue (1) “applies to all businesses or whether it focuses on motor carriers;” (2) addresses the

carrier’s relationship with its customers or addresses another relationship such as the carrier’s

relationship with its employees; (3) “binds the carrier to provide a particular price, route, or

service;” and (4) risks creating “patchwork” of differing state “service-determining laws.”

Bedoya, 914 F.3d at 823; see also Dilts, 769 F.3d at 644–47 (reviewing similar factors to determine

preemption); S.C. Johnson, 697 F.3d at 558 (similar).



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       Because “[t]he target at which [the FAAAA was] aimed was ‘a State’s direct substitution

of its own governmental commands for competitive market forces in determining (to a significant

degree) the services that motor carriers will provide,’” Dan’s City, 569 U.S. at 263 (quoting Rowe,

552 U.S. at 372), courts have primarily focused on the third factor—whether the state or local law

compels the carrier to provide or not provide a certain price, service, or route than it would

otherwise choose. See, e.g., Air Transp. Ass’n of Am. v. City & Cnty. of S.F., 266 F.3d 1064, 1072

(9th Cir. 2001) (“[A] local law will have a prohibited connection with a price, route or service if

the law binds the air carrier to a particular price, route or service and thereby interferes with

competitive market forces within the air carrier industry.”); Boyz Sanitation, 889 F.3d at 1200

(rejecting argument that the FAAAA preempts a local ordinance requiring that all garbage

collected in the city be taken to a certain transfer station because the ordinance “would neither

significantly determine what services garbage haulers in Rawlins will provide nor require garbage

haulers to provide a service not available in the market”); Amerijet, 627 F. App’x at 751 (holding

that the FAAAA and ADA did not preempt a local ordinance that did not “bind” carriers to any

particular choice or preclude carriers from offering services they wish to provide).

                       b.      Application to the Tolling Program

       TANY has not demonstrated a likelihood of success on the merits as to its argument that

the Tolling Program is preempted because TANY has not shown that the Tolling Program will

have a significant impact on the prices, services, or routes of motor carriers.

       The Tolling Programs applies to multiple classes of vehicle, though it does impose a higher

fare on trucks than on many other vehicle classes. 20 On its own, that is insufficient to warrant


20
   Taxis and FHVs conducting numerous trips into, within, and out of the CBD could theoretically
pay more than a truck. A taxi would have to make 29 trips to eclipse the toll paid by a single-unit
truck entering during peak period and 44 trips to eclipse the toll paid by a multi-unit truck entering



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FAAAA preemption. “Even targeted laws . . . are not necessarily preempted” and the inquiry into

“whether a law is applicable to every business or targets carriers is a helpful but nondispositive

factor for determining whether a law has a direct effect on motor carriers’ prices, routes, or

services.” Bedoya, 914 F.3d at 821 (citing Morales, 504 U.S. at 386); see Su, 903 F.3d at 966.

       The Tolling Program is not aimed at the customer-carrier relationship. In general, “[l]aws

that affect the way a carrier interacts with its customers fall squarely within the scope of FAAAA

preemption” whereas laws that merely impact the carrier’s relationship with its workforce or

vendors are too tenuously connected to be preempted. Costello, 810 F.3d at 1054. As the Ninth

Circuit has recognized, “[l]aws are more likely to be preempted when they operate at the point

where carriers provide services to customers at specific prices” but “background regulations that

are several steps removed from prices, routes, or services, such as prevailing wage laws or safety

regulations, are not preempted, even if employers must factor those provisions into their decisions

about the prices that they set, the routes that they use, or the services that they provide.” Dilts, 769

F.3d at 646. The Tolling Program does not require that motor carriers charge any particular price

for any particular service. It does not bar newcomers to the industry or constrain the prices at

which a motor carrier may offer its services. It is not aimed at impacting prices but rather at

making trucks bear the cost that they are imposing on the transportation system. TMRB Report at

20. Although TANY argues that any attempt to pass on the toll to its customers will “relate[] to

the prices of motor carriers” and require TANY to renegotiate its annual rate agreements, Trucking,

Dkt. No. 4 at 24–25, the Tolling Program does not mandate that pass-through (the way it does

require taxi and other for-hire vehicles to charge the passenger instead of the driver), see 50 N.Y.



during peak period. An FHV dispatched by a high-volume for-hire service such as Lyft, Uber, or
Via would have to make 15 trips to result in higher tolls than a single-unit truck entering during
peak period and 22 trips to result in higher tolls than a multi-unit truck entering during peak period.


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Reg. 12, 81–82 (citing Rules of City of NY Taxi & Limousine Comm’n §§ 58-26(f), 59A-23(b),

59D-17(c)).

       Even though motor carriers may wish to adjust their prices to reflect the changed operating

cost, it does not follow that the Tolling Program interrupts the carrier-customer relationship.

TANY offers no evidence that the Tolling Program will actually result in increased costs for the

trucking industry or that the Program will not have the congestion-mitigating effects that the

models predict. DOT 36355, 36361. While the Tolling Program imposes a cost on motor carriers

entering the CBD, it is expected to lower their operating costs. Trucks are projected to spend less

time in traffic, and thus the cost of each delivery will be reduced by corresponding savings on

labor and materials. DOT 36751. Because of the reduced congestion, trucks are also expected to

be able to make more deliveries in the same time, thus increasing revenues and spreading the costs

across a greater number of customers. And whereas trucks presently face high fine burdens due

to the lack of legal parking options, other competition for parking would decline. Id. Moreover,

even if TANY did offer evidence that the Tolling Program would increase the costs of its members

doing business in the CBD, the Tolling Program does not prescribe or proscribe any specific price,

route or service. And any incidental effect on the prices that motor carriers choose to offer does

not implicate the primary concern underlying the FAAAA—it does not threaten competition

between motor carriers. See Dan’s City, 569 U.S. at 263; Branche v. Airtran Airways, Inc., 342

F.3d 1248, 1259 (11th Cir. 2003). 21 Even if motor carriers choose to renegotiate their annual rate



21
   TANY does not argue that every policy impacting the price at which motor carriers will contract
is preempted by the FAAA. Indeed, TANY’s president submitted a declaration stating that “TANY
has been a long-time supporter of the Off Hours Delivery Program, which provides financial
incentives to those businesses that are able to implement it.” Trucking, Dkt. No. 5 ¶ 36. That
program arguably increases the price motor carriers may charge for eligible off hour deliveries,
but similarly operates a step or two away from the price-determining moment. The tolling schedule



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agreements with customers, that is a facet of their own contractual decision-making. See Wolens,

513 U.S. at 233 (noting that in the context of ADA preemption, there is a “distinction between

what the State dictates and what the airline itself undertakes,” with the latter to remain binding in

breach-of-contract actions); see also id. (explaining that this promotes “maximum reliance on

competitive market forces” because “[m]arket efficiency requires effective means to enforce

private agreements” (citations omitted)); Su, 903 F.3d at 962 (applying Wolens in FAAAA

context); Gordon Cos., Inc. v. Fed. Express Corp., 2015 WL 13727903, at *2 (W.D.N.Y. Sept. 10,

2015) (similar). The Tolling Program does not require trucks to participate in any particular

pricing scheme that would impede the ability of market forces to inform carrier prices; instead it

only impacts the resource input—the price of trucks’ use of certain roadways.

       With respect to the third and most important consideration, the Tolling Program does not

bind motor carriers to undertake any particular service or route or charge a certain price, nor bar

the provision of any identified service, route, or price that they might wish to provide. See, e.g.,

Rowe, 552 U.S. 364 (state law requiring recipient verification service for tobacco deliveries was

preempted). The Tolling Program does not “mandate or prohibit certain routes, or tell motor

carriers what services that they may or may not provide.” Ridgeway v. Walmart Inc, 946 F.3d

1066, 1083 (9th Cir. 2020) (quoting Dilts, 769 F.3d at 647). Neither “a modestly increased cost

of doing business” nor “the mere fact that a motor carrier must take into account a state regulation

when planning services is . . . sufficient to require FAAAA preemption.” Dilts, 769 F.3d at 648–

49; accord Bonta, 996 F.3d at 657; Ridgeway, 946 F.3d at 1083; S.C. Johnson, 697 F.3d at 558–



for off-peak entry to the CBD similarly provides a 75% discount to tolls charged during peak hours,
and time-based discounts are common across New York’s tolled facilities. See Port Authority of
New York and New Jersey, 2024 Toll Rates (2024), https://www.panynj.gov/bridges-
tunnels/en/tolls.html (discounted tolls are available for off-peak driving on the Lincoln & Holland
tunnels, the George Washington, Bayonne & Goethals bridges, and the Outerbridge Crossing).


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61; see also Cal. Div. of Lab. Standards Enf’t, 519 U.S. at 334 (holding ERISA did not preempt

certain state laws because “[t]he prevailing wage statute alters the incentives, but does not dictate

the choices, facing ERISA plans”). Motorists whose desire to drive into the CBD during peak

hours is relatively inelastic will continue to do so. Although TANY protests that the Tolling

Program is intended to discourage certain routes (those that pass through the CBD) and timing

(driving at peak vs. off-peak hours), Trucking, Dkt. No. 4 at 24, TANY acknowledges that the

Tolling Program in fact has two aims: to reduce congestion and to generate revenue, id. at 4. These

aims are mutually exclusive for each vehicle trip—a vehicle that travels into the CBD generates

revenue but also contributes to congestion while a vehicle that alters its path to avoid the CBD or

peak hours reduces congestion but does not generate revenue. TANY thus does not argue that its

members will in fact be obligated to drive at dispreferred routes and times—only that trucks will

be incentivized to do so. See Dilts, 769 F.3d at 648–49. 22 The final EA determined that under the

Tolling Program, “the volumes of truck journeys into and within the Manhattan CBD are expected

to remain similar to today because the need to deliver goods would remain the same; deliveries

would still need to be made to restaurants, businesses, and residents regardless of the Manhattan

CBD tolling implementation.” DOT 36748–49; see also DOT 36752 (“[T]olling, as well as tolling

with peak[] and offpeak rate variation, would not likely substantially alter urban freight delivery.”).

TANY submitted four declarations, each of which acknowledged that other considerations (such

as customer needs and workforce constraints) will require the trucks to maintain their current

routes and pick-up and delivery hours. See Trucking, Dkt. No. 5 ¶¶ 29–30, 35, 37, 40 (TANY’s




22
  The amicus brief submitted by UPS tellingly argues not that motor carriers will be obligated to
change their routes but that “[t]he prospect of repeated entry fees with interfere with carrier
judgment regarding how service is provided—for instance they may sort and load packages
differently to prioritize remaining within the CBD.” Trucking, Dkt. No. 27 at 7.


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president averred that “TANY members have no alternative means of operating their businesses

and making deliveries in Manhattan other than to subject their fleets to charges imposed by the

Tolling Program.”), Dkt. No. 6 ¶¶ 22, 25, Dkt. No. 7 ¶¶ 21–26, Dkt. No. 8 ¶ 27; see also Trucking,

Dkt. No. 14 ¶¶ 49, 54, 59 (TANY alleged in its complaint that “TANY members have no

alternative means of operating their businesses and making deliveries in Manhattan other than to

subject their fleets to charges imposed by the Tolling Program.”). These admissions that the

Tolling Program will not mandate certain routes or the avoidance thereof starkly undermines

TANY’s preemption claim. 23

       Though TANY protests the choice its drivers are forced to make in light of the Tolling

Program, that choice is mandated by every toll a driver encounters; some drivers will elect to avoid

toll roads (by taking alternate paths or deciding not to drive altogether), while others will pay for

the convenience or necessity of using the road. Despite this truism, Congress has not evidenced

an intent to preempt the application of tolls to trucks. Rather, Congress has long acknowledged

states’ authority to impose tolls on motorists. 24 Congress incorporated toll highways into the

interstate system by statute in 1956 and made federal financial support available to toll highways

in 1978. See Am. Trucking Ass’ns, 886 F.3d at 241 (citing Pub. L. No. 84-627, § 113(a), 70 Stat.

374, 384; Pub. L. No. 95-599, 92 Stat. 2689 (1978)). In 1991—just a few years before the passage




23
   To be certain, one can imagine an exorbitant toll so excessive as to effectively constitute a bar
to access. See N.Y. State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S.
645, 668 (1995); see also S. Dakota v. Dole, 483 U.S. 203, 211 (1987) (acknowledging that there
may be a point at which financial “pressure turns into compulsion” (quoting Charles C. Steward
Mach. Co. v. Davis, 301 U.S. 548, 590 (1937))). However, TANY has not shown that the Tolling
Program is one such coercive toll.
24
   Although the standard formulation of the toll road uses toll revenue to support resurfacing efforts
and other facets of operation and maintenance while the Tolling Program uses toll revenue to
alleviate congestion, the end result is the same: paying vehicles enjoy smoother and speedier travel
along with a lower incidence of vehicle damage.


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of the FAAAA—Congress enacted the ISTEA, which granted states “greater flexibility to operate

toll facilities and use toll revenues for a variety of transportation projects.” Id. (citing 23 U.S.C.

§ 129; Pub. L. No. 102-240, 105 Stat. 1914 (1991)). In 2005, Congress passed the SAFETEA-

LU, which both amended the FAAAA’s preemption provision and provided funds for the VPPP,

including projects that involve highway tolls. Pub. L. No. 109–59 §§ 1604, 4105, 119 Stat. 1144

(2005). Even more recently, Congress affirmed states’ implementation of differential tolls, but

capped them by stating in the Infrastructure Investment and Jobs Act of 2021 that the Secretary of

Transportation may only approve the use of tolls on federally-funded highways if the maximum

toll rate for any vehicle class is not more than five times the toll rate charged to any other vehicle

class. 23 U.S.C. § 129(d)(6)(B)(ii); Pub. L. No. 117-58, 135 Stat. 429 (2021). Congress’

recognition of “pre-existing state efforts” to impose tolls, including on trucks, and “apparent[]

expect[ation] that those efforts would continue” indicates that Congress did not intend the FAAAA

to preempt the application of tolls to motor carriers. Cal. Div. of Lab. Standards Enf’t v.

Dillingham Const., N.A., Inc., 519 U.S. 316, 330 (1997); see also Hillsborough Cnty., Fla. v.

Automated Med. Lab’ys, Inc., 471 U.S. 707, 715 (1985) (“Where . . . the field that Congress is said

to have pre-empted has been traditionally occupied by the States,” courts presume “that the historic

police powers of the States were not to be superseded by the Federal Act unless that was the clear

and manifest purpose of Congress.” (citing Jones v. Rath Packing Co., 430 U.S. 519, 525 (1977))).

       In fact, Congress has expressly signaled its support for tolled projects aimed at mitigating

congestion such as the Tolling Program. ISTEA, as amended, established the Value Pricing Pilot

Program. The VPPP authorizes the Secretary of Transportation to solicit and enter into cooperative

agreements with “State or local governments or public authorities to establish, maintain, and




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monitor congestion pricing projects.” ISTEA § 1012(b). 25 ISTEA provides that notwithstanding

the general bar against state-imposed tolls on federally funded highways, see 23 U.S.C. §§ 129,

301, “the Secretary shall allow the use of tolls on the Interstate System as part of a pilot program

under this section.” ISTEA § 1012(b)(4). On November 21, 2024, the FHWA, USDOT, and

NYSDOT entered into a Value Pricing Program Agreement that permitted the TBTA to operate

the Tolling Program as a tolled value pricing project, provided federal funding for the Tolling

Program, and included a fee schedule explaining the Tolling Program’s differential tolling

structure, including the higher and more frequent tolls charged to trucks. Trucking, Dkt. No. 81-

2. Congress’ support for tolled congestion mitigation projects is at odds with TANY’s contention

that Congress intended to preempt the Tolling Program. See Dillingham, 519 U.S. at 330.

       Finally, the Tolling Program does not impermissibly threaten a “patchwork of service-

determining laws, rules, and regulations” that requires motor carriers to alter their conduct as they

move from jurisdiction to jurisdiction. City of New York v. FedEx Ground Package Sys., Inc.,

2017 WL 740067, at *8 (S.D.N.Y. Feb. 21, 2017) (quoting Rowe, 552 U.S. at 373). “The fact that

laws may differ from state to state is not, on its own, cause for FAAAA preemption.” Dilts, 769

F.3d at 647. For example, labor laws may vary widely across different jurisdictions, prompting

interstate motor carriers to deviate from otherwise preferred routes, make different staffing

decisions, or bear higher costs than they would if exposed to uniform labor regulations. See id. at

648. Tort claims arising out of motor vehicle collisions may similarly be analyzed differently

depending on the common law of the state in which the collision occurs. See Miller v. C.H.

Robinson Worldwide, Inc., 976 F.3d 1016, 1030–31 (9th Cir. 2020) (holding that negligence claims



25
  Although the ISTEA refers to the program as the “Congestion Pricing Pilot Program,” id., the
SAFETEA-LU amended the provision to the VPPP moniker it now bears, see SAFETEA-LU
§ 1604(a).


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arising out of motor vehicle accidents fall into the FAAAA’s “safety exemption” to preemption);

Covenant Imaging, LLC v. Viking Rigging & Logistics, Inc., 2021 WL 973385, at *6 (D. Conn.

Mar. 16, 2021) (similar); but see Tobin v. Fed. Exp. Corp., 775 F.3d 448, 455 (1st Cir. 2014)

(rejecting similar argument in the ADA context because “[s]uch a finding would effectively

supplant market forces with Massachusetts common-law definitions of reasonableness and, thus,

create the very patchwork of state-based regulations that ADA preemption is meant to

preclude”). 26 Courts generally consider these laws that operate as to resource inputs without

constraining the provision of specific services too disconnected from the rates, services, or prices

of motor carriers to create the legal patchwork FAAAA preemption was intended to avoid. See,

e.g., Su, 903 F.3d at 966. Tolls are one such background law whose interference with the rates,

routes, and services that motor carriers offer is only tenuous. It is significant that Congress

characterized seven states with tolls as “jurisdictions which do not regulate” and thus do not

contribute to the patchwork of regulation the FAAAA was designed to address. H.R. Conf. Rep.

103-677 at 86; 1994 Highway Statistics. Furthermore, despite the ubiquity of differential tolling

programs that charge trucks higher user fees, no party has identified any case challenging tolls on

the basis of FAAAA preemption at any point in the past three decades. Trucking, Dkt. No. 56 at

4, Dkt. No. 63 at 19; but see Jalbert Leasing, Inc. v. Mass. Port Auth., 2005 WL 1288108, at *8

(D. Mass. May 18, 2005) (construing the related statutory preemption provision in 49 U.S.C.




26
  As further evidence that Congress did not intend to mandate total uniformity, the Supreme Court
has acknowledged that, under the safety exception to FAAAA preemption, “a State could, without
affront to the statute, pass discrete, nonuniform safety regulations applicable to each of its several
constituent municipalities.” Ours Garage, 536 U.S.at 44. “Ohio thus could adopt the Columbus
regulations to govern in that city, the Toledo regulations to govern there, and so on down the line.”
Id.


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§ 14505 so as to avoid “preempt[ing] the imposition of state highway tolls on the motor carriers”),

aff’d, 449 F.3d 1 (1st Cir. 2006).

       Ultimately, because the Tolling Program does not significantly relate to the rate, route, or

service of motor carriers, TANY has not demonstrated a likelihood of success on the merits with

respect to its claim that the Tolling Program is preempted by the FAAAA.

                       c.      Size and Weight Exception

       Defendants argue that even if the FAAAA would otherwise preempt the Tolling Program,

the Tolling Program would be saved by the FAAAA preemption exception that preserves “the

authority of a State to impose highway route controls or limitations based on the size or weight of

the motor vehicle.” 49 U.S.C. § 14501(c)(2)(A); Trucking, Dkt. No. 63 at 21–22, Dkt. No. 80 at

19. TANY argues that the size and weight exception does not save the Tolling Program because

(1) Defendants have not shown that the streets in the Manhattan CBD constitute “highways” within

the meaning of the FAAAA; (2) the purported purpose of the Tolling Program is to reduce

congestion and generate revenue, not to prevent vehicles of certain sizes and weights from entering

the Manhattan CBD; and (3) Defendants have not shown that the Tolling Program’s classification

of commercial trucks is based on the size or weight of the motor vehicle. Trucking, Dkt. No. 76

at 25–26.

       TANY’s first argument is easily dispatched. The FAAAA defines highway as “a road,

highway, street, and way in a State.” 49 U.S.C. § 13102. The streets in the CBD inarguably fit

that definition. See Mulgrew, 2024 WL 3251732, at *15.

       Next, TANY argues that the purpose and intent behind the Tolling Program render the

weight and size exception to FAAAA preemption unavailable. But TANY does not provide any

explanation as to why Defendants’ stated aims are unacceptable uses of a size and weight

restriction. Congress expressed that in setting forth the exceptions to FAAAA preemption, it did


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“not intend for States to attempt to de facto regulate prices, routes or services of intrastate trucking

through the guise of some form of unaffected regulatory authority.” H.R. Conf. Rep. 103-677, at

83; see also Ace Auto Body, 171 F.3d at 772. In the context of the safety exception to FAAAA

preemption, the Supreme Court has held that “[l]ocal regulation of prices, routes, or services of

tow trucks that is not genuinely responsive to safety concerns garners no exemption from

§ 14501(c)(1)’s preemption rule.” Ours Garage, 536 U.S. at 442. Following Ours Garage, the

Second Circuit held that courts must “no longer consider simply whether a regulation is reasonably

related to safety but must determine whether, in light of the legislative body’s purpose and intent,

the regulation is ‘genuinely responsive’ to safety concerns.” Loyal Tire & Auto Ctr., Inc. v. Town

of Woodbury, 445 F.3d 136, 145 (2d Cir. 2006) (Sotomayor, J.); accord Auto. Club of N.Y., Inc. v.

Dykstra, 520 F.3d 210, 214 (2d Cir. 2008). Unlike safety concerns, regulators are unlikely to

restrict size and weight restrictions as an end unto themselves. 27 Therefore, in the context of the

size and weight exception, the appropriate question is whether the law at issue is genuinely

responsive to concerns actually related to the vehicle’s size and weight.

        Defendants argue that the Tolling Program charges trucks a higher and more frequent fare

than smaller vehicles because trucks have an “outsized impact on congestion, because of their

larger size.” Trucking, Dkt. No. 80 at 19 (quoting TMRB Report at 20 (noting that trucks’ large



27
   Size and weight restrictions are more likely aimed at reducing wear and tear upon the roadways,
reducing truck traffic in residential areas, promoting the safety of motorists, cyclists, and
pedestrians (in which case the law might doubly fall within both the safety and size and weight
exceptions), or myriad other reasons. See Scheiner, 483 U.S. at 300 (O’Connor, J., dissenting)
(noting that Arkansas “opened its highways to the heaviest trucks only upon the understanding that
it might collect sufficient revenue from those trucks . . . to compensate for the damage they do to
its roads”); Ctr. for Auto Safety v. Dole, 582 F. Supp. 1444, 1449 (D.D.C. 1984) (noting that wide
trucks may require different lane sizes for safety reasons). So long as the law is properly motivated
by the different impact of a vehicle’s size or weight—and does not merely reference size and
weight as a proxy to single out motor carriers—it is likely that the law is “genuinely responsive”
to those concerns.


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size and large turning radii along with their parking patterns disproportionately contribute to

congestion)). TANY does not dispute that outsized impact. Because TANY does not establish

that the Tolling Program’s size and weight restriction does not genuinely further Defendants’ goals

of reducing congestion, it has not shown that the preemption exception is unavailable on that basis.

The fact that the Tolling Program is additionally intended to generate revenue does not prevent

application of the exception. See Cal. Tow Truck Ass’n v. City & Cnty. of S.F., 693 F.3d 847, 860

(9th Cir. 2012) (“[T]he presence of such mixed motives . . . does not preclude the application of

the safety exception, provided that the State’s safety motives are not pre-textual.” (citation

omitted)); see also Cal Tow Truck Ass’n v. City & Cnty. of S.F., 807 F.3d 1008, 1020 (9th Cir.

2015) (“Determining whether an asserted safety motive is not pretextual is equivalent to asking

whether a law is ‘genuinely responsive’ to safety concerns—in other words, whether the

challenged provision has a logical connection to motor vehicle safety.” (citation omitted)).

       Finally, TANY argues that the Tolling Program is not in fact based on the size or weight

of the vehicles to which it applies. 28 TANY claims that the fact that “transit buses of at least the

same size and weight as many delivery trucks are completely exempt from the Tolling Program”

demonstrates that the Tolling Program is not a size and weight restriction. Trucking, Dkt. No. 76

at 25–26. In support, TANY cites Colorado Motor Carriers Association v. Town of Vail, in which

the Colorado District Court held that a local ordinance that prohibited all vehicles from accessing



28
   Undoubtedly, restrictions based on factors other than the vehicle’s size and weight—either as
written or as applied—cannot claim the exception. See Cal. Dump Truck Owners Ass’n v. Davis,
302 F. Supp. 2d 1139, 1144 (E.D. Cal. 2002) (holding that the FAAAA did not preempt restrictions
based on specified vehicle sizes but could preempt a state regulation that authorized local
governments to enact ordinances regarding “‘certain classes of vehicles’ such as trucks, or tractors,
or oversize or ‘excessively noisy’ vehicles, or those lacking air-inflated tires” to the extent that the
regulation was used to permit classifications based on factors other than the vehicle’s size and
weight (quoting City of Lafayette v. Cnty. of Contra Costa, 91 Cal.App.3d 749, 756 n.2 (Cal. Ct.
App. 1979))).


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a pedestrian mall area but provided exceptions for a plethora of vehicles that threatened safety just

as much as the non-exempted motor carriers did was preempted. 2023 WL 8702074, at *10 (D.

Colo. Dec. 15, 2023). 29 The court held that the ordinance was not genuinely responsive to safety

concerns because there was no logical nexus between the prohibition of delivery trucks in

particular on the pedestrian mall and the town’s stated safety concerns. Id. at *10. Here, there is

a logical connection between the restriction on trucks and the associated exemption for public

buses—Defendants state that trucks have an oversized contribution to congestion, while public

commuter buses may reduce congestion by consolidating many cars’ worth of passengers into a

single vehicle. Trucking, Dkt. No. 80 at 19. The exception for buses does not indicate that the

Tolling Program is not actually based on vehicular size and weight.

       TANY fails to show a likelihood of success on the merits with respect to its claim that the

FAAAA preempts the Tolling Program either because it has a significant impact on motor carriers’

rates, routes, or services or because the size and weight exception does not apply.

               4.      The Green Amendment

       The Green Amendment to the New York State Constitution states that “[e]ach person shall

have a right to clean air and water, and a healthful environment.” N.Y. Const. art. I, § 19. Plaintiffs

in Mulgrew and Chan argue that they are likely to succeed on the merits of their claims that the

Tolling Program violates New York State’s Green Amendment. Mulgrew, Dkt. No. 122 at 3–4,

Dkt. No. 130 at 5–8; Chan, Dkt. No. No. 134 at 3–4, Dkt. No. 142 at 5–8. Plaintiffs contend that

the Green Amendment establishes substantive rights and “requires state agencies to take


29
    The ordinance exempted “(1) public transportation vehicles; (2) emergency vehicles;
(3) vehicles owned or specially permitted by the Town; (4) Town-approved contractors delivering
commercial goods; (5) armored money vehicles; (6) waste and recycling collection vehicles;
(7) vehicles entering or exiting a parking structure to access a business or residence; (8) property
owners and their guests actively loading or unloading; [and] (9) guests checking in or out of any
accommodation establishment located in the Pedestrian Mall Area[ ]s.” Id. at *3–4.


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appropriate action to ensure that their processes do not abridge individual environmental rights to

‘clean air and water, and a healthful environment.”’ Mulgrew, Dkt. No. 130 at 6; Chan, Dkt.

No. 142 at 6.    Defendants argue that the Green Amendment “does not impose additional

substantive or procedural requirements addressed by other laws such as NEPA.” Mulgrew, Dkt.

No. 105 at 22; Chan, Dkt. No. 118 at 22.

       The Green Amendment’s path to the New York State Constitution was a highly-involved

one. The New York State Constitution sets forth a three-step process for amending the constitution

through a ballot initiative. N.Y. Const. art. XIX, § 1. First, both the Senate and Assembly must

propose the amendment, whereupon the Attorney General will render a written opinion “as to the

effect of such amendment or amendments upon other provisions of the constitution.” Id. The

amendment must then win the majority vote in both houses. Id. Next, the legislature waits until

there is a general election, following which the newly-elected legislature must again pass the

proposed amendment by majority vote in both houses. Id. Following the second passage, the

proposal is submitted to the electorate, again requiring a majority vote. Id. The Green Amendment

was first proposed in 2017 but failed to amass majority support in either legislative house. A6279,

2017–2018 Reg. Sess. (N.Y. 2017); S5287 2017–2018 Leg. Sess. (N.Y. 2017). The proposed

amendment mustered enough support to proceed in the following legislative session. A2064,

2019–2020 Reg. Sess. (N.Y. 2019); S2072, 2019–2020 Leg. Sess. (N.Y. 2019). The Assembly

and Senate passed the amendment by majority vote again the following session. A1368, 2021–

2022 Reg. Sess. (N.Y. 2021); S528, 2021–2022 Leg. Sess. (N.Y. 2021). The Green Amendment

was placed on the ballot during the 2021 election and the voters passed it by an overwhelming

majority. See N.Y. Bd. of Elections, Proposition Number Two (2021), https://elections.ny.gov/

2021-general-election-ballot-proposal-2-results (2,129,051 New Yorkers voted in favor of the




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Green Amendment, while 907,159 opposed the amendment). The Green Amendment finally

became part of the state constitution on January 1, 2022. N.Y. Const. art. I, § 19.

       The Green Amendment’s influence on environmental jurisprudence in New York is still in

its infancy. See Marte v. The City of New York, 2023 WL 2971394, at *2 (N.Y. Sup. Ct. Apr. 17,

2023). However, a review of the five states that adopted constitutional provisions safeguarding

environmental rights before New York’s indicates that “(1) that constitutional environmental rights

have been interpreted primarily as procedural, not substantive, rights, and (2) that courts ignore

the substantive rights language in the constitutional text in favor of other language, which is then

given its content through other legal doctrines.”       Amber Polk, The Unfulfilled Promise of

Environmental Constitutionalism, 74 Hastings L.J. 123, 165 (2022); see Marte, 2023 WL

2971394, at *2. 30 The few New York courts to have faced the issue have taken a similar approach.

See, e.g., People by James v. PepsiCo, Inc., 2024 WL 4685935, at *5 (N.Y. Sup. Ct. Oct. 31, 2024)

(“While Plaintiff points to the Green Amendment to the State Constitution which establishes the

right to clean water, clean air, and a heathy environment, Plaintiff is unable to reference any

statutory obligations that Defendants have violated by producing these bottles and plastic

wrappings.”); Streeter v. N.Y.C. Dep’t of Env’t Prot., 213 N.Y.S.3d 865, 870 (N.Y. Sup. Ct. 2024)

(The Green Amendment[] . . . was not intended to change existing laws, such that it allow[s] this

Court, in essence, to become the forum to modify the Administrative Code.”); Marte, 2023 WL

2971394, at *3 (“The Court hesitates to create a brand-new route to challenge developments on an

environmental basis.”).




30
   The five states to have adopted constitutional provisions similar to the Green Amendment prior
to New York’s ratification are Hawaii, Illinois, Massachusetts, Montana, and Pennsylvania. See
Haw. Const. art. XI, § 9; Ill. Const. art. XI, § 2; Mass. Const. art XCVII; Mont. Const. art. II, § 3;
Penn. Const. art. I, § 27.


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       The Court joins in those courts’ hesitance to read the Green Amendment as creating a self-

executing substantive right that imposes environmental standards above and beyond the state’s

preexisting—and robust—environmental regulatory regime. “A [c]ourt is not the right forum to,

essentially, modify the state’s environmental regulatory scheme[;] . . . that is the province of the

legislature.” Marte, 2023 WL 2971394, at *3; accord Streeter, 213 N.Y.S.3d at 870. The two

legislatures that passed the Green Amendment did so against the existing backdrop of laws and

regulations including the State Smart Growth Public Infrastructure Policy Act, N.Y. Env’t

Conserv. Law §§ 6-0101 et seq.; the State Environmental Quality Review Act, N.Y. Envtl.

Conserv. Law §§ 8–0101 et seq. (“SEQRA”); the New York Ocean and Great Lakes Ecosystem

Conservation Act, N.Y. Env’t Conserv. Law §§ 14-0101 et seq.; and a series of compacts with

nearby states to control pollution.31 “A fundamental rule of statutory construction provides that

the Legislature does not act in a vacuum, but is aware of the existing state of the law at the time it

enacts new legislation.” Delese v. Tax Appeals Tribunal of State of N.Y., 771 N.Y.S.2d 191, 194

(2004). Had the New York Legislature wished to supplement the state’s environmental regime by

creating a higher legal standard, it could have done so with far less effort and fanfare by passing a

law in a single legislative session.

       Instead, the Green Amendment appears to operate more like the Education Article which

guarantees only a “sound basic education.” Campaign for Fiscal Equity, Inc. v. State, 655 N.E.2d

661, 665–66 (N.Y. 1995) (discussing N.Y. Const. art. XI, § 1). 32 In Bd. of Educ., Levittown Union



31
   These examples represent only a fraction of New York’s environmental legislative landscape
and do not account for the additional state regulations, municipal laws and regulations, or federal
laws and regulations that provide further environmental safeguards including public and private
causes of action.
32
   The proposed amendment’s sponsors articulated a similar viewpoint. Assemblymember
Englebright, who sponsored the proposed amendment in all three legislative sessions in which it



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Free Sch. Dist. v. Nyquist, the New York Court of Appeals held that the Education Article required

only a “State-wide system assuring minimal acceptable facilities” such that “[i]f what is made

available by this system . . . may properly be said to constitute an education, the constitutional

mandate is satisfied.” 439 N.E.2d 359, 368 (N.Y. 1982). “The Education Article does not

guarantee any particular level or amount of state funding, but rather it guarantees students the

opportunity to achieve a basic level of education.” Aristy-Farer v. State, 81 N.E.3d 360, 363 (N.Y.

2017). 33

        The Green Amendment’s guarantee of “clean air and water, and a healthful environment”

thus should not be read to forbid every government action that in any way lessens the cleanliness

of any New Yorkers air or water or makes the environment less healthful. Every infrastructure

project will, by its nature, have disparate effects. Some, particularly those who live within or near

the construction site, will experience environmental deterioration even if the vast majority do not.

The question is not whether any New Yorker is made worse off. It is whether New York State

operates a system that ensures all its citizens have a baseline level of clean air, clean water, and a

healthful environment. The Court’s reading does not render the Green Amendment a “nullity,” as




was introduced, clarified during debate that the Green Amendment “does not change . . . any of
the existing laws of the State.” Mulgrew, Dkt. No. 126-4 at 35; see also id. (Assemblymember
Englebright stated: “Anyone who wants to use the legal system to bring an action now can do
that.”). Senator Carlucci, a two-time sponsor of the amendment, likewise stated his understanding
that the amendment would act as “backstop” as environmental laws changed. N.Y. Sen. Reg. Sess.
(Apr. 30, 2019). Senator Jackson, who sponsored the amendment during the 2021–2022 legislative
session, expressly compared the amendment to the Education Article, stating: “A lawsuit had to
be filed in order for the court to decide what the entitlement was for a sound, basic education. I
hope that that’s not the case in defining clean water and clean air. But if necessary, then that’s
what has to happen.” N.Y. Sen. Reg. Sess. (Jan. 12, 2021).
33
   Aggrieved students and parents may still seek recourse from their school districts or pursuant to
enabling legislation. Id. at 368.


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Plaintiffs in Mulgrew and Chan protest, but merely a lower standard than Plaintiffs might prefer.

Mulgrew, Dkt. No. 122 at 4 n.2; Chan, Dkt. No. 134 at 4 n.2. 34

       Plaintiffs fail to show that the Tolling Program would deny their right to those

constitutional minimums. New York operates a system to preserve the environment and guard

against public or private acts that would deprive New Yorkers of clean air and water or a healthful

environment. For example, SEQRA operates as a state analog to NEPA that requires agencies to

identify and take a “hard look” at the relevant areas of environmental concern so as to properly

inform decisionmakers. See Stewart Park & Rsrv. Coal., Inc. (SPARC) v. Slater, 352 F.3d 545,

558 (2d Cir. 2003) (citation omitted). Plaintiffs do not establish that New York’s legislative system

is failing to ensure its baseline environmental aims.

         Plaintiffs in Chan and Mulgrew argue that the diverted traffic will lead to negative

environmental impacts and worse health outcomes for certain communities outside the CBD.

Chan, Dkt. No. 142 at 4 (citingChan, Dkt. No. 78-4 ¶¶ 2–7, Dkt. No. 78-14 ¶¶ 3–5, 13, Dkt.

No. 78-15 ¶¶ 1, 5, Dkt. No. 78-16 ¶¶ 2–3); Mulgrew, Dkt. No. 130 at 4 (citing same). For example,

Elizabeth Chan avers that she is “concerned about the environmental impact of congestion pricing

on BPC” and that due to the “likelihood of increased traffic on the lower sections of the FDR

Drive,” she also fears “that increases in ambulance response time, and in exposure to air pollution

will increase [her] and [her] children’s risk of suffering adverse health outcomes.” Chan, Dkt.

No. 78-4 ¶ 4. Rachel Ehrenpreis similarly avers that her “apartment sits on a low floor, with




34
   Other courts have also suggested that the Green Amendment widens parties’ ability to assert
standing for environmental challenges. See Streeter, 213 N.Y.S.3d at 870 (“[A] key purpose of
the Green Amendment’s passage is to address the issue of standing in environmental cases.”);
Marte, 2023 WL 2971394, at *3 (“Including in New York’s Bill of Rights an affirmative right to
clean air, water and a healthful environment will undoubtedly make it easier for parties to seek
relief where, potentially, they may not have been able to previously make such application.”).


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windows overlooking the very area of the FDR Drive that is slated to have increased congestion

as a result of the proposed CBD toll, risking increased pollution and potential health risks for [her

and her family] any time we leave our apartment, or even within” and that she has family in

Rockland County and is worried that “every category of pollutant is set to increase in the area.”

Chan, Dkt. No. 78-15 ¶¶ 1, 5. 35 Sean Carney avers that traffic diverted from Manhattan to New

Jersey communities like Norwood, where he lives, will cause an increase in pollutants and toxins

that may exacerbate his motor neuron disease. Chan, Dkt. No. 78-16 ¶ 3.

       None claim that their environment will be so deteriorated as to deny them access to clean

air, clean water, or a healthful environment. Although several Plaintiffs express concerns that the

increased traffic will lead to negative health outcomes for themselves or family members, they do

not show those fears are well-founded. In Hudson Riverkeeper Fund, Inc. v. Yorktown Heights

Sewer District, Judge Rakoff held that even though “defendants’ wastewater treatment plant has

repeatedly discharged pollutants in excess of limits set by applicable state permits[,] the extent of

the offending efflux appears minimal.” 949 F. Supp. 210, 211 (S.D.N.Y. 1996). Although the

plaintiffs complained that their fear that New York City water was contaminated had caused them

to buy bottled water, filter their tap water, and switch from baths to showers, Judge Rakoff held

those unsupported concerns to be “premised on conjecture and surmise” rather than actual

evidence of environmental ills. Id. at 212; see also Matter of Defend H20 v. Town Bd. of the Town

of E. Hampton, 147 F. Supp. 3d 80, 103 (E.D.N.Y. 2015) (stating that unsupported declaration was

insufficient to establish environmental injury). Plaintiffs’ concerns are similarly speculative.




35
   The final EA contradicts Ehrenpreis’ worry as it states that most of the pollutant categories
assessed are predicted to decrease in Rockland County both in the short and long term.
DOT 36838–57.


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       The Tolling Program is a congestion mitigation and air quality improvement program

aimed in part at improving access to clean air throughout the New York City metropolitan region.

The environmental assessment found that it offered regional air quality benefits by reducing

pollutants and greenhouse gases across the several multi-county studies. DOT 7251 (10 counties),

7289 (12 counties), 36838 (12 counties), 36983 (12 counties), 37014–15 (28 counties). While a

few counties and intersections are expected to see an increase in traffic and pollution, most will

not. For the majority, the environmental effects of the Tolling Program will be beneficial. The

Green Amendment cannot be wielded to prevent an initiative with broad environmental benefits

on the basis of a few localized harms that do not deprive those New Yorkers of access to clean air

and water or a healthful environment. A rule that prevented any government act that worsened

environmental outcomes for even a single New Yorker while improving those outcomes for

everyone else would go far beyond the environmental scheme the New York Legislature has

adopted and would essentially stymie any development project or pro-environment initiative.

Absent a showing that the individuals made worse off by the Tolling Program are actually being

denied the constitutional minimum of state systems to preserve a healthful environment, Plaintiffs

fail to show a likelihood of success as to their Green Amendment claims.

               5.      SAPA

       The New York State Administrative Procedure Act imposes certain requirements on

rulemaking agencies and provides for judicial review of agency rules. See N.Y. A.P.A. Law

§§ 100 et seq. Plaintiffs in New Yorkers argue that they are likely to succeed on the merits of their

claim that Defendants failed to comply with SAPA by neglecting to “incorporate the

socioeconomic consequences of Congestion Pricing into its rulemaking process and decision

making.” New Yorkers, Dkt. No. 121 at 7–9. The Municipal Defendants argue that (1) SAPA did

not require further economic analyses because the toll rate schedule is exempt from such


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requirements and (2) the environmental assessment did consider the economic impacts of the toll

structure. New Yorkers, Dkt. No. 130 at 10–16. The rule at issue is the Phase-In Tolling Structure

that set forth the different rates to be assessed upon different classes of vehicles pursuant to the

phase-in approach. 50 N.Y. Reg. 12, 81–82 (Dec. 11, 2024). 36

                       a.     Rulemaking Requirements

       SAPA describes two types of agency rules, known as “Type (i) rules” and “Type (ii) rules.”

N.Y. A.P.A. Law § 102(a). Type (i) rules are “the whole or part of each agency statement,

regulation or code of general applicability that implements or applies law, or prescribes a fee

charged by or paid to any agency or the procedure or practice requirements of any agency,

including the amendment, suspension or repeal thereof.” N.Y. A.P.A. Law § 102(a)(i). Type (ii)

rules are “the amendment, suspension, repeal, approval, or prescription for the future of rates,

wages, security authorizations, corporate or financial structures or reorganization thereof, prices,

facilities, appliances, services or allowances therefor or of valuations, costs or accounting, or

practices bearing on any of the foregoing whether of general or particular applicability.” N.Y.

A.P.A. Law § 102(a)(ii). SAPA provides that rulemaking agencies must undertake different levels

of economic analysis depending on the type of rule at issue. SAPA requires agencies to conduct

two relevant economic assessments as part of the rulemaking process for Type (i) rules that are

not required for Type (ii) rules. See N.Y. A.P.A. Law §§ 201-a(6)(a)(1) (before proposing a

Type (i) rule—but not a Type (ii) rule—“an agency shall evaluate the potential impact of the rule


36
  In the Court’s prior opinion and order, the Court held that the New Yorkers SAPA claim has not
yet accrued because the final tolling structure adopted by the TBTA had not yet been filed with
the Secretary of State or published in the State Register. See Mulgrew, 2024 WL 3251732, at *17–
18. The Court therefore dismissed the claim without prejudice. See id. Since then, the Phase-In
Tolling Structure been filed with the Secretary of State and published in the State Register, and
the claim thus has now accrued. See New Yorkers, Dkt. No. 122–1; 50 N.Y. Reg. 12; Isabella
Geriatric Ctr., Inc. v. Novello, 2005 WL 3816962, at *7 (Sup. Ct. 2005), aff’d, 833 N.Y.S.2d 5
(1st Dep’t 2007).


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on jobs and employment opportunities”); 202-b(3) (in developing a Type (i) rule—but not a

Type (ii) rule—“the agency shall consider utilizing approaches that will accomplish the objectives

of applicable statutes while minimizing any adverse economic impact of the rule on small

businesses and local governments”); Hudson River Sloop Clearwater, Inc. v. N.Y. State Pub. Serv.

Comm’n, 119 N.Y.S.3d 390, 390 (N.Y. Sup. Ct. 2019). The Municipal Defendants contend that

the Phase-In Tolling Structure is a Type (ii) rule and therefore that no additional economic analyses

were needed. New Yorkers, Dkt. No. 130 at 10–15. Plaintiffs argue that the rule should instead

be viewed as a Type (i) rule because it “implements or applies law”—the Traffic Mobility Act.

New Yorkers, Dkt. No. 121 at 5, Dkt. No. 133 at 3. 37 Defendants have the better argument.

        The Court begins with SAPA’s plain language. See Lisa T. v. King E. T., 91 N.E.3d 1215,

1215 (N.Y. 2017) (“[T]he starting point in any case of interpretation must always be the language

itself, giving effect to the plain meaning thereof.” (citation omitted)). The Municipal Defendants

argue that the Phase-In Tolling Structure falls “squarely within SAPA’s definition of Type (ii)

rules because it is the ‘approval’ or ‘prescription’ of ‘future’ ‘rates’ of ‘general . . . applicability.”’

New Yorkers, Dkt. No. 130 at 11 (quoting N.Y. A.P.A. Law § 102(2)(a)(ii)). The proposed rule

sets forth only the different toll rates and exemptions to be applied. See Hudson River Sloop, 119

N.Y.S.3d at 390 (finding rule “was properly promulgated as an economic rule under SAPA



37
   At the preliminary injunction hearing, Plaintiffs also argued that the rule should be classed as a
Type I rule because it “prescribes a fee.” Tr. at 37. Plaintiffs waived this argument by failing to
raise it in any of their filings in support of the preliminary injunction motion. See In re Monster
Worldwide, Inc. Sec. Litig., 251 F.R.D. 132, 137 (S.D.N.Y. 2008) (“[T]his argument was raised
for the first time at oral argument and so was waived in terms of this motion.”); Moody v. Morris,
608 F. Supp. 2d 575, 580 n.1 (S.D.N.Y. 2009), aff’d, 407 F. App’x 434 (Fed. Cir. 2011). Plaintiffs’
fee argument would fail even if properly raised. SAPA’s definition of rules expressly excludes
“any fee which is . . . less than one hundred dollars.” N.Y. A.P.A. Law § 102(2)(b)(xi). Therefore,
even if the Phase-In Tolling Structure was read as implementing a fee rather than setting a rate,
the TBTA still would not have been required to perform the economic assessments at issue in the
New Yorkers Plaintiffs’ SAPA claim.


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§ 102(a)(ii)” where it acted as “a prescription for future allowances for facilities and services as

well as a practice bearing on rates”). Indeed, Black’s Law Dictionary defines rate as “[a]n amount

paid or charged for a good or service.” Rate, Black’s Law Dictionary (12th ed. 2024); see also

Carey Transp., Inc. v. Triborough Bridge & Tunnel Auth., 345 N.E.2d 281, 282 (N.Y. 1976)

(referring to the TBTA’s authority to fix “toll rates”). It is the New York Legislature’s Traffic

Mobility Act—not the TBTA’s rule—that outlines the structure the Tolling Program is to take

including the boundaries of the CBD, the parameters of the variable tolling structure, and the

exemptions to be contemplated and applied. See N.Y. Veh. & Traf. Law §§ 1701 et seq.

       The Traffic Mobility Act grants the TBTA the authority to establish tolling rates and charge

tolls “[c]onsistent with the goals of reducing traffic congestion within the central business district

and funding capital projects” and subject to certain guidelines. N.Y Veh. & Traf. Law § 1704-

a(1). 38 Such delegation is necessary to permit agency action such as setting and enforcing toll

rates. “As a creature of the Legislature, an agency is clothed with those powers expressly conferred

by its authorizing statute, as well as those required by necessary implication.” Acevedo v. N.Y.

State Dep’t of Motor Vehicles, 77 N.E.3d 331, 343 (N.Y. 2017) (citation omitted); accord Dep’t

of Pers. of City of N.Y. v. N.Y.C. Civ. Serv. Comm’n, 588 N.E.2d 71, 71 (N.Y. 1991) (“An

administrative agency has only those powers expressly or impliedly given it.”). To read agency

actions taken pursuant to the Legislature’s grant of authority as necessarily implementing or

applying the authorizing statute would be to swallow Type (ii) rules entirely. In order to avoid




38
  The Act states that “the Triborough bridge and tunnel authority shall have the power, subject to
agreements with its bondholders, and applicable federal law to establish and charge variable tolls
and fees for vehicles entering or remaining in the central business district at any time and shall
have the power, subject to agreements with bondholders, and applicable federal law to make rules
and regulations for the establishment and collection of central business district tolls, fees, and other
charges.” Id.


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rendering Section 102(a)(ii) a nullity, a “standard rule of construction” directs that “whenever there

is a general and a particular provision in the same statute, the general does not overrule the

particular but applies only where the particular provision is inapplicable.” Iazzetti v. City of N.Y.,

723 N.E.2d 81, 81 (N.Y. 1999); see also Stefanik v. Hochul, 211 N.Y.S.3d 574, 583 (3d Dep’t

2024) (“[T]he general/specific [canon] of construction seeks to avoid ‘the superfluity of a specific

provision that is swallowed by the general one, violating the cardinal rule that, if possible, effect

shall be given to every clause and part of a statute.’” (quoting RadLAX Gateway Hotel, LLC v.

Amalgamated Bank, 566 U.S. 639, 645 (2012))), aff’d, 2024 WL 3868644 (N.Y. Aug. 20, 2024).

The fact that the Phase-In Tolling Structure could also fit the Type (i) rule definition therefore does

not remove it from the ambit of the more specific Type (ii) rule definition.

        The TBTA has consistently promulgated toll rate schedules as Type (ii) rules for many

years. New Yorkers, Dkt. No. 130 at 12–13 & n.12 (collecting toll rate schedules promulgated as

Type (ii) rules). The Court does not accord deference to the TBTA’s interpretation of SAPA. See

Indus. Liaison Comm. of Niagara Falls Area Chamber of Com. v. Williams, 527 N.E.2d 274, 274

(N.Y. 1988) (“Regulatory promulgation consistent with the provisions of the State Administrative

Procedure Act is not a matter which rests within the particular and specialized expertise of the

[agency]”); see also id. (Because the agency’s “specialized knowledge is not necessarily

implicated, the courts use their own competence to decide issues of law raised, since those

questions are of ordinary statutory reading and analysis.”). Nonetheless, at the preliminary

injunction hearing, Plaintiffs identified one rule that the TBTA had previously promulgated as a

Type (i) rule. Tr. at 35 (discussing 21 N.Y.C.R.R. § 1021.3). That rule is highly distinguishable

from the rule at issue here and provides a helpful illustration of the rate-setting nature of the Phase-

In Tolling Structure. The TBTA’s admittedly Type (i) rule did not merely adopt a schedule of toll




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rates but instead set forth rules pertaining to penalties for nonpayment of tolls including procedures

for notifying violators of nonpayment, enforcing penalties, receiving and evaluating disputes, and

suspending violators’ vehicle registrations. 21 N.Y.C.R.R. § 1021.3. Here, by contrast, the Phase-

In Tolling Structure states only the variable amounts motorists must pay to access the CBD. 39

       Ultimately, because Plaintiffs fail to establish the Phase-In Tolling Structure is a Type (i)

rule that would require the additional economic analyses they claim were not performed, Plaintiffs

fail to show a likelihood of success as to their SAPA claims.

                       b.      Economic Assessment

       The Municipal Defendants also argue that the TBTA did consider the economic impact of

the Tolling Program, as the TBTA was a Project Sponsor of the environmental assessment which

“thoroughly analyzed the potential effects of the Program on socioeconomic conditions.” New

Yorkers, Dkt. No. 130 at 15–16. Chapter 6 of the final EA was devoted to assessing “the potential

effects of implementing the CBD Tolling Alternative on economic conditions within the affected

environment at both the regional and neighborhood levels.” DOT 36684. As summarized above,

that chapter represented a thorough analysis of the economic impacts the Tolling Program would

have on workers, industries including trucking, tourism, real estate, and other facets of the regional

economy. Supra § II.B.2. The final EA demonstrated focuses on impacts to labor, DOT 36733–

47, 36766–67, and small businesses, DOT 36695–96.

       However, the Municipal Defendants stop short of arguing that the TBTA’s work in

connection with the draft and final EAs satisfies its duties under SAPA. SAPA requires that even



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  The New York Legislature appears to agree. On December 18, 2023, the TBTA sent notices of
the proposed tolling schedule to the Administrative Regulations Review Commissions for the New
York State Senate and Assembly stating that the proposed toll rate schedule was being
promulgated pursuant to N.Y. A.P.A. Law § 102(2)(a)(ii). New Yorkers, Dkt. No. 131 ¶ 4. Neither
Commission expressed any objections. Id.


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if “it is apparent from the nature and purpose of the rule that it will not have a substantial adverse

impact on jobs and employment opportunities,” the agency shall include a statement to that effect

in the notice of proposed rule making. N.Y. A.P.A. Law § 201-a(2)(a). Similarly, even where an

agency finds that a proposed rule “does not impose an adverse economic impact on small

businesses or local governments,” the agency must include that “finding and the reasons upon

which the finding was made, including what measures the agency took to ascertain that the rule

would not impose such compliance requirements, or adverse economic impact on small businesses

or local governments” in the rule making notice. N.Y. A.P.A. Law § 202-b(3)(a). The TBTA’s

participation in the environmental assessment pursuant to NEPA therefore does not entirely satisfy

the requirements for a Type (i) rule under SAPA.

       B.      Irreparable Harm

       “[T]he single most important prerequisite for the issuance of a preliminary injunction” is

whether the litigant seeking the injunction “would be irreparably injured in the absence of

preliminary injunctive relief.” Yang v. Kosinski, 960 F.3d 119, 128 (2d Cir. 2020). “Irreparable

harm is injury that is neither remote nor speculative, but actual and imminent and that cannot be

remedied by an award of monetary damages.” New York ex rel. Schneiderman v. Actavis PLC,

787 F.3d 638, 660 (2d Cir. 2015) (citation omitted). The key word is “irreparable” and “[t]he

possibility that adequate compensatory or other corrective relief will be available at a later date, in

the ordinary course of litigation, weighs heavily against a claim of irreparable harm.” Sampson v.

Murray, 415 U.S. 61, 90 (1974); accord Jayaraj v. Scappini, 66 F.3d 36, 39 (2d Cir. 1995)

(“[W]here monetary damages may provide adequate compensation, a preliminary injunction

should not issue.”).

       Plaintiffs offer a wide variety of purported irreparable harms. Plaintiffs in New Yorkers

state that the Tolling Program threatens them with irreparable injury because once the program is


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implemented, it cannot be effectively wound back. New Yorkers, Dkt. No. 121 at 9. TANY argues

that the economic injuries its members will suffer are irreparable and further argues that because

the Tolling Program violates constitutional rights, irreparable injury is presumed. Trucking, Dkt.

No. 4 at 25–26, Dkt. No. 89 at 13–16. Plaintiffs in Chan and Mulgrew similarly argue that

irreparable injury is presumed in connection with the alleged constitutional violations and further

that the environmental harms associated with diverted traffic are irreparable. Chan, Dkt. No. 134

at 4–5; Mulgrew, Dkt. No. 122 at 4–5. In the aggregate, Plaintiffs are therefore concerned with

(1) economic impacts, (2) injury to constitutional rights, and (3) the environmental ramifications.

The Court reviews each in turn.

               1.      Economic Impacts

       Plaintiffs argue that if the Tolling Program takes effect, they will be irreparably harmed by

the expense of paying the toll and potential loss of business.

       At the outset, while toll payers may be harmed by the fee, that harm is compensable by

money damages. To put it simply, monies paid may be refunded. The Municipal Defendants aver

that toll payers may pay the toll either through E-ZPass or, “[i]f the vehicle is not associated with

an E-ZPass account, the registered owner of the vehicle will receive a toll bill in the mail.” Chan,

Dkt. No. 139 ¶ 12; Mulgrew, Dkt. No. 127 ¶ 12; New Yorkers, Dkt. No. 125 ¶ 12; Trucking, Dkt.

No. 82 ¶ 12. In either event, a record will be made and kept of the toll imposed and the entity or

individual who paid it. Accordingly, should Plaintiffs prevail, the TBTA may refund the tolls paid

by (1) crediting the E-ZPass accounts for New York account holders, (2) issuing refunds to the

respective state tolling agency for out-of-state E-ZPass account holders, and (3) reversing credit

card charges or issuing a refund check to individuals without E-ZPass accounts. Chan, Dkt.

No. 139 ¶¶ 13–14; Mulgrew, Dkt. No. 127 ¶¶ 13–14; New Yorkers, Dkt. No. 125 ¶¶ 13–14;

Trucking, Dkt. No. 82 ¶¶ 13–14. Courts in this Circuit have found similar repayment proposals to


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foreclose a showing of irreparable harm. See, e.g., Auto. Club of N.Y. v. Port Auth. of N.Y. & N.J.,

842 F. Supp. 2d 672, 676 (S.D.N.Y. 2012) (“Since E–Z Pass presumably maintains an electronic

record of toll charges, drivers could have their E–Z Pass accounts or associated credit cards

refunded if this Court were to reverse the tolls.”); Bridgeport, Port Jefferson Steamboat Co. v.

Bridgeport Port Auth., 2004 WL 840140, at *4 (D. Conn. Apr. 15, 2004) (Droney, J.) (“[W]hile

the individual passenger plaintiffs have demonstrated that they will be harmed by the surcharge,

the Court finds that the Port Authority will be able to reimburse the individual plaintiffs for those

amounts if the Court orders it later in the litigation.”). TANY argues that “based on the tremendous

number of vehicles entering the [CBD], . . . it is simply not workable to redress this harm several

years in the future at the conclusion of this litigation.” Trucking, Dkt. No. 4 at 26. But TANY

does not make any evidentiary showing supporting this conclusory claim of impracticability. See

Bridgeport, 2004 WL 840140, at *4 (“As to whether all the passengers could be located to receive

their portion of any repayment, the plaintiffs have not shown that it would be unlikely or that

another method of relief is unavailable”). 40

       To the extent that Plaintiffs claim economic injury beyond the tolls they will pay, that harm

too is reparable. Any business claiming lost profits can, upon an ultimate finding that its rights

were violated, seek compensation for lost profits. Lost profits are the paradigmatic reparable harm.

See Dexter 345 Inc. v. Cuomo, 663 F.3d 59, 63 (2d Cir. 2011) (business’ potential inability to

continue operations was not irreparable harm because the business could calculate money damages



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  Even where money damages are available, a movant may still sometimes establish irreparable
harm “if the claim involves an obligation owed by an insolvent or a party on the brink of
insolvency.” CRP/Extell Parcel I, L.P. v. Cuomo, 394 F. App’x 779, 781 (2d Cir. 2010) (summary
order) (citing Brenntag Int’l Chems., Inc. v. Bank of India, 175 F.3d 245, 249–50 (2d Cir. 1999)).
Plaintiffs do not argue that the MTA would be unable to pay a judgment and have therefore waived
the argument. See Halpert Enterprises, Inc. v. Harrison, 2008 WL 4585466, at *3 (2d Cir. Oct.
15, 2008).


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for lost profits and goodwill based on past performance); Freeplay Music, Inc. v. Verance Corp.,

80 F. App’x 137, 138 (2d Cir. 2003) (“Lost profits alone are not sufficient to show irreparable

harm.”). No Plaintiff makes any showing that they will suffer incalculable financial injuries.

        Plaintiffs in New Yorkers claim a more widespread form of economic impact in the form

of city devitalization. They assert that “[t]he loss of business, particularly in Chinatown, Little

Italy, and Times Square may be irreversible, as commuting and travel times are adjusted to

consider costs.” New Yorkers, Dkt. No. 121 at 9, Dkt. No. 133 at 9. 41 This “proffer with respect

to the element of irreparable harm is wholly conclusory, and is unsupported by even a single

specific allegation of fact.” Vantone Grp. Liab. Co. v. Yangpu NGT Indus. Co., 2015 WL 1055933,

at *3 (S.D.N.Y. Mar. 11, 2015); see Helios & Matheson N. Am., Inc. v. Vegasoft Oy, 2007 WL

1541204, at *4 (S.D.N.Y. May 24, 2007) (“In the absence of any evidence, except for . . .

speculative testimony, the Court finds it is at best plausible, but not probable, that [plaintiff] could

lose business.”).   TANY similarly alludes to potential loss of business without supporting

evidence. Trucking, Dkt. No. 6 ¶¶ 12–13, 20 (The president of Lightning Express Delivery

Service, Inc., a member of TANY, averred that present costs of business “have already forced us

to increase our rates to the point where we have lost customers, with other customers threatening

to do the same if the rates keep going up” but also acknowledged that the carriers’ rates may not

go up because “[t]he unpredictable nature of the charges makes it impractical to pass the cost on

to customers.”). Absent an evidentiary showing, Plaintiffs do not establish that business will be

lost, let alone irreversibly so. See Auto. Club, 842 F. Supp. 2d at 677 n.3 (holding that amici’s fear



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   Plaintiffs in New Yorkers additionally claim that “[d]isruption of life for civil servants, nurses,
firefighters and small entrepreneurs may be irreversible.” New Yorkers, Dkt. No. 121 at 9. But
Plaintiffs offer no evidence that the toll will disrupt such individual’s lives and no explanation of
why, should they prevail on the merits, any disruption of life would be “irreversible” or otherwise
beyond compensation.


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of what “may befall the Staten Island manufacturing sector if the tolls are left in place is too remote

and speculative to support [plaintiff’s] motion”).

       The fear of potential lost business or devitalization is undermined by the administrative

record. The FHWA found that “changes in travel patterns brought on by the CBD Tolling

Alternative would not adversely affect any particular industry or occupational category in the

Manhattan CBD, including small businesses” and “[t]he analysis also indicates no adverse changes

to commercial traffic providing goods and services to the Manhattan CBD.” DOT 36669. Due to

the “high level of transit access in the CBD and high percentage of transit share,” the

environmental assessment predicts “[n]o adverse effects to any particular industry or occupational

category in the Manhattan CBD.” DOT 36224. And because “[a]ny cost increase associated with

the new toll . . . that would be passed along to receiving businesses would be distributed among

several customers per toll charge,” the environmental assessment also found that the Tolling

Program was “[u]nlikely to result in meaningful change in cost for most consumer goods . . .

especially for businesses, including small businesses and micro-businesses, receiving smaller

deliveries.” Id. 42 Where, as here, the purported irreparable harm “is remote, speculative, or a mere

possibility, the motion must be denied.” Jay’s Custom Stringing, Inc. v. Yu, 2001 WL 761067, at

*8 (S.D.N.Y. July 6, 2001).

               2.      Constitutional Rights

       As a general rule, “the alleged violation of a constitutional right triggers a finding of

irreparable injury.” Conn. Dep’t of Env’t Prot. v. O.S.H.A., 356 F.3d 226, 231 (2d Cir. 2004)

(citations omitted); see also 11A Wright & Miller, Federal Practice and Procedure, § 2948.1 (3d



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   However, the assessment noted that “[s]ome commodity sectors (construction materials,
electronics, beverages) are more prone to increases due to less competition within delivery
market.” Id.


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ed. 2020) (“When an alleged deprivation of a constitutional right is involved, such as the right to

free speech or freedom of religion, most courts hold that no further showing of irreparable injury

is necessary.”).

       However, the Second Circuit has “not consistently presumed irreparable harm in cases

involving allegations of the abridgement of” constitutional rights. Bronx Household of Faith v.

Bd. of Educ. of City of N.Y., 331 F.3d 342, 349 (2d Cir. 2003); see, e.g., Latino Officers Ass’n v.

Safir, 170 F.3d 167, 171 (2d Cir.1999); Kane v. De Blasio, 19 F.4th 152, 171 (2d Cir. 2021) (per

curiam); Time Warner Cable of N.Y.C. v. Bloomberg L.P., 118 F.3d 917, 924 (2d Cir. 1997)

(“Though impairment of First Amendment rights can undoubtedly constitute irreparable injury,

we think it often will be more appropriate to determine irreparable injury by considering what

adverse factual consequences the plaintiff apprehends if an injunction is not issued, and then

considering whether the infliction of those consequences is likely to violate any of the plaintiff's

rights.” (citation omitted)); see also Hohe v. Casey, 868 F.2d 69, 73 (3d Cir. 1989) (“Constitutional

harm is not necessarily synonymous with the irreparable harm necessary for issuance of a

preliminary injunction.”), cert. denied, 493 U.S. 848 (1989). “[A]n allegation of a constitutional

violation is not a magic wand that can be waved to conjure up irreparable harm.” Stallworth v.

Joshi, 2017 WL 8777378, at *7 (S.D.N.Y. Nov. 22, 2017) (Sullivan, J.). “Indeed, many courts

have distinguished between a plaintiff whose First Amendment rights are directly regulated or

restrained and one who retains her First Amendment rights but has suffered only economic injury

in the pursuit thereof.” Lost Lake Holdings LLC v. Town of Forestburgh, 2023 WL 8947154, at

*6 (S.D.N.Y. Dec. 28, 2023).

       Courts in this Circuit have identified two primary exceptions in which alleged violations

of constitutional rights are not presumed to be irreparably injurious: violations of non-personal




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constitutional rights and constitutional injuries that are compensable by money damages. See

Burroughs v. Cnty. of Nassau, 2014 WL 2587580, at *9 (E.D.N.Y. June 9, 2014); Smith v.

Fredrico, 2013 WL 122954, at *7 (E.D.N.Y. Jan. 8, 2013).

       First, “the cases where courts have held that a constitutional deprivation amounts to an

irreparable harm []are almost entirely restricted to cases involving alleged infringements of free

speech, association, privacy, or other rights as to which temporary deprivation is viewed of such

qualitative importance as to be irremediable by any subsequent relief.” Barrett v. Harwood, 967

F. Supp. 744, 746 (N.D.N.Y. 1997), aff’d, 189 F.3d 297 (2d Cir. 1999); accord Marano v. N.Y.C.

Transit Auth., 1993 WL 17434, at *3 (E.D.N.Y. Jan. 19, 1993); Vaqueria Tres Monjitas, Inc. v.

Irizarry, 587 F.3d 464, 484 (1st Cir. 2009). Where, for example, speech is actually chilled, no

money damages can adequately compensate. See Elrod v. Burns, 427 U.S. 347, 373 (1976). By

contrast, a violation of structural rights such as those that allocate power to the states or certain

branches of the federal government, does not necessarily injure—let alone irreparably injure—the

complainant. Where a government entity acts without proper constitutional authority and in so

doing causes injury to persons, the relevant injury is not the constitutional violation itself, because

that injury is certainly reparable upon cessation. Instead, the relevant injury is whatever derivative

injury the complainant suffered as a result of the unauthorized government act. Courts in this

Circuit have thus concluded that irreparable harm is presumed only for violations of:

       personal constitutional rights (coupled with, for example, some physical harm or
       loss of liberty, i.e., some tangible harm), to be distinguished from provisions of the
       Constitution that serve structural purposes—i.e., a provision of the Constitution
       relating to the division of power, say, between the States and the federal
       government, the violation of which is not necessarily accompanied by any tangible
       harm.

Am. Petroleum Inst. v. Jorling, 710 F. Supp. 421, 431 (N.D.N.Y. 1989); accord Spring Hill Cap.

Partners, LLC v. S.E.C., 2015 WL 10714010, at *7 (S.D.N.Y. June 29, 2015); United States v.



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City of New York, 2013 WL 12361934, at *5 (E.D.N.Y. Jan. 31, 2013); N.Y. State Rest. Ass’n v.

N.Y. City Bd. of Health, 545 F. Supp. 2d 363, 367 (S.D.N.Y. 2008), rev’d on other grounds, 556

F.3d 114 (2d Cir. 2009); E.E.O.C. v. Loc. 638, 1995 WL 355589, at *5 (S.D.N.Y. June 7, 1995).

       The Commerce Clause and Supremacy Clause both concern the division of power between

the states and the federal government and therefore enshrine structural, rather than personal, rights.

See Livery Round Table, Inc. v. N.Y.C. FHV & Limousine Comm’n, 2018 WL 1890520, at *10

(S.D.N.Y. Apr. 18, 2018) (noting that “the Supremacy Clause is a structural provision of the

Constitution that does not confer personal rights”); N.Y. State Rest., 545 F. Supp. 2d at 367 (holding

that the alleged injury “flowing from a possible violation of the Supremacy Clause appears to be

of a different nature than that which arises from an infringement of First Amendment rights”); Am.

Petroleum, 710 F. Supp. at 432 (holding that litigant’s “asserted violation of the Supremacy Clause

cannot, without more, serve as the basis for a finding of irreparable harm”); Loc. 638, 1995 WL

355589, at *5 (“Commerce Clause violation is not ‘necessarily equivalent to the unique, individual

injury accompanying a violation of the First Amendment’ and does not constitute per se irreparable

injury.” (quoting Grand Cent. Sanitation, Inc. v. City of Bethlehem, 1994 WL 613674, at *2 (E.D.

Pa. Nov. 2, 1994))); Norfolk S. Corp. v. Oberly, 594 F. Supp. 514, 522 (D. Del. 1984) (“[A]ny

violation of the commerce clause does not constitute irreparable injury per se.”). Irreparable injury

therefore cannot be presumed with respect to either Plaintiff’s Commerce Clause or preemption

claims. The right to travel is, however, a personal one. See King v. New Rochelle Mun. Hous.

Auth., 442 F.2d 646, 648 (2d Cir. 1971). As are the rights afforded by the Green Amendment. See

N.Y. Const. art. I, § 19 (recognizing the right of “[e]ach person”). 43



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  Ultimately, however, Plaintiffs do not show that the constitutional nature of their Green
Amendment claims should be deemed to convey irreparable injury because Plaintiffs do not show



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       Second, even “when ‘personal’ constitutional rights are violated and the harm that

accompanies the violation is remediable or compensable, the damage is not irreparable.” Loc. 638,

1995 WL 355589, at *5 (collecting cases); see also Siracusa v. New Hyde Park-Garden City Union

Free Sch. Dist., 2024 WL 3875793, at *8 (E.D.N.Y. Aug. 19, 2024); Burroughs, 2014 WL

2587580, at *9; Wandering Dago Inc. v. N.Y. State Off. of Gen. Servs., 2013 WL 12131305, at *7

(N.D.N.Y. Nov. 8, 2013); Smith, 2013 WL 122954, at *7. This is tautological: an injury is not

irreparable where post-injury relief is available.      Dignitary rights violations may not be

compensable, see Elrod, 427 U.S. at 373, but where the harm manifests as an unconstitutional

termination, for example, reinstatement and backpay can make the victim whole, see Kane, 19

F.4th at 171 (collecting cases).

       The Municipal Defendants argue that Plaintiffs’ harms relating to their right-to-travel

claims are compensable because “Plaintiffs do not and cannot assert that they are being prohibited

from traveling, only that increased costs from the Program’s tolls will cause them economic

injury.” Chan, Dkt. No. 137 at 27–28 (citing Chan, Dkt. No. 78-4 ¶¶ 4–5, Dkt. No. 78-14 ¶ 3, Dkt.

No. 78-15 ¶¶ 1, 5, 17, Dkt. No. 78-16 ¶¶ 2–3); Mulgrew, Dkt. No. 125 at 27–28 (citing same);

Trucking, Dkt. No. 80 at 27–28 (citing same). Laws that do not prohibit travel but instead

implement only minor burdens, such as tolls, do not infringe the right to travel. See Selevan I, 584

F.3d at 101 (“[M]inor restrictions on travel simply do not amount to the denial of a fundamental

right.” (quoting Southold, 477 F.3d at 54)). As discussed, the minor economic burden on travel

may be compensated by refunding the tolls. Having made no showing that the tolls will actually




that their constitutional rights pursuant to the Green Amendment have been infringed. See supra
§ IV.A.4. Nor do they show that a violation of the Green Amendment would impose the dignitary
harm not compensable by money damages from which irreparable harm can be presumed.


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deny Plaintiffs the right to travel, Plaintiffs have not established that the constitutional nature of

the alleged violation itself causes irreparable harm.

               3.      Environmental Harms

       The Supreme Court has recognized that “[e]nvironmental injury, by its nature, can seldom

be adequately remedied by money damages and is often permanent or at least of long duration,

i.e., irreparable.” Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 545 (1987). “In a typical

environmental case, the alleged harm is purely environmental and truly irreparable: once the river

is filled and the bass are gone, as a rule, the river stays filled and the bass stay gone.” Stand

Together Against Neighborhood Decay, Inc. v. Bd. of Estimate of City of N.Y., 690 F. Supp. 1192,

1200 (E.D.N.Y. 1988).

       Courts evaluating claims of irreparable injury on the basis of environmental harm look not

to whether procedural safeguards constructed to protect environmental interests have been

violated, but to whether the environmental interests themselves have been substantively harmed.

See Amoco Prod., 480 U.S. at 544–45 (rejecting argument that “[i]rreparable damage is presumed

when an agency fails to evaluate thoroughly the environmental impact of a proposed action” and

vacating preliminary injunction because “the Ninth Circuit erroneously focused on the statutory

procedure rather than on the underlying substantive policy the process was designed to effect—

preservation of subsistence resources”). In Romero-Barcelo, the Supreme Court held that even

though the Navy had violated the Federal Water Pollution Control Act by discharging ordnance

into the sea without a permit, no injunction should issue and the Navy should be permitted to

continue operation during the permit application process. 456 U.S. 305. The Supreme Court noted

that the First Circuit—which had granted the preliminary injunction on the basis of the statutory

violation—had “erroneously focused on the integrity of the permit process rather than on the

integrity of the Nation’s water.” Amoco Prod., 480 U.S. at 542–43 (discussing Romero-Barcelo,


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456 U.S. 305). Because “the discharge of ordnance had not polluted the waters,” the Supreme

Court held that declining to enjoin the discharges while the Navy came into compliance with the

statute “neither ignored the statutory violation nor undercut the purpose and function of the permit

system.” Romero-Barcelo, 456 U.S. at 315.

       Plaintiffs in Chan and Mulgrew argue that the diverted traffic will lead to negative

environmental impacts and worse health outcomes for the communities in which they reside

including along the lower portion of the FDR Drive, Rockland County, and Bergen County. Chan,

Dkt. No. 142 at 4 (citing Chan, Dkt. No. 78-4 ¶¶ 2–7, Dkt. No. 78-14 ¶¶ 3–5, 13, Dkt. No. 78-15

¶¶ 1, 5, Dkt. No. 78-16 ¶¶ 2–3); Mulgrew, Dkt. No. 130 at 4 (citing same). The final EA provides

some support for their claims, predicting that “the lower FDR Drive between East 10th Street and

the Brooklyn Bridge would experience a net increase in traffic, with diverted traffic greater than

the suppression of traffic due to CBD tolling.” DOT 36452, 36471; but see DOT 36868 (“In

response to public comments received, a highway segment CO screening was conducted on FDR

Drive near 10th Street using NYSDOT’s volume threshold screening. The analyzed location

passed the screening.”). 44 Rockland is expected to experience at least some increased levels of air

pollution, DOT 36838–58, though it is also expected to experience reduced levels of the majority

of considered pollutants, id.; see also DOT 36840–41 (the final EA predicts a minor reduction in

vehicle miles traveled in Rockland). The environmental assessment anticipates that Bergen

County (where Norwood is located) will experience slightly increased levels of pollution.

DOT 36838–58 (less than 1% increase in most considered pollutants). In sum, Plaintiffs have

established that some localized areas will experience environmental harms.



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   The Project Sponsors also committed to mitigation efforts including ramp metering, motorist
information, signage, and/or targeted toll policy modifications to reduce diversions to that part of
the FDR Drive, DOT 36455–56.


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        However, Plaintiffs cite no evidence in support of their arguments that the increased

pollutants in their area are actually injurious to such a level that it will constitute irreparable harm.

Where environmental danger is “de minimis or non-existent, there is no danger to the public

interest for the purposes of irreparable injury.” Christie-Spencer Corp. v. Hausman Realty Co.,

118 F. Supp. 2d 408, 423 (S.D.N.Y. 2000). Although every additional car threatens marginal

negative environmental externalities, it cannot be that a single rerouted car suffices to show

irreparable injury. Minor environmental impositions will dissipate when ceased without causing

lasting injury. See Atl. Terminal Urb. Renewal Area Coal. v. N.Y.C. Dep’t of Env’t Prot., 1990

WL 3928, at *2 (S.D.N.Y. Jan. 16, 1990) (finding no irreparable harm where “municipal

defendants have presented credible evidence from officials responsible for overseeing the Project

that the negative impact of demolition on air quality will be minimal and that demolition will in

fact improve air quality because it will permit widening of the adjacent streets, which should

facilitate compliance with national carbon monoxide standards”); Comm. of 100 on Fed. City v.

Foxx, 87 F. Supp. 3d 191, 203 (D.D.C. 2015) (finding no irreparable harm where construction-

related noise, dust, and vibration were predicted to be below de minimis thresholds and thus mere

“nuisances” or annoyances”); Harrison v. Indiana Auto Shredders Co., 528 F.2d 1107, 1123 (7th

Cir. 1975) (injunctive relief should not have been granted where plaintiff failed to show that the

challenged business’” emission of particulate matter, earth vibrations, sound, and odorous matter”

was not “in such quantities as to endanger the public health and safety”).

        Plaintiffs do not adduce any evidence showing that the environmental impacts on their

communities will be more than de minimis. The final EA concluded that “[f]or all tolling scenarios,

the changes in traffic volumes, including changes in truck trips, would not result in regional or

localized exceedances of National Ambient Air Quality Standards, and there would be no adverse




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effects on air quality from implementation of the CBD Tolling Alternative.” DOT 36942.

Plaintiffs neither contest that finding nor offer evidence that air impurities below the legal standard

should be regarded as irreparably injurious.

       C.      Balance of the Equities and the Public Interest

       Under the last injunction factor, courts must “balance the competing claims of injury and

must consider the effect on each party of the granting or withholding of the requested relief,’ as

well as ‘the public consequences in employing the extraordinary remedy of injunction.’” Yang,

960 F.3d at 135–36; see also We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 295 (2d Cir.

2021) (“When the government is a party to the suit, [the] inquiries into the public interest and the

balance of the equities merge.”); New York v. United States Dep’t of Homeland Sec., 969 F.3d 42,

58–59 (2d Cir. 2020). Granting Plaintiffs’ request for a preliminary injunction would negatively

harm the public interest as it would delay the environmental and economic benefits the Tolling

Program was designed to convey and force the TBTA to bear a sizeable financial burden.

       The Tolling Program is predicted to reduce congestion thereby improving regional air

quality, providing safety benefits, improving worker productivity, reducing noise pollution, among

other benefits. See supra § II.B; Ciszewski v. State of New York, 2005 WL 1270216, at *9

(N.D.N.Y. May 26, 2005) (“Particularly in light of the strength of the countervailing public interest

in proceeding with a project which has been shown to be necessary for public safety and well-

being and in avoiding unwarranted costly delay, the Court denies plaintiffs’ motion for a

preliminary injunction.”); Broecker v. N.Y.C. Dep’t of Educ., 585 F. Supp. 3d 299, 322–23

(E.D.N.Y. 2022) (injunction not in the public interest where it would enjoin government action

taken to safeguard public health and safety), aff’d, 2023 WL 7485465 (2d Cir. Nov. 13, 2023), and

aff’d, 2023 WL 8888588 (2d Cir. Dec. 26, 2023); City of New York v. Wolfpack Tobacco, 2013

WL 5312542, at *6 (S.D.N.Y. Sept. 9, 2013) (similar)). “Our Constitution principally entrusts


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‘[t]he safety and the health of the people’ to the politically accountable officials of the States ‘to

guard and protect’”—including by piloting initiatives aimed at promoting public health.” S. Bay

United Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J., concurring)

(quoting Jacobson v. Massachusetts, 197 U.S. 11, 38 (1905)); see also Nat’l Pork Producers, 598

U.S. at 382 (plurality op.) (“In a functioning democracy, policy choices like these usually belong

to the people and their elected representatives [who] are entitled to try novel social and economic

experiments if they wish.” (citation omitted)).

       Numerous studies have established that the congestion addressed by the Tolling Program

itself, if unchecked by that program, will also continue to impose tremendous costs on individuals

and businesses throughout the New York metropolitan region. Those costs are economic and

environmental. The study conducted by the Partnership for New York City cited in the final EA

estimated that “traffic congestion in the New York metropolitan area has a $20 billion annual cost,

including more than $9 billion in travel-time costs and nearly $6 billion in industry revenue losses.”

DOT 36730 (citing Partnership For New York City, Growth or Gridlock? The Economic Case for

Traffic Relief and Transit Improvement for a Greater New York (2006)). The study estimated that

“the cost per commuter from congestion is nearly $1,900 annually for Manhattan Workers and

$767 per worker for the New York City metropolitan region.” Id. “As a result, virtually every

business and industry sector in all five boroughs and across the metropolitan region is suffering

losses because of congestion.” Id. Enjoining the tolling program would impair the public interest

in lessening both congestion and the extreme financial costs it imposes.

       Delaying implementation would also be financially injurious to the Municipal Defendants.

The Municipal Defendants submitted a declaration averring that postponing the start of Tolling

Program even briefly would result in costs of $12 million per month and lost revenue of about




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$40 million per month. Chan, Dkt. No. 139 ¶¶ 18–19; Mulgrew, Dkt. No. 127 ¶¶ 18–19; New

Yorkers, Dkt. No. 125 ¶¶ 18–19; Trucking, Dkt. No. 82 ¶¶ 18–19; see Comm. of 100, 87 F. Supp.

3d at 220 (public interest weighed against preliminary injunction where government defendants

would “suffer economically if the project is further delayed due the continuing cost of maintaining

and repairing the aging tunnel and the lost revenue associated with operating an inefficient freight

rail system”). Delaying Tolling Program revenues would additionally prevent the MTA from

undertaking beneficial capital programs such as investments in the region’s subways, buses, and

commuter railroad, measures to make numerous subway stations more accessible to individuals

with disabilities, improving outdated signaling, improving safety and customer service, and

extending public transit to underserved areas. Chan, Dkt. No. 139 ¶ 21 (citing MTA, 2020–2024

Capital Program: Exec. Summary (Oct. 1, 2019)); Mulgrew, Dkt. No. 127 ¶ 21 (citing same); New

Yorkers, Dkt. No. 125 ¶ 21 (citing same); Trucking, Dkt. No. 82 ¶ 21 (citing same); see Brody v.

Vill. of Port Chester, 261 F.3d 288, 291 (2d Cir. 2001) (holding that government project to

redevelop blighted areas was in public interest and should not be enjoined).

       Congestion pricing has been championed by public officials as far back as Mayor Lindsay.

See Mulgrew, 2024 WL 3251732, at *2–4. In light of the public interests that would injured by

imposition of a preliminary injunction as well as Plaintiffs’ failure to establish irreparable harm,

this factor weighs against injunctive relief.

                                          CONCLUSION

       Plaintiffs fail to establish a likelihood of success on the merits for any claim, do not show

that they would be irreparably injured absent an injunction, and do not show that the balance of

the equities and the public interest support an injunction. Because no factor weighs in favor of a

preliminary injunction, Plaintiffs’ motions for a preliminary injunction are DENIED.

       The Clerk of Court is respectfully directed to close the following docket numbers:


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         •   Chan et al. v. U.S. Department of Transportation et al., 23-cv-10365, Dkt. No. 133;

         •   Mulgrew et al. v. U.S. Department of Transportation et al., 24-cv-1644, Dkt.

             No. 121;

         •   New Yorkers Against Congestion Pricing Tax et al. v. U.S. Department of

             Transportation et al., 24-cv-367, Dkt. No. 120; and

         •   Trucking Association of New York v. Metropolitan Transportation Authority et al.,

             24-cv-4111, Dkt. No. 4.

      SO ORDERED.


Dated: December 23, 2024                        __________________________________
       New York, New York                                  LEWIS J. LIMAN
                                                       United States District Judge




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